Case:Highly
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                                                                            Review

     1                     UNITED STATES DISTRICT COURT

     2                      NORTHERN DISTRICT OF OHIO

     3                            EASTERN DIVISION

     4

     5    -----------------------------) MDL No. 2804

     6    IN RE NATIONAL PRESCRIPTION          )

     7    OPIATE LITIGATION                    )

     8                                         ) Case No. 17-md-2804

     9    This document relates to:            )

    10    All Cases                            )

    11    -----------------------------) Hon. Dan A. Polster

    12

    13                          HIGHLY CONFIDENTIAL

    14            SUBJECT TO FURTHER CONFIDENTIALITY REVIEW

    15

    16                  The videotaped deposition of KATE NEELY,

    17    called for examination, taken pursuant to the Federal

    18    Rules of Civil Procedure of the United States District

    19    Courts pertaining to the taking of depositions, taken

    20    before JULIANA F. ZAJICEK, a Registered Professional

    21    Reporter and a Certified Shorthand Reporter, at Lieff

    22    Cabraser Heimann & Bernstein, 8th Floor, 250 Hudson

    23    Street, New York, New York, on January 8, 2019, at

    24    9:06 a.m.

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    1 APPEARANCES:                                              1 APPEARANCES: (Continued)
    2 ON BEHALF OF THE PLAINTIFFS:                              2 ON BEHALF OF PERNIX THERAPEUTICS HOLDINGS, INC IN
    3   KELLER ROHRBACK L.L.P.
                                                                    NON-MDL CASES PENDING IN ARKANSAS AND PENNSYLVANIA:
        1201 Third Avenue, Suite 3200
    4   Seattle, Washington 98101-3052                          3
        206-623-1900                                                  CLARK MICHIE LLP
    5   BY: DEAN KAWAMOTO, ESQ.                                       220 Alexander Street
           dkawamoto@kellerrohrback.com;                        4
    6      ERIKA KEECH, ESQ.                                          Princeton, NJ 08540
           ekeech@kellerrohrback.com                            5     609-423-2143
    7                                                                 BY: BRUCE CLARK, ESQ (Telephonically)
    8 ON BEHALF OF AMERISOURCEBERGEN CORPORATION and
      AMERISOURCEBERGEN DRUG CORPORATION:                       6        bruce clark@clarkmichie com
    9                                                           7
        REED SMITH LLP                                              THE VIDEOGRAPHER:
   10   811 Main Street, Suite 1700
        Houston, Texas 77002                                    8
   11   713-469-3842                                                  MR HENRY MARTE,
        BY: MARY BALASTER, ESQ. (Telephonically)                9     Golkow Litigation Services
   12      MBalaster@reedsmith.com
                                                               10
   13
      ON BEHALF OF MALLINCKRODT LLC and SPECGX LLC:            11
   14                                                          12
        ROPES & GRAY LLP                                       13
   15   Three Embarcadero Center
        San Francisco, California 94111-4006                   14
   16   415-315-6300                                           15
        BY: ROCKY C. TSAI, ESQ.                                16
   17      rocky.tsai@ropesgray.com
   18          -and-                                           17
   19   ROPES & GRAY LLP                                       18
        Prudential Tower                                       19
   20   800 Boylston Street
        Boston, Massachusetts 02199-3600                       20
   21   617-951-7910                                           21
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   22      elissa.reidy@ropesgray.com                          23
   23
   24                                                          24

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    1 APPEARANCES:                                              1                INDEX
    2 ON BEHALF OF CARDINAL HEALTH, INC :                       2
    3   WILLIAMS & CONNOLLY LLP                                     WITNESS:             PAGE:
                                                                3
          725 Twelfth Street, N W
          Washington, D C 20005
                                                                4   KATE NEELY
    4
          202-434-5000                                          5     EXAM BY MR. KAWAMOTO.................   10
    5     BY: JOEL S JOHNSON, ESQ                               6
             jjohnson@wc com                                    7                 *****
    6                                                           8
    7 ON BEHALF OF ENDO HEALTH SOLUTIONS INC , ENDO             9           EXHIBITS
        PHARMACEUTICALS INC , PAR PHARMACEUTICAL COMPANIES,
                                                               10 MALLINCKRODT- NEELY EXHIBIT               MARKED FOR ID
    8   INC :
           BAKER HOSTETLER                                     11 No. 1 Plaintiffs' Notice of Oral     13
    9
           Key Tower                                                   Videotaped Deposition of Kate
   10      127 Public Square, Suite 2000                       12      Neely (Muhlenkamp) and Requests
           Cleveland, OH 44114-1214                                    for Production of Documents
   11      216-861-6486                                        13
           BY: DOUGLAS SHIVELY, ESQ (Telephonically)              No. 2 E-mail chain, top one from       40
   12         dshively@bakerlaw com
                                                               14      Muhlenkamp to Vorderstrasse,
   13                                                                  10/10/08, Subject: RE: Fentanyl
        ON BEHALF OF WALMART INC :
   14                                                          15      question, w/attachment;
          JONES DAY                                                    MNK-T1_0006330799 - 800
   15     North Point                                          16
          901 Lakeside Avenue                                     No. 3 E-mail from France to Muhlenkamp, 59
   16     Cleveland, Ohio 44114-1190                           17      9/2/08, Subject: Action Plan,
          216-586-3939
                                                                       w/attachment;
   17     BY: ADAM HOLLINGSWORTH, ESQ
             ahollingsworth@jonesday com                       18      MNK-T1_0000448772 - 780
   18                                                          19 No. 4 E-mail chain, top one from Victor 72
   19 ON BEHALF OF VALIDUS PHARMACEUTICALS:                            Borelli to Kate Muhlenkamp, among
   20   FOX ROTHSCHILD LLP                                     20      others; MNK-T1_0000563714 - 715
          2000 Market Street, 20th Floor                       21 No. 5 E-mail chain, top one from Kate    89
   21     Philadelphia, PA 19103-3222                                  Muhlenkamp to Dave Irwin, among
          215-299-2872
                                                               22      others, Subject: Customer Demand
   22     BY: MAURA L BURKE, ESQ (Telephonically)
             MBurke@foxrothschild com                                  Management and Allocations;
   23                                                          23      MNK-T1_0004916278 - 279
   24                                                          24

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    2 MALLINCKRODT- NEELY EXHIBIT                MARKED FOR ID     2 MALLINCKRODT- NEELY EXHIBIT                 MARKED FOR ID
    3 No. 6 E-mail from Amy Loomis to Rebecca 109                  3 No. 21 E-mail chain, top one from       246
            Coyner, among others, 12/21/2007,                              Muhlenkamp to Rausch, Harper,
    4       Subject: Excess Demand Rule                            4       9/17/10, Subject: Re: Cardinal
            Orders, w/attachment;                                          Health - order 70177713;
    5       MNK-T1_0006330418 - 419                                5       MNK-T1_0000264901 - 902
    6 No. 7 E-mail chain, top one from Kate    113                 6 No. 22 E-mail chain, to one from Rausch 262
            Muhlenkamp to Lisa Lundergan,                                  to Rehkop, 9/14/10, Subject: RE:
    7       among others, 7/12/10, Subject:                        7       Cardinal order for OXY's on
            FW: Keysource Vault Program;                                   peculiar order report;
    8       MNK-T1_0000449492 - 493                                8       MNK-T1_0000265090 - 092
    9 No. 8 E-mail chain, top one from Jeremy 136                  9 No. 23 E-mail chain, top one from Rehkop 265
            Stamer to Kate Muhlenkamp,                                     to Harper, 10/26/10, Subject: RE:
   10       7/13/10, Subject: RE: Oxycodone                       10       McKesson on Peculiar ord rep for
            Florida Sales;                                                 Oxy; MNK-T1_0000280580 - 582
   11       MNK-T1_0006320438 - 440                               11
   12 No. 9 E-mail from Kate Muhlenkamp to       149                 No. 24 E-mail chain, top one from       271
            Karen Harper, among others,                           12       Muhlenkamp to Heideman, among
            8/4/10, Subject: Jeremy Stamer,                                others, 4/10/09, Subject: RE:
   13                                                                      Oxycodone 15 mg tabs;
            Portfolio Management - SOM Team                       13
                                                                           MNK-T1_0000560771 - 774
   14       Participant; MNK-T1_0000262710
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   15 No. 10 E-mail chain, top one from Kate    152                  No. 25 E-mail chain, top one from       277
            Muhlenkamp to Karen Harper,                           15       Muhlenkamp to Harper, Levy and
   16       9/14/10, Subject: RE: Requesting                               Borelli, 6/25/10, Subject: RE:
            Info: Dollars of Sales, Oxycodone                     16       Oxycodone Sales in Florida -
   17       15 and 30 mg to Florida per year,                              Summary;
            w/attachment;                                         17       MNK-T1_0000387434 - 436249
   18       MNK-T1_0000289707 - 708                               18 No. 26 E-mail chain, top one from       286
   19 No. 11 E-mail chain, top one from Lohman 155                         Muhlenkamp to Borelli, 6/25/10,
            to Harper, among others, 11/3/10,                     19       Subject: RE: Oxycodone Sales in
   20       Subject: FW: Oxy IR Sales by                                   Florida - Summary;
            Strength and State of Florida,                        20       MNK-T1_0000449324 - 326
   21       w/attachments;                                        21 No. 27 E-mail chain, top one from Rehkop 290
            MNK-T1_0000558193 - 195                                        to Rausch, Coffey and Muhlenkamp,
   22                                                             22       6/23/10, Subject: FW: Item #
      No. 12 E-mail from Muhlenkamp to Stamer, 162                         853001; MNK-T1_0000297940 - 941
   23       11/8/10, Subject: Suspicious Order                    23
            Monitoring; MNK-T1_0000448850                            No. 28 Chart; MNK-T1_0000264293 Keysource 301
   24                                                             24       Summary

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    2 MALLINCKRODT- NEELY EXHIBIT                 MARKED FOR ID    2 MALLINCKRODT- NEELY EXHIBIT                 MARKED FOR ID
    3 No. 13 Document titled: "Talking Points 167                  3 No. 29 E-mail chain, top one from Stewart 305
            for DEA Albany and DEA St. Louis,"                             to Ratliff, among others, 6/4/08,
    4       dated 11/1/10; MNK-T1_0000270081                       4       Subject: RE: Oxycodone orders;
    5 No. 14 E-mail from Muhlenkamp to Borelli, 173                        MNK-T1_0000290546 - 552
            Collier, 8/5/10, Subject:
            Keysource Oxycodone Sales,                             5
    6
            w/attachments;                                           No. 30 E-mail chain, top one from       310
    7       MNK-T1_0000559192 - 195                                6       Muhlenkamp to Gunning, 6/3/08,
    8 No. 15 E-mail chain, top one from       195                          Subject: FW: Oxy monthly usage;
            Muhlenkamp to Rausch, Harper,                          7       MNK-T1_0000562701 - 704
    9       8/4/10, Subject: Cedardale                             8 No. 31 E-mail chain, top one from Borelli 331
            Answers; MNK-T1_0000265441                                     to Becker, 6/6/08, Subject: FW:
   10                                                              9       Dextro Discontinuation;
      No. 16 E-mail chain, top one from Cathy 210                          MNK-T1_0000564327 - 329
   11       Stewart to Charity Aranda, among                      10
            others, 8/17/09, Subject: FW:                            No. 32 E-mail chain, top one from Borelli 341
   12       Sunrise Chargeback Summary,                           11       to Muhlenkamp, 9/16/08, Subject:
            w/attachment;                                                  RE: Master's 30mg Order;
   13       MNK-T1_0000290041 - 053
                                                                  12       MNK-T1_0000562745 - 746
   14 No. 17 Letter from DEA to Mallinckrodt; 219
            MNK-T1_0000421084 - 085                               13 No. 33 E-mail chain, top one from Cathy 344
   15                                                                      Stewart to Ratliff and Harper,
      No. 18 E-mail chain, top one from       226                 14       5/20/08, Subject: FW: Sunrise
   16       Muhlenkamp to Montgomery,                                      Wholesale; MNK-T1_0003028219 - 220
            11/12/09, Subject: RE: North                          15
   17       Carolina Mutual - Durham, NC - No                        No. 34 E-mail chain, top one from Borelli 346
            Shipments Week of 11/23/09;                           16       to Hoffman and Cochrane, 9/29/10,
   18       MNK-T1_0000387257 - 258                                        Subject: FW: Chargeback Quantity
   19 No. 19 E-mail chain, top one from       232                 17       on Oxycodone 30mg;
            Muhlenkamp to Adams, 10/28/08,                                 MNK-T1_0000384139 - 140
   20       Subject: RE: Old Bridge acct#                         18
            3448; MNK-T1_0000449467 - 469
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   21
      No. 20 E-mail chain, top one from       238                 20
   22       Muhlenkamp to Rausch, 10/7/10,                        21
            Subject: FW: FW: PO# 472054618;                       22
   23       MNK-T1_0000267735 - 737                               23
   24                                                             24

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    1     THE VIDEOGRAPHER: Okay. We are now on the                   1      A. The first meeting was in November.
    2 record. My name is Henry Marte. I am a videographer             2      Q. And do you recall roughly how long that --
    3 for Golkow Litigation Services. Today's date is                 3   that meeting lasted for?
    4 January 8th, 2019, and the time is 9:06 a.m.                    4      A. It was approximately one business day.
    5       This videotape deposition is being held at                5      Q. And I take it you met with Mr. Tsai and
    6 250 Hudson Street, New York, New York in the matter of          6   Ms. Reidy?
    7 National Prescription Opiate Litigation.                        7      A. The first time I met with Ms. Reidy and
    8         The deponent today is Kate Neely.                       8   another gentleman named Mr. Davidson and then the
    9         All appearances are noted on the -- on the              9   second time I met with Mr. Tsai and Ms. Reidy.
   10 stenographic record.                                           10      Q. And other than your counsel, was anyone
   11         Will the court reporter please administer              11   else present?
   12 the oath to the witness.                                       12      A. No.
   13           (WHEREUPON, the witness was duly                     13      Q. And the second day, roughly when was that?
   14            sworn.)                                             14      A. Yesterday.
   15              KATE NEELY,                                       15      Q. And roughly how long was that meeting?
   16 called as a witness herein, having been first duly             16      A. The same amount of time, one business day.
   17 sworn, was examined and testified as follows:                  17      Q. Okay. And other than your counsel, was
   18               EXAMINATION                                      18   anyone else present?
   19 BY MR. KAWAMOTO:                                               19      A. No.
   20     Q. Good -- good morning, Ms. Neely.                        20      Q. Have you talked about this deposition with
   21     A. Good morning.                                           21   anyone else besides your counsel?
   22     Q. Thank you for being here today.                         22      A. No.
   23        My name is Dean, Keller Rohrback, and I am              23      Q. Have you spoken to any former Mallinckrodt
   24 here for the Plaintiffs.                                       24   employees about -- or any of your former colleagues

                                                        Page 11                                                           Page 13
    1          Have you ever been deposed before?                     1   about this case?
    2       A. I have not.                                            2       A. No.
    3       Q. So let's go over some ground rules to make             3       MR. KAWAMOTO: Thank you.
    4   the process a little smoother.                                4           So I'd like to mark this as Exhibit 1. It
    5          I will ask you questions and I will do my              5   is just a copy of the deposition notice.
    6   best to ask coherent and clear ones. If you don't             6              (WHEREUPON, a certain document was
    7   understand them for whatever reason, please let me            7               marked Mallinckrodt - Neely
    8   know and I'll try to rephrase them. It's very                 8               Deposition Exhibit No. 1, for
    9   important that we not talk over each other, so I'll           9               identification, as of 01/07/2019.)
   10   ask the question and then give you an opportunity to         10       MR. TSAI: And do you have extra copies for us?
   11   answer.                                                      11       MR. KAWAMOTO: Yes.
   12          If you need to take a break, please just              12       MR. TSAI: Okay.
   13   let me know and -- and we can take one. And your             13       MR. KAWAMOTO: They are going to sort of
   14   counsel may object for the record. Unless he directs         14   circulate, you know, clockwise.
   15   you not to answer, you should respond to the question.       15   BY THE WITNESS:
   16          Does that make sense?                                 16       A. And do I need to do anything with this
   17       A. Yes.                                                  17   or...?
   18       Q. Thank you.                                            18   BY MR. KAWAMOTO:
   19          How did you per -- how did you prepare for            19       Q. No. Just take a look, and actually, there
   20   this deposition?                                             20   are -- there are other copies underneath that. So if
   21       A. I've met with my attorneys on two                     21   you can pass copies down to your counsel and --
   22   different occasions prior to today.                          22       A. Sure.
   23       Q. Okay. And do you recall roughly when the              23       Q. -- to everyone else.
   24   first meeting was?                                           24       MR. TSAI: So you'll take the marked one.

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    1   BY THE WITNESS:                                           1       Q. Did you receive performance reviews while
    2      A. Got it. Okay.                                       2   you were employed at Mallinckrodt?
    3   BY MR. KAWAMOTO:                                          3       A. Yes.
    4      Q. So, Ms. Neely, this is what's called a              4       Q. Do you recall roughly how often tho- --
    5   deposition notice.                                        5   they were?
    6          Have you -- have you ever seen this                6       A. Annual.
    7   document before?                                          7       Q. And did you receive a written report or
    8      A. I don't think so.                                   8   summary of -- of the review?
    9      Q. Okay. Starting on Page 4 and 5, it has              9       A. Yes.
   10   some requests for documents, and I'd like to -- to       10       Q. The HR department has apparently misplaced
   11   direct your attention to Request for Production No. 2.   11   or lost your file.
   12   Okay. And it is going to be on Page 5.                   12       A. Okay.
   13      A. Okay.                                              13       Q. That's the -- why I'm -- I'm asking these
   14      Q. Do you have any documents in your                  14   questions.
   15   possession that relate to Mallinckrodt's                 15       A. They wanted to get rid of me that bad.
   16   manufacturing, marketing, sale, or distribution of its   16       Q. I imagine not, but...
   17   opioid business?                                         17           Were the -- well, could you describe or
   18      A. I do not.                                          18   characterize the -- the nature of the reviews?
   19      Q. And did you consult any doc -- or were you         19       A. I can give you a high level. It's been,
   20   shown any documents in the con- -- in the process of     20   you know --
   21   preparing for your deposition?                           21       Q. Sure.
   22          Well, let me strike that.                         22       A. -- eight, nine years ago. You know, you
   23          Did you review any documents while                23   did an annual review. It was based on a combination
   24   preparing for this deposition?                           24   of company and personal goals.

                                                      Page 15                                                          Page 17
    1       A. I did meet with my attorneys, yes.                 1      Q. And did you generally meet those goals?
    2       Q. And did they show you documents? I'm not           2      A. I generally came in satisfactorily, yes.
    3   asking you what the documents were.                       3      Q. Do you recall any areas where the -- the
    4       A. Sure.                                              4   company indicated that you could need a -- that needs
    5       Q. I'm just asking if they showed them to             5   improvement or any shortcomings?
    6   you.                                                      6      A. I don't recollect any.
    7       A. We did review information, yes.                    7      Q. And do you recall roughly what your salary
    8       Q. Okay.                                              8   was?
    9       MR. KAWAMOTO: And, Counsel, I take it that            9      A. When I started with the company?
   10   those documents are all ones that have been produced?    10      Q. Well, when you started and then ultimately
   11       MR. TSAI: Yes.                                       11   when you finished?
   12       MR. KAWAMOTO: Okay.                                  12      A. Sure.
   13   BY MR. KAWAMOTO:                                         13          When I started with the company, I think
   14       Q. Okay. Ms. Neely, while you were employed          14   my base salary was           and when I left with the
   15   at Mallinckrodt, did you have a cell phone?              15   company it was just over                        .
   16       A. I did.                                            16      MR. TSAI: And given that we are talking about
   17       Q. And was it provided by the company?               17   her personal financial information, I'd like to
   18       A. It was.                                           18   designate this highly confidential.
   19       Q. And did you return it to them when you            19      MR. KAWAMOTO: Sure. That's fine.
   20   left the company?                                        20   BY MR. KAWAMOTO:
   21       A. I did.                                            21      Q. Did you receive any bonuses while you were
   22       Q. And they paid for the service and handled         22   at Mallinckrodt?
   23   its operation?                                           23      A. We did receive bonuses.
   24       A. Correct.                                          24      Q. And approximately how -- what -- what was

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    1 the size of the bonuses you received?                         1       A. We really, when we talk in terms of sales
    2      A. I don't remember the dollar amounts, but I            2   dollars, it was tied -- from my recollection, it was
    3 will tell you the base bonus was approximately                3   tied to the total company sales.
    4 15 percent of your base salary, give or take,                 4       Q. Okay. And was -- was this -- for total
    5 depending on the -- how you accomplished your goals.          5   company sales, was this opioid products or was this
    6      Q. And do you recall what the bonuses were               6   all of their products?
    7 based on?                                                     7       A. It was all products that we, Mallinckrodt,
    8      A. It was a combination of sales budget,                 8   marketed within the generics group, which would cover
    9 margin, and then individual goals. As far as how it           9   opioids and non-opioids.
   10 was weighted out, that part I don't remember.                10       Q. Okay. Thank you.
   11       Q. Okay. And in terms of individual goals,             11           Can you briefly describe your prior work
   12   could you provide some examples of what an individual      12   experience before you joined Mallinckrodt?
   13   goal would be?                                             13       A. Sure. I was working as a corporate buyer
   14       A. Sure.                                               14   for a department store chain. The name of the company
   15          An individual goal could range from                 15   was May Company, May department stores. They got
   16   taking, you know, an Excel training class to going to      16   purchased by Federated, which is Macy's, in 2006,
   17   a leadership class and learning how to speak better in     17   which is when I left the company.
   18   public, anything that might enhance you as an              18       Q. So prior to 2006, did you have any
   19   employee.                                                  19   experience with the pharmaceutical industry?
   20       Q. Now, while you worked at Mallinckrodt, you          20       A. I did not.
   21   did have certain compliance responsibilities, is that      21       Q. And I take it you didn't have any
   22   fair?                                                      22   experience with controlled substances or -- or
   23       A. As a product manager, I was trained in              23   narcotics?
   24   compliance. It wasn't -- I wasn't necessarily in the       24       A. I did not.

                                                         Page 19                                                        Page 21
    1 SOM's, you know, department or in compliance, but we          1      Q. And when you first joined Mallinckrodt,
    2 definitely did undergo compliance training, yes.              2   what was your title?
    3     Q.     Understood.                                        3      A. Marketing analyst.
    4           And were any -- did any of your individual          4      Q. And generally speaking, what were your job
    5   goals relate to compliance?                                 5   responsibilities as a marketing analyst?
    6       A. I don't recollect.                                   6      A. I was responsible for creating tools to
    7       Q. Do you recall if any portion of your bonus           7   help with the marketing team, so whether it be in
    8   was tied to a compliance-related goal or                    8   Excel or Access, I generated reports, did reporting
    9   compliance-related criteria?                                9   analytics.
   10       A. I can't remember.                                   10      Q. And in terms of marketing tools, could you
   11       Q. And you indicated that the bonus was tied           11   provide some examples of -- of what -- what the --
   12   to sales budget and margin.                                12   what type of tools we are talking about?
   13           What do you mean by that?                          13      A. Sure.
   14       A. So each fiscal year you would set a sales           14          I think we need to be clear that marketing
   15   budget, so top line sales dollars, and then you would      15   within a generics firm is not like traditional
   16   as -- also have a margin budget and you were -- as a       16   marketing. It's much more analytics driven because
   17   company you had these top level goals and then you, if     17   you are not truly marketing the product to an end
   18   you did not make those numbers as a company, then that     18   consumer.
   19   would be a shortcoming in regards to your -- your          19          So when you talk about marketing tools,
   20   goals.                                                     20   things I created, I created the profitability analysis
   21       Q. And I'm sorry. When you said "as a                  21   tool, which allowed them -- it was something -- I
   22   company," so was there sort of an -- an -- a sum or        22   basically created tools that -- that were functions
   23   a -- a number in terms of the sales budget that you or     23   that people repeated on a day-to-day basis, I created
   24   your department was expected to reach?                     24   things to make it easier for them to do that. So it

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    1   was more for internal operations. I created a                1   reliability of supply, those three components.
    2   forecasting tool, things to help expedite internal           2       Q. And so in terms of price, would -- would
    3   processes and projects.                                      3   the chargeback payments or the chargeback program
    4      Q. Okay. So the -- I mean, well, I guess                  4   figure into the price?
    5   these are almost like computer programs or --                5       A. So the chargeback isn't -- it's more of a
    6      A. They were -- they were -- yeah, they                   6   financial exchange. It's just something that -- so
    7   were -- I wouldn't go that sophisticated, but similar,       7   the price is set. So you -- let's say you negotiate a
    8   yes.                                                         8   contract price of $4 with a wholesaler. However, you
    9      Q. Okay.                                                  9   sell to them at, say, $50. Your price is your price.
   10      A. Yep.                                                  10   It's $4. And wherever you set that at, the chargeback
   11      Q. Okay. And generally speaking, how did                 11   is then dictated based on that and -- and the WAC, so
   12   Mallinckrodt -- well, strike that.                          12   in that case it would be a $46 chargeback.
   13          Generally speaking, how did Mallinckrodt             13       Q. And just so I understand, the $46 would
   14   market its generic products, its generic opioid             14   be -- would be the money that -- that Mallinckrodt
   15   products?                                                   15   paid to the distributors --
   16      A. In terms of, again, marketing generic                 16       A. No.
   17   opioids, you don't truly market them. The market is         17       Q. -- is that right or --
   18   already created by the brand. So as a generic, you          18       A. No.
   19   come in and you contract with wholesalers,                  19           So you sell it to the distributor at the
   20   distributors and/or retail, large retail chains to          20   WAC price, let's say for this instance $50. When the
   21   gain position on their formulary, and then at that          21   distributor then turns and they sell it to their end
   22   point you sell to them and then they sell into the end      22   customer, which is a pharmacy, then -- and let's say
   23   pharmacy.                                                   23   our negotiated price with them is $4 with the
   24      Q. And when you say you contract with                    24   wholesaler, they would then charge us back, the

                                                          Page 23                                                         Page 25
    1   wholesalers or distributors, what -- what is -- what's       1   wholesaler would, the $46. So the chargeback occurs
    2   the sales pitch to the wholesaler or distributor, is         2   between the wholesaler back to the manufacturer.
    3   it -- well, I mean, I -- I -- strike that.                   3       Q. Okay.
    4            What was -- was there a sales pitch that            4       A. And it only occurs after they have sold
    5   Mallinckrodt delivered to wholesalers or distributors        5   the product to the pharmacy that they have the deal in
    6   in terms of, you know, when they were trying to get          6   place with.
    7   them to enter into a contract?                               7       Q. Understood.
    8       A. And, again, I wasn't in sales. I was in               8           So while -- or just to make sure I
    9   marketing at the time, so I was really working in the        9   understand, so Mallinckrodt has a price with a
   10   back office, but in general, within the generics            10   distributor for $50, it then also has a price with, I
   11   industry, you're not really pitching your product.          11   guess, the -- the indirect customer, is that the right
   12   It's all based on price. And so you are negotiating         12   term or --
   13   with -- because you are inherently competing against        13       A. The price is with the wholesaler as well.
   14   at least one if not, you know, up to eight different        14       Q. Okay.
   15   competitors, and so it really becomes a price game and      15       A. So WAC is just a universal, WAC is
   16   a relationship, a relationship-based sale. And so you       16   wholesaler acquisition cost. And it is just a
   17   really are competing, I would say, on price.                17   universal price, it is published. It's public. And
   18       Q. Okay. So I assume distributors are                   18   that's what wholesalers purchase the product at.
   19   looking at price and presumably the reliability of --       19           You then in turn have negotiated contracts
   20   of delivery, is that fair?                                  20   with that particular wholesaler for a contract price,
   21       A. So I think -- yeah, and that's fair. So              21   but you have different contracts loaded with them at
   22   let me take a step back.                                    22   different contract prices. So depending on who they
   23            So you -- you -- the distributors would            23   sell that product on to, off of which contract,
   24   take a look at price, then quality, and then                24   they'll charge you back against that WAC the

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    1 difference between that WAC and whatever the                     1      A. They would get a chargeback of $46, yes.
    2 negotiated contract price is.                                    2      Q. Okay. Okay. Thank you. That's very
    3       Q. And so -- I mean, in terms of the numbers,              3   helpful.
    4   Mallinckrodt is selling its opioid products, let's say         4          And so we started at marketing analyst,
    5   oxy 15, to a wholesaler for $50 a bottle, whatever the         5   and I -- I take it you were promoted.
    6   price is, then that wholesaler charges a pharmacy, I           6          So what -- what was your next position?
    7   guess, $10 a bottle. The chargeback would be $40 paid          7      A. I was promoted to associate product
    8   by Mallinckrodt to the wholesaler, is that correct?            8   manager.
    9       A. No. The wholesaler pays the chargeback to               9      Q. And did your responsibilities change much?
   10   Mallinckrodt -- hold on. Let me think about this.             10      A. They did. I didn't have any
   11           So they issue the chargeback to                       11   product-specific responsibilities as a marketing
   12   Mallinckrodt and then Mallinckrodt pays the chargeback        12   analyst. When I was promoted to associate product
   13   to them.                                                      13   manager, I did take on the management of a couple of
   14       Q. Okay.                                                  14   smaller product families.
   15       A. So they'll issue the financial chargeback              15      Q. And then at some point you became a full
   16   to the wholesaler -- or to -- to Mallinckrodt and then        16   product manager, is that correct?
   17   Mallinckrodt turns around and issues the actual               17      A. I -- I did.
   18   payment to the wholesaler, yes.                               18      Q. Do you recall roughly when?
   19       Q. So in essence it is to make the                        19      A. I don't.
   20   wholesaler -- it is to make -- to make the wholesaler,        20      Q. And as a full product manager, what were
   21   you know, I guess, whole if there is a difference             21   your responsibilities?
   22   between the acquisition price, the WAC, and the price         22      A. I was essentially doing the same job that
   23   they ultimately end up collecting from their                  23   I had been doing as an associate product manager, but
   24   customers.                                                    24   I had taken on the responsibility of larger product

                                                            Page 27                                                       Page 29
    1           Is that -- is that accurate?                           1   families in terms of contribution to the total
    2      A. It -- it is not necessarily the price that               2   portfolio.
    3   they collect from their customers. So we'll have a             3       Q. And these products were all -- were all
    4   negotiated contract price with the wholesaler of,              4   generics, correct? Is that -- is that correct?
    5   again, let's said $4, right, and that's their contract         5       A. They were all generics, yes.
    6   price negotiated with the manufacturer. They can               6       Q. When you are an associate product manager,
    7   choose to mark up that price to their customer                 7   did you have any responsibility for any generic opioid
    8   whatever they want and that's how they make money.             8   products?
    9           So we may have a contracted price with a               9       A. I don't recollect what the products were
   10   wholesaler of $4 and then they may sell it out to             10   that I managed at that time.
   11   their end pharmacy at a price of $6 and then make $2          11       Q. What about as a -- as a product manager?
   12   on -- that's where they make their margin.                    12       A. As a product manager, I did have opioids
   13      Q. Okay.                                                   13   within my portfolio.
   14      A. So the chargeback is only going to be the               14       Q. And who did you report to?
   15   difference between our contracted price and WAC, not          15       A. When I initially started at Mallinckrodt,
   16   necessarily the price that they turn around and sell          16   I reported to a gentleman named Jeff Burd. After he
   17   the product to the pharmacy at.                               17   left, I reported into a woman named Ginger Collier.
   18      Q. Okay. And so in your example then what                  18       Q. And did you have anyone reporting to you?
   19   would happen is for every sale the whole -- the               19       A. By the time that I left the company, I had
   20   wholesaler makes to one of their customers at $6, they        20   two people reporting to me.
   21   would be getting a profit of $2 off of that plus --           21       Q. And who were they?
   22   I'm sorry, I'm trying to track the -- the number in           22       A. Lisa, it used to be Lundergan, now it is
   23   the example -- $46 from Mallinckrodt, which represents        23   Cardetti, and Lou Ann Randall.
   24   a difference between 50 and 4?                                24       Q. And what was your impression of Lou Ann

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    1 Randall?                                                      1      Q. In -- yes, in terms of her job
    2       MR. TSAI: Object to the form.                           2   performance, did you have any concerns about her?
    3           Go ahead.                                           3      A. And, again, what do you -- clarify
    4   BY THE WITNESS:                                             4   concerns.
    5       A. Yeah, I -- I think that's a really vague,            5      Q. Well, you indicated, for example, for
    6   vague question.                                             6   Lou Ann when you initially took over management of
    7   BY MR. KAWAMOTO:                                            7   her, I think Jeff Burd had some concerns about her and
    8       Q. Okay. Fair enough.                                   8   probably felt that it -- that it wasn't a good fit
    9           With respect to the performance of her job          9   with her.
   10   responsibilities, what was -- what was your -- well,       10           Was that the same situation with Lisa or
   11   strike that.                                               11   was it different? In -- in terms of how was Lisa
   12           Do you think Lou Ann Randall was good at           12   perceived within the company with respect to her
   13   her job?                                                   13   professionally?
   14       A. Again, I think that's a really subjective           14      A. Sure.
   15   question.                                                  15      MR. TSAI: Object to the form.
   16       Q. Well, did you -- did you have any concerns          16           Go ahead.
   17   with her job performance?                                  17   BY THE WITNESS:
   18       A. So Lou Ann worked within -- she was in              18      A. So I can't speak to how Lisa was perceived
   19   charge of handling the con -- like the contracts, so       19   within the company. I can speak to how I -- I
   20   making sure that things were processed that we -- when     20   perceived her. She is very smart. She was promoted
   21   a salesperson in -- you know, brought in a contract,       21   several times within the -- the department, within the
   22   that it got turned around -- or brought in a new           22   company and the department. So I perceived Lisa to be
   23   business opportunity, that the contract got turned         23   a high performer and -- and very intelligent.
   24   around in an expeditious matter. And so she was            24   BY MR. KAWAMOTO:

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    1   really in a more clerical row -- role.                      1       Q. And what were -- you described Lou Ann's
    2           I will say when I took on the management            2   responsibilities which were largely, you know,
    3   of her that people beyond me were in a position of not      3   administerial with respect to the -- to the contracts.
    4   wanting to keep her on. It wasn't that she was              4           What were Lisa's responsibilities?
    5   necessarily bad at her job, but she wasn't really           5       A. So Lisa joined the marketing group as a
    6   thinking outside of the box and pushing the envelope.       6   marketing analyst and then was promoted to an
    7   And so it was my -- my job and what I ended up doing        7   associate product manager. So if you revert back to
    8   was taking her and -- and really trying to -- to train      8   how I described what my job duties were, she
    9   her.                                                        9   essentially followed the same path that I did whenever
   10           And so I would say when I first took her           10   I came into the company.
   11   as an employee, it -- she probably was a lower --          11       Q. And do you recall what product she had
   12   lower than average performer and I think by the time       12   responsibility for?
   13   that I left she was performing at average if not           13       A. I don't.
   14   above. So my opinion of her varied.                        14       Q. Did you ever work with people in the
   15      Q. Okay. And in terms -- when you say that              15   compliance department?
   16   people beyond you, were -- I take it are you talking       16       A. I interacted with them, yes.
   17   about -- were you talking about Ginger Collier or          17       Q. And do you recall who you interacted with?
   18   others that --                                             18       A. Primarily Karen Harper.
   19      A. It --                                                19       Q. And what was your professional impression
   20      Q. -- Lou Ann interacted with?                          20   of Karen with respect to, you know, her job
   21      A. It would have been at the time Jeff Burd             21   performance?
   22   who I reported into.                                       22       A. Karen was extremely professional, very
   23      Q. And what about Lisa Cardetti?                        23   dedicated, and very focused on -- she was just -- just
   24      A. Lisa?                                                24   a really dedicated, wanted to make sure that we were

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     1 adhering to compliance and was very dedicated to doing       1   understanding.
     2 the right thing.                                             2      Q. And my apologies. What -- what does ERP
     3      Q. And did you interact with anyone else in             3   stand for?
     4   compliance?                                                4      A. Enterprise -- oh, gosh. So think about
     5      A. She is the main name that I remember.                5   like SAP --
     6      Q. Okay. Did you ever work with Jim Rausch?             6      Q. Uh-huh.
     7      A. Yes, I did.                                          7      A. -- any kind of, like, tool that you --
     8      Q. And what -- what was his role?                       8      Q. Yeah.
     9      A. Jim was in, I believe, customer service.             9      A. -- and -- and so I can't -- Enterprise
    10      Q. So that would have been a different                 10   something --
    11   department from -- from, I guess -- well, strike that.    11      Q. Okay.
    12          So as a product manager, were you in the           12      A. -- I can't remember. I don't know.
    13   marketing department or what department was that?         13      Q. But it is -- it is essentially like a
    14      A. As a product manager I was in the                   14   computer program or a database?
    15   marketing department.                                     15      A. It is exactly, yeah.
    16      Q. Okay. And the customer service                      16      Q. Okay. And EDI?
    17   department, I take it, would have been separate           17      A. Electronic data interchange.
    18   from -- from marketing?                                   18      Q. Okay. Did you -- did you interact with
    19      A. The customer service department was                 19   the sales team?
    20   separate from marketing.                                  20      A. I did.
    21      Q. And what were your impressions of                   21      Q. And would these have been the national
    22   Mr. Rausch?                                               22   account managers?
    23      A. I didn't work directly with him, and we             23      A. We -- the marketing team didn't interact
    24   did interact -- I guess I did. I thought he -- he         24   with the national account managers.
                                                        Page 35                                                        Page 37
     1   worked hard and he tried hard to do a -- a good job as     1      Q. And so do you recall which sales -- which
     2   well.                                                      2   salespeople -- or ob- -- strike that.
     3      Q. And did you interact with Cathy Stewart?             3          Do you recall which national account
     4      A. I did.                                               4   managers you interacted with?
     5      Q. And what was -- what was her role?                   5      A. I do.
     6      A. She was also in customer service.                    6      Q. Who were they?
     7      Q. And what was your impression of her?                 7      A. So at the time it would have been Steve
     8      A. Again, good impression, she was diligent             8   Becker, Dave Irwin, Bonnie New, Victor Borelli, Tim
     9   and she worked hard.                                       9   Berry, and those were the -- the names that I
    10      Q. And generally speaking, in the context of           10   remember, yes.
    11   your interactions with Jim and Cathy, what were their     11      Q. Okay. And generally speaking in the
    12   responsibilities?                                         12   context of your interactions with them, what -- what
    13      A. So Jim and Cathy were in customer service,          13   were their responsibilities?
    14   so they were the front face to customers outside of       14      A. They were in charge of managing -- again,
    15   the sales team when customers would call inquiring        15   I wasn't on the sales team, but my perception was they
    16   about orders, shipments. They also processed POs, so      16   were in charge of managing the relationship with the
    17   they processed the orders and they were in charge of      17   national accounts, with the customers that we sold our
    18   releasing the orders to the warehouse so that they        18   product to.
    19   would then ship.                                          19      Q. And what was your impression of -- of --
    20      Q. And when you say "in charge of releasing            20   of Steve Becker?
    21   the orders," what -- what does that mean?                 21      A. In -- in terms of my impression of just
    22      A. Just within the ERP system, so when they            22   having worked with him or...?
    23   would come in via EDI, they would be the ones to          23      Q. Yes.
    24   release the orders in the system from my                  24      A. So Steve was a nice guy. He had been in

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     1   the industry for a long time. He, again, worked very        1           (WHEREUPON, a certain document was
     2   hard, cared about his customers.                            2            marked Mallinckrodt - Neely
     3       Q. And what about Dave Irwin?                           3            Deposition Exhibit No. 2, for
     4       A. Dave Irwin, also a very nice guy, had been           4            identification, as of 01/07/2019.)
     5   in the industry for some time, good relationships with      5 BY MR. KAWAMOTO:
     6   his customers.                                              6     Q.   The e-mail is Bates numbered
     7       Q. And Bonnie New?                                      7 MNK-T1 6330799. The attachment was produced in native
     8       A. Bonnie had been with the company for a               8 form, but it is MNK-T1 6330800.
     9   long time, nice person.                                     9     A.   Thank you.
    10       Q. Victor Borelli?                                     10     Q.   So, Ms. Neely, I've handed you an e-mail
    11       A. Vic started with the company about the              11 and an attachment, and I primarily want to direct your
    12   same time that I did. He had good relationships with       12 attention to the attachment.
    13   his customers. Of the sales force I would say he           13     A.   Okay.
    14   probably had the most aggressively personality.            14     Q.   Which is titled "Marketing Roles and
    15       Q. Now, when you say "aggressive                       15 Responsibilities April 2008."
    16   personality," what do you mean by that?                    16     A.   Um-hum.
    17       A. Just more pushy. I think East Coast                 17     Q.   And so it identifies you as a product
    18   versus, like, Midwest.                                     18 manager along with Rebecca Coyner and Marc Montgomery.
    19       Q. Okay. And what about Tim Berry?                     19     A.   Um-hum.
    20       A. Tim was just a really nice guy and worked           20     Q.   And it says that as product managers:
    21   really well with his customers.                            21 "Responsible for product-related issues, strategies
    22       Q. Did you ever have any concerns with any of          22 and tactics."
    23   the national account managers?                             23     A.   Um-hum.
    24       A. By concerns, what do you mean?                      24     Q.   Do you re -- those are fairly broad

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     1       Q. Well, professional concerns in that they             1   categories.
     2   were -- they were not doing their job properly or they      2       A. Um-hum.
     3   were overlooking things or they weren't -- they             3       Q. You know, what -- what -- what does that
     4   weren't advancing Mallinckrodt's goals?                     4   mean?
     5       A. I didn't --                                          5       A. Do you -- so you would like clarification
     6       MR. TSAI: Object to the form.                           6   on what a product manager actually did?
     7   BY THE WITNESS:                                             7       Q. Yes. What -- what were the issues,
     8       A. Yeah.                                                8   strategies and tactics that you were responsible for?
     9       MR. TSAI: Go ahead.                                     9       A. Sure.
    10   BY THE WITNESS:                                            10          So as a product manager, and, again,
    11       A. I -- I didn't work -- and I didn't manage           11   within the generic space, it needed to be really clear
    12   the sales team. I only worked with them in a certain       12   that the product manager and marketing is very
    13   capacity, so I don't feel like I can answer that           13   different than traditional marketing because the
    14   question.                                                  14   market already exists. You are just selling into it.
    15   BY MR. KAWAMOTO:                                           15          So as a product manager, you were
    16       Q. And going back to Jim Rausch and Cathy              16   responsible for forecasting your products, you were
    17   Stewart, did you ever have any concerns with their job     17   responsible for helping to set the budget on a fiscal
    18   performance?                                               18   basis. The forecasting was at the -- maybe at the
    19       A. Again, they were in customer service, I             19   unit level as well because you were in charge of
    20   was in marketing, so I didn't manage them and so I         20   working with supply chain to make sure that you had
    21   don't feel like I can answer that question.                21   proper inventories on hand.
    22       MR. KAWAMOTO: So I'd like to mark this as              22          In terms of strategies, you were looking
    23   Exhibit 2. It is multiple copies of an e-mail and an       23   at market share strategies and then determining what
    24   attachment.                                                24   customers you might want to work with in terms of

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     1 making those market share goals.                              1   small incremental gain in market share and potentially
     2     Q.   And I take it in terms of market share,              2   decreasing the value of the book of business that you
     3 the -- the general goal was to expand Mallinckrodt's          3   already had. So in that case you would not go after
     4 market share, is that fair?                                   4   additional share.
     5       A. Not always.                                          5      Q. Thank you. That's helpful.
     6       Q. What would be under the circumstances --             6           For your products, were any of them over
     7   or strike that.                                             7   indexed?
     8           What would be the circumstances under               8      A. That part I don't remember.
     9   which you wouldn't want to expand your market share?        9      Q. And I take it if they were not over
    10       A. Sure.                                               10   indexed, then, you would -- your goal would be to
    11           So to be clear, again, the market already          11   expand your market share?
    12   exists, and when you talk about market share within        12      A. That is not always true.
    13   the generics industry, you are talking about what          13      Q. So if you had a -- if you did not have an
    14   piece of the market you are going to garner and then,      14   over indexed product, meaning expanding your market
    15   you know, what piece of the market your competitor who     15   share would not cut into your, I guess your marginal
    16   is selling the exact same product will also garner.        16   profits, why wouldn't you want to expand it?
    17           If you are in a two-player market and you          17      A. There could be the potential that we don't
    18   have 70 percent of the market and your competitor has      18   make enough money -- or we don't have strong enough
    19   30 percent, you would be perceived to be over indexed,     19   costs to compete against our competitors. So we may
    20   and by over indexed, you -- within a two-player            20   be sitting at a 10 percent share and our fair share
    21   market, fair share would be 50/50.                         21   may be 20, but our cost of goods is higher and so we
    22           So you asked me when would be a time that          22   are not in a position to compete on price with our
    23   you wouldn't want to pursue market share, when that        23   competitor. So it is a very situation by situation,
    24   would not be a good thing, and in the case of where        24   you can't put blanketed statements across market share

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     1 you had 70 percent and your competitor had 30, it             1 strategies.
     2 would not be financially advantageous from a margin           2      Q. Now, you also indicated that in terms of
     3 perspective to pursue additional share. You might             3 market share strategies, you were also looking at
     4 even be in a position of wanting to give up share.            4 customers that you would like to work with.
     5      Q. Okay. And could you explain that? Why                 5          With respect to the opioid products, what
     6   from a margin perspective would it -- would it not be       6   did you look for in the customers you -- you were --
     7   advantageous to pursue additional shares --                 7   well, strike that.
     8      A. Well --                                               8          How did you go about evaluating which
     9      Q. -- if you are at 70 percent?                          9   customers you wanted to work with?
    10      A. Sure.                                                10      A. In terms of contracting with different
    11           So if we go back to the conversation we            11   customers within the market?
    12   had earlier with regards to margins and talking about      12      Q. Sure.
    13   the selling of product and how generics compete            13      A. So I think it was not necessarily opioid
    14   primarily on price, so if we were to go after -- if we     14   specific because we did market a wide range of
    15   already had garnered more than our fair share within       15   products or sell, I should say, a wide range of
    16   the market and we had to go -- if we went after            16   products in addition to opioids. I would say in
    17   additional share within that 30 percent that already       17   general when looking at customers to work with within
    18   existed, we would have to do so at a lower price. The      18   the market, you had three large wholesalers, which
    19   only way we would win the business would be at a lower     19   were Cardinal, McKesson and AmerisourceBergen, and
    20   price than what our competition is selling it.             20   then you had large chains, which were Walgreens, CVS,
    21           At that point you almost are engaging in           21   Walmart, and then you had smaller accounts. And each
    22   potential -- you know, you could be disrupting the         22   one of those customers that I just mentioned made up a
    23   book of business that you already have and potentially     23   certain market share within the generics space.
    24   lowering the value of it. So you would be gaining a        24          And so when you were looking at targeting

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     1 or determining what customers that you wanted to work        1           Was -- was that part of your
     2 with, you would look at your relationships with the          2   responsibility?
     3 buyers at those particular customers, you would look         3       A. In terms of the creation of the
     4 at the market share that they represented, and look at       4   relationship and determining which customers they
     5 what you wanted to -- what your business strategy was,       5   should create relationships with?
     6 and then you would have discussions, and a lot of it         6       Q. Yes.
     7 would also be dependent on price and what they were          7       A. That was not -- I was in marketing. That
     8 currently paying and if you could offer them value off       8   was not -- that was -- would have been more the head
     9 of that.                                                     9   of sales driving that.
    10      Q. And in terms of your responsibility for             10       Q. Okay. Now, looking at the -- the various
    11 identifying and creating relationships with customers,      11   products that you were responsible for, both --
    12 did you work with the national account managers on          12   actually, let me take a step back.
    13 that?                                                       13           So these are the products you are
    14      A. The national account managers, from my              14   responsible for as Ap -- of April of 2008. Do you
    15 understanding, it was their responsibility to own that      15   recall if this list changed over your tenure as a
    16 relationship. That was their -- that was their job          16   product manager?
    17 with the customer.                                          17       A. I don't recall.
    18      Q. But in terms of identifying customers               18       Q. Most of the questioning I'm going to have
    19 to -- to create relationships with, were you doing          19   is going to focus on oxycodone APAP and oxycodone.
    20 that, were the national account managers doing that,        20           Do you -- do you -- well, were you
    21 or were -- were you doing that in collaboration?            21   responsible for those products during your tenure as a
    22      A. Could you repeat the question?                      22   product manager?
    23      Q. Sure.                                               23       A. The top two products, oxycodone APAP and
    24         In terms of identifying customers that you          24   oxycodone, I believe I managed throughout my tenure

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     1   wanted to create relationships with, was -- was --         1   until I left the company.
     2   were you identifying the customers, were the national      2      Q. And is it fair to say that some of these
     3   account managers identifying the customers, or were        3   products were more popular than others in -- in terms
     4   both of you doing that?                                    4   of demand for them?
     5      A. I was in marketing, so in terms of the               5      A. I think "popular" is the wrong word to
     6   customer relationships and I -- you know, in terms of      6   use. I would say some of these products were larger
     7   that side, that would have been in -- within the sales     7   within our portfolio than others.
     8   group.                                                     8      Q. And by "larger," what do you mean by that,
     9      Q. Okay. So the sales -- the -- the national            9   Mallinckrodt had a larger market share?
    10   account managers would identify, you know, this           10      A. Either the market itself was larger or
    11   distributor, let's say it's -- it's Harvard --            11   Mallinckrodt had a larger market share.
    12      A. Uh-huh.                                             12      Q. And I take it, though, that demand varied
    13      Q. -- and say, you know, they would go out             13   between these products, is that correct?
    14   and try to create a relationship between Mallinckrodt     14      A. Demand varied based on the size of the
    15   and Harvard, is that fair?                                15   market, our market share, and obviously our -- our
    16      A. The sales team was in charge of building            16   customer base.
    17   the relationship between Mallinckrodt and -- and the      17      Q. So with respect to the oxycodone APAP and
    18   buyers within the customer organization, yes.             18   the oxycodone, can you describe the market for those
    19      Q. And did you have a say over who those               19   two products?
    20   customers were? In other words, could you have -- I       20      MR. TSAI: Object to the form.
    21   mean, could you say to one of the national account        21   BY THE WITNESS:
    22   managers, I think you ought to try to create a            22      A. Yeah, could you be -- could you rephrase
    23   relationship with X, or in the alternative, I don't       23   that question?
    24   know that we want to do business with Y?                  24   BY MR. KAWAMOTO:

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     1       Q. Well, you had indicated that markets                   1   patient.
     2   vary -- demand was a function of the market size --           2           So at our point in the supply chain we had
     3       A. Uh-huh.                                                3   really good compliance training that helped mitigate
     4       Q. -- and Mallinckrodt's market share.                    4   the diversion risk that we could have had within the
     5       A. Uh-huh.                                                5   portion that we had control over.
     6       Q. So in terms of the market size for                     6       Q. And in terms of -- you indicated that
     7   oxycodone, how would that compare to the other                7   diversion could occur at multiple points in the supply
     8   products that are listed as -- as ones you are                8   chain. So focusing on diversion at the doctor level,
     9   responsible for?                                              9   what -- what is the nature of that diversion?
    10       A. Sure.                                                 10       MR. TSAI: Object to the form.
    11           I -- I couldn't tell you. I don't                    11           Go ahead.
    12   remember what the market size was for the other              12   BY THE WITNESS:
    13   products, nor do I for oxycodone, so it would be tough       13       A. Yeah. Again, that's -- that's completely
    14   to make a relative statement about that.                     14   outside of my wheelhouse, so I couldn't speak to that.
    15       Q. And what about Mallinckrodt's market                  15   BY MR. KAWAMOTO:
    16   share?                                                       16       Q. Well, you indicated that you received
    17       A. I, again, don't recollect what                        17   compliance training on diversion at different levels,
    18   Mallinckrodt -- do you mean Mallinckrodt's overall           18   correct?
    19   market share or do you mean their market share within        19       A. No. I stated that diversion could happen
    20   specific products?                                           20   at various levels. We received compliance over the
    21       Q. Within specific products. So with respect             21   portion that we had the visibility to within our
    22   to the oxycodone product, what was -- do you recall          22   purview.
    23   what Mallinckrodt's market share was?                        23       Q. Okay. But in terms of -- well, I guess
    24       A. I don't.                                              24   I'm -- I'm -- I guess another way of asking the

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     1      Q. What about the oxycodone APAP?                          1 question is, what did -- what do you mean when you say
     2      A. Again, I don't remember.                                2 that diversion could occur at the doctor level?
     3      Q. Do you recall encountering shortages of                 3       A. I think that in terms of the diversion
     4   those two products?                                           4   occurring at the doctor level?
     5      A. We did.                                                 5       Q. Yes.
     6      Q. Do you recall encountering shortages for                6       A. I'm not -- I -- so in terms of the
     7   any of the other products that you were the manager           7   prescription, like if the patient and the doctor -- if
     8   for?                                                          8   the doctor wrote a prescription potentially for
     9      A. We had backorders at any given time I --                9   something other than a legitimate use could be
    10   on quite a few products, yes.                                10   qualified as diversion.
    11      Q. Okay. In terms of the relative size of                 11       Q. And in terms of diversion occurring at the
    12   those backorders, how did the backorders for oxycodone       12   pharmacy level, what did you mean by that?
    13   compare to the other products you were managing?             13       A. I think it could be, you know, if someone
    14      A. I don't remember.                                      14   broke into a pharmacy, if the pharmacy was robbed and
    15      Q. Did you ever have concerns regarding                   15   they, you know, acquired the -- the opioid medication
    16   diversion as it relates to the oxycodone products?           16   illegally.
    17      A. We had compliance -- so, again, I was in               17       Q. So if a pharmacy were to knowingly
    18   marketing, product manager, we had compliance training       18   dispense a product for other than medical use, would
    19   with Karen Harper's group to help control. So                19   that be an example of diversion in your opinion?
    20   diversion could happen at any point within the supply        20       A. I'm not sure. I guess, to answer that
    21   chain. It could happen at the manufacturing level            21   question, is how would they knowingly be able to
    22   with the product in our warehouse, it could happen at        22   distribute product -- how would they knowingly know
    23   the distributor level, it could happen at the pharmacy       23   that it wasn't for non-medical use? I mean, they --
    24   level, or it could happen at the doctor level to the         24   they don't have a purview into the conversation

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     1   between the patient and the doctor and so I think that       1   speak to the -- to compliance directly because that
     2   it would be challenging for them to -- to make that --       2   wasn't the area I was in, I was within marketing, but
     3   that judgment.                                               3   I will tell you that Mallinckrodt had training and had
     4       Q. Well, let's say you had a pharmacy that               4   a suspicious order monitoring program in place that
     5   had a relationship with a doctor and because of this         5   the employees were trained on and that Karen Harper
     6   relationship they knew that the doctor was essentially       6   and her team executed to.
     7   writing prescriptions for non-legitimate medical             7   BY MR. KAWAMOTO:
     8   reasons --                                                   8       Q. And what was your role in the suspicious
     9       A. Uh.                                                   9   order monitoring program?
    10       Q. -- and nevertheless they were filling                10       A. Again, I was in marketing, so I was
    11   those prescriptions.                                        11   trained within compliance, but you would have to talk
    12       A. Uh-huh.                                              12   to Karen Harper about the specifics of it.
    13       Q. You know, in -- in your opinion, would               13       Q. No. I -- I -- I understand. And I guess
    14   that be an example of diversion?                            14   I'm not asking for you to generally describe the
    15       A. I think that's an extremely hypothet- --             15   suspicious order monitoring program.
    16       MR. TSAI: Object to the form.                           16       A. Uh-huh.
    17          Go ahead.                                            17       Q. My question is a little more specific in
    18   BY THE WITNESS:                                             18   the sense of you received training and I take it did
    19       A. Yeah, I think that's an extreme                      19   you have a role in the implementation of the
    20   hypothetical situation. I don't feel comfortable            20   suspicious order monitoring program?
    21   answering that.                                             21       A. I did not implement the suspicious order
    22   BY MR. KAWAMOTO:                                            22   monitoring program.
    23       Q. And in terms of diversion at the                     23       Q. Okay. So you weren't involved at all in
    24   distributor level, what -- what did -- what did you         24   the -- in the SOM program?

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     1   mean by that?                                                1       A. I was involved in it. And so you are
     2      A. Again, it could involve, you know, an                  2   asking what -- okay. So you asked me if I implemented
     3   employee stealing or taking the product or it being          3   it, and I didn't implement it.
     4   vandaled, robbed.                                            4       Q. Or took part in implementing it?
     5      Q. And in terms of diversion at the                       5       A. I don't think I necessarily took part in
     6   manufacturing level, which would be Mallinckrodt's           6   implementing it. I was trained on it. My role within
     7   level, what -- what does that mean?                          7   marketing, I served as essentially -- I would -- I
     8      A. Sure.                                                  8   don't know if it is a conduit. So customer service
     9           So the -- the -- again, it could be                  9   would receive the orders and a lot of times data
    10   somebody stealing the product out of the warehouse, it      10   requests would come to me in terms of drilling down
    11   could be -- I think that would be another example of        11   into the data to help understand or help provide data
    12   diversion.                                                  12   then to -- to Karen Harper's group so we can analyze
    13      Q. And is that the only example you can think            13   orders or ordering behavior and then she would take
    14   of of diversion or are there are other -- are there         14   that information and her -- it was her job to work
    15   other ones?                                                 15   with that.
    16      A. I think in terms of blatant diversion,                16       Q. And so you indicated that the order would
    17   that's a great example.                                     17   come into customer service and then customer service
    18      Q. If Mallinckrodt was aware of diversion                18   would -- would often have data requests.
    19   occurring at other levels, did it have an obligation        19           What -- do you recall what -- what were
    20   to do anything about it?                                    20   the nature of the data requests?
    21      MR. TSAI: Object to the form of the question.            21       MR. TSAI: Object to the form.
    22           Go ahead.                                           22           Go ahead.
    23   BY THE WITNESS:                                             23   BY THE WITNESS:
    24      A. In terms of Mallinckrodt, and I can't                 24       A. Could you rephrase your question?

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     1   BY MR. KAWAMOTO:                                            1              identification, as of 01/07/2019.)
     2       Q. Sure.                                                2   BY MR. KAWAMOTO:
     3           You had indicated that customer service             3      Q. So, I've handed you copies of an e-mail
     4   would receive orders and a lot of time data requests        4   and an attachment.
     5   would come to you --                                        5      A. Uh-huh.
     6       A. Uh-huh.                                              6      Q. The e-mail is Bates numbered
     7       Q. -- in terms of drilling down into the                7   MNK-T1 448772. The attachment starts with Bates
     8   data.                                                       8   No. 448773.
     9       A. Uh-huh.                                              9      A. Uh-huh.
    10       Q. And so my question is, you know, what was           10      Q. And this document was previously used in
    11   the nature of that data?                                   11   another deposition, that's why it has a -- a Ratliff
    12       A. The nature of the data?                             12   exhibit label on it.
    13       Q. Or what -- what type of data were they              13          This is an e-mail and attachment that
    14   asking you for?                                            14   Kimberly France sent to you.
    15       A. Okay.                                               15      A. Uh-huh.
    16           In terms of the data that they were asking         16      Q. Do you recall receiving this e-mail?
    17   for --                                                     17      A. I don't.
    18       Q. Uh-huh.                                             18      Q. Okay. Do you have any doubt that you did
    19       A. -- when we received an order, they would            19   receive it?
    20   take a look at it and they would ask me to compare it      20      A. I -- I did receive it. I don't remember.
    21   to the historic averages from that particular customer     21      Q. Okay. And who -- who is Kimberly France?
    22   to see if it was within the norm or to provide them        22      A. I don't recollect what she did.
    23   with a number to gauge if it was within the norm of        23      Q. And do you know why she would be sending
    24   that customer order size.                                  24   you this -- this -- well, actually, strike that.

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     1      Q.    Okay.                                              1           So this document is entitled the
     2           And in terms of the historic averages and           2   "Oxycodone Extended Release RiskMAP Action Plan."
     3   the data you were providing, was that coming from the       3      A. Um-hum.
     4   chargeback system?                                          4      Q. Do you recall ever reviewing this
     5       A. It was coming from our sales system, yes.            5   document?
     6       Q. So you were in the marketing department              6      A. I don't -- I'm sure I did, but I don't
     7   and the sales department was separate. That's -- do I       7   remember.
     8   have that understanding correct?                            8      Q. Okay. What -- what is this document or
     9       A. Yes.                                                 9   what -- why was this document created?
    10       Q. So why would the marketing department be            10      A. So my recollection on this is that oxy ER
    11   providing this data as opposed to the sales -- I           11   had a REMS program and that's something that's
    12   mean -- well, strike that.                                 12   required by the FDA and this looks like this was
    13           Why would the marketing department be              13   the -- and at the time RiskMAP associated with that.
    14   providing sales data as opposed to the sales               14      Q. And what -- what is -- what's your
    15   department?                                                15   understanding of what a RiskMAP is?
    16       A. Within the generics group that we worked            16      A. It's when -- I'm not in regulatory, so I
    17   in, the marketing department did, like I mentioned, a      17   can give you my layman's perspective on it.
    18   lot of the analytics and the sales reporting.              18      Q. Sure.
    19       Q. Okay.                                               19      A. A RiskMAP is something required by the FDA
    20       MR. KAWAMOTO: So could we mark this as                 20   on certain products, and I'm not certain if it's
    21   Exhibit 3. Thank you.                                      21   because they have Black Box warnings, but there's --
    22              (WHEREUPON, a certain document was              22   there could be the potential or the higher risk for
    23               marked Mallinckrodt - Neely                    23   issues -- or not issues, but there is higher risk
    24               Deposition Exhibit No. 3, for                  24   within the patient market and so the company is

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     1 required to take additional steps to mitigate that          1   are referring to the launch of the oxy ER product --
     2 risk when selling the product into the -- into the          2       A. Uh-huh.
     3 market.                                                     3       Q. -- what -- what do you mean by that?
     4     Q. And one of the higher risks could be an              4       A. So, when you talk about the launch of a
     5 increased risk of abuse, is that correct?                   5   generic product, basically it's what we talked to
     6      A. I think that's a fair statement, yeah.              6   earlier in terms of identification of -- so, again,
     7      Q. Do you recall if RiskMAPs were created for          7   the market has already been created, so you are
     8   any of your other products other than oxycodone?          8   launching into an already created market and you are
     9      A. If they were required by the FDA.                   9   trying to ascertain how much market share you are
    10          So a RiskMAP is -- you need to understand,        10   going to garner, at what price point, and then it
    11   a RiskMAP is -- is -- or what used to be called a        11   would be my job to build the forecast and work with
    12   RiskMAP, a REMS, is something that is required by the    12   supply chain and manufacturing to produce to that
    13   FDA on certain products. So if you are selling those     13   forecast.
    14   products and there is a RiskMAP or a REMS required,      14           By launching, it is the first bottle that
    15   then you by law are -- are -- you are required to --     15   we ship out the door to one of our customers would
    16   to provide that, yes.                                    16   qualify as a launch.
    17      Q. And clearly a RiskMAP was required for             17       Q. And you indicated that you were sup- --
    18   oxycodone.                                               18   you -- you were responsible for developing the
    19      A. For oxy ER.                                        19   forecast.
    20      Q. For oxy ER.                                        20           What -- what do you -- what do you mean by
    21          Do you recall looking at the -- the               21   forecast?
    22   product list from, I believe it's Exhibit 2, whether     22       A. So you will have a sales forecast, sales
    23   any of the other products on that list also were         23   dollars forecast and a unit forecast.
    24   subject to a RiskMAP requirement?                        24       Q. And the sales dollars is, I assume, the --

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     1      A. I don't remember.                                   1 the volume -- the volume in terms of dollars -- well,
     2      Q. And what was the purpose of the                     2 strike that.
     3   oxycodone ER RiskMAP? What was -- what was -- it          3            These are -- this is generally the amount
     4   designed to -- to -- to do?                               4   you -- you're -- you want to sell or you believe you
     5      A. You -- I -- I can't answer that question            5   can sell or both?
     6   specifically. You would have to talk to somebody in       6       A. So the market, again, has already been
     7   regulatory.                                               7   created, so you have that information publicly
     8      Q. Do you know why you were -- you -- you              8   available to you in terms of what the market size is.
     9   were receiving it?                                        9   In terms of looking at, you know, depending on who you
    10      A. At the time I was one of the members of            10   contract with and what market share they represent,
    11   the -- of the launch team because I worked in            11   you calculate that to determine how many units that
    12   marketing and handled this product.                      12   equates to and then that becomes your sales unit
    13      Q. And when you say one of the members for            13   forecast.
    14   the launch team, are -- do you mean one of the members   14       Q. And do you recall what market share -- is
    15   for the oxy ER launch team?                              15   it -- is it fair to -- to describe this as a market
    16      A. That's correct.                                    16   share goal?
    17           So there would have been, you know,              17       A. It could -- yeah, yes.
    18   different functional groups represented and I was the    18       Q. So do you recall what the market share
    19   product manager. So I was representing the marketing     19   goal was for Mallinckrodt for oxycodone ER or oxy ER?
    20   team.                                                    20       A. I'm assuming it was quite a bit different
    21      Q. And the oxy ER product is a generic                21   than -- we were a single-source generic.
    22   product, is it -- isn't -- am I right on that?           22       Q. And so when you say "single-source
    23      A. That's correct.                                    23   generic," that means Mallinckrodt was the only source
    24      Q. Okay. So when you are describing or you            24   of the generic, is that correct?

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     1      A. That's correct.                                        1 ER market, four -- four different milligrams. We had
     2      Q. So your market share would have been, I                2 a negotiation with Purdue that allowed us to sell X
     3   guess, a 100 -- a 100 percent?                               3 number in aggregate bottles over the course of
     4      A. That's not correct.                                    4 15 months and that number was broken down by the four
     5      Q. What -- why isn't that correct?                        5 different strengths.
     6      A. But I don't know how much of it is second,             6         So we were -- we were legally bound by
     7   actually.                                                    7 this agreement with Purdue to only sell a certain
     8           We had Purdue as the brand manufacturer              8 number of bottles of the oxy ER product.
     9   for this product. And Mallinckrodt had a agreement           9           Now, what I don't remember is what those
    10   with Purdue in terms of -- in terms of the ability to       10   bottles equated to in terms of market share. It also
    11   sell -- sell the generic product, a legal                   11   didn't necessarily mean that's how much market share
    12   negotiation -- negotiated.                                  12   that we got because it's tough to say because we were
    13      Q. Okay. And so that agreement set                       13   able to sell that product over the course of a
    14   Mallinckrodt's market share?                                14   15-month timeframe. So at any given point it could
    15      A. It did not.                                           15   have been something different and so that's why your
    16      Q. Well, so what -- what was Mallinckrodt's              16   question is very challenging for me to answer. It is
    17   market share, then, for oxy ER?                             17   not a very black-and-white scenario.
    18      A. I don't remember what the market share                18   BY MR. KAWAMOTO:
    19   was, but it was not 100 percent.                            19      Q. And just -- I mean, just in terms of what
    20      Q. But it would have been some percentage                20   the -- the market dynamics --
    21   share of the oxy ER market, right, it would have been,      21      A. Uh-huh.
    22   like, 50 percent or 60 percent or some percentage?          22      Q. -- were.
    23      A. I can't qualify what the percentage was.              23      A. Uh-huh.
    24      Q. Fair enough.                                          24      Q. So this agreement covers a 15-month

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     1            But I -- I was just asking, I want to make          1 timeframe.
     2   sure I have the metric right.                                2       A. I believe, from what I remember.
     3       A. It was some percentage of the oxy ER                  3       Q. Or you -- you believe it covers a 15-month
     4   market.                                                      4   timeframe.
     5       Q. And who at Mallinckrodt would have been               5           And if the market grows between Month 1
     6   responsible for coming up with what that percentage          6   and Month 15, does that mean the number of bottles you
     7   goal should be?                                              7   are allowed to sell increases or --
     8       A. Again, how much of this can I -- I mean,              8       A. We had a finite number of bottles that was
     9   if -- if it was a -- if it was a legal agreement             9   set at the beginning of the agreement and that was all
    10   between us and Purdue, how much of this information         10   that we could sell regardless of what happened in
    11   can I actually share?                                       11   terms of the branded market.
    12       Q. Well, this is -- I mean, this is subject             12       Q. And this agreement lasted for 15 months.
    13   to a protective order and it's all confidential -- or       13           Do -- do you re -- do you recall if it was
    14   your counsel can designate it as highly confidential,       14   renewed at the end of 15 months?
    15   so I don't -- I don't believe there are any                 15       A. Again, we had an agreement for that
    16   confidentiality concerns.                                   16   timeframe to sell those bottles and that was it. So
    17       MR. TSAI: Yeah, I'd have to look at the                 17   after the -- after the conclusion of the timeframe,
    18   agreement first. I'd say let's designate this section       18   then we were no longer selling this product.
    19   as highly confidential and I think let's see if we can      19       Q. Okay. So at the -- at the end of those
    20   talk about this at a high level.                            20   15 months, were you no longer selling generic oxy ER?
    21   BY THE WITNESS:                                             21       A. We were not allowed to, right.
    22       A. So I can talk -- I can do that at a high             22       Q. Do you know if -- if anyone else was
    23   level.                                                      23   allowed to sell generic oxy ER?
    24            So there's four strengths within the oxy           24       A. I don't know.

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     1       Q. And if -- if we wanted additional                   1           This agreement only applied to oxy ER, is
     2   information on this agreement, the number of bottles,      2   that -- is that correct?
     3   the market share, who -- who would -- who would we         3      A. Yes.
     4   talk to? Would -- would you be the right person for        4      Q. And do you recall roughly when the
     5   this? Would there be someone else at Mallinckrodt?         5   15 months ran from, meaning when did it start and when
     6       A. I would suggest you talk to -- to the               6   did it end?
     7   legal counsel at Mallinckrodt in terms of -- I don't       7      A. It -- I don't -- I was with Mallinckrodt
     8   have the details of -- of what the agreement detailed.     8   from 2007 to 2011. I believe this happened in the
     9       Q. Fair enough.                                        9   2008 into 2009 timeframe, but I don't remember
    10           So in -- in -- assuming that it's --              10   exactly.
    11   assuming that it's legally permissible for us to          11      Q. Understood.
    12   obtain this information --                                12           And this didn't apply to oxy IR, is that
    13       A. Uh-huh, uh-huh.                                    13   correct?
    14       Q. -- who would have the details, that's --           14      A. That's correct.
    15   that's all I'm asking?                                    15      Q. Thank you.
    16       A. I'm guessing someone within Mallinckrodt.          16      MR. KAWAMOTO: So I'd like to mark this as
    17   I -- I don't know. I have not been with the company       17   Exhibit, I think it's 4 or 5. Great.
    18   for almost eight years now, so I -- I don't know who      18               (WHEREUPON, a certain document was
    19   would have that information.                              19                marked Mallinckrodt - Neely
    20       Q. Well, his -- I mean, historically                  20                Deposition Exhibit No. 4, for
    21   speaking, when this agreement was negotiated with         21                identification, as of 01/07/2019.)
    22   Purdue --                                                 22   BY MR. KAWAMOTO:
    23       A. Uh-huh.                                            23      Q. So the court reporter has handed you an
    24       Q. -- do you recall who the lead business             24   e-mail. It's Bates numbered MNK-T1 563714.

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     1 person was that was overseeing this?                         1          Could you review this e-mail for me and
     2      A.   So the person negotiating this with Purdue         2 let me know when you are done?
     3 would have been an attorney. So it wasn't a business         3     MR. KAWAMOTO: Can we take a ten-second break, I
     4 person negotiating this deal.                                4 just want to grab a highlighter.
     5      Q. But the -- the person at Mallinckrodt that           5     THE VIDEOGRAPHER: The time is 10:30 a.m. Off
     6   would have identified what Mallinckrodt was willing to     6 the record.
     7   settle for or willing to accept with respect to the        7            (WHEREUPON, a short recess was had.)
     8   number of bottles and the market share, I mean,            8     THE VIDEOGRAPHER: Okay. The time is 10:30 a.m.
     9   that -- that would be a business person of some type.      9 Back on the record.
    10           Do you -- do you recall who that would be?        10 BY MR. KAWAMOTO:
    11      A. I don't remember, no.                               11     Q.    So, have you been able to review the
    12      MR. KAWAMOTO: Could we go off the record very          12 e-mail?
    13   briefly.                                                  13     A.    Yes.
    14      THE VIDEOGRAPHER: The time is 10:15 a.m. Off           14     Q.    Okay. Great.
    15   the record.                                               15          And so I think the way this will work is
    16              (WHEREUPON, discussion was had off the         16 that this will display on your screen, and then I can,
    17               record.)                                      17 you know, highlight sort of the -- the things that I
    18              (WHEREUPON, a recess was had                   18 have questions on.
    19               from 10:15 to 10:28 a.m.)                     19          So directing your attention to the back
    20      THE VIDEOGRAPHER: All right. We are back on            20 page --
    21   the record. The time is 10:28 a m.                        21     A.    Uh-huh.
    22   BY MR. KAWAMOTO:                                          22     Q.    -- this is an e-mail from Victor Borelli
    23      Q. So I just have a few follow-up questions            23 to yourself, and I believe Victor was one of the
    24   on the oxy ER and Purdue agreement.                       24 national account managers.


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     1       A. Uh-huh.                                                1      A. This one looks like it is just related to
     2       Q. And he says -- do you see -- okay.                     2   oxy 30, but, yeah, I think 15 and 30.
     3           Can you read the -- the sections that I've            3      Q. Okay. And do you recall these types of
     4   highlighted?                                                  4   shortages with respect to oxy 15 and oxy 30?
     5       A. Sure.                                                  5      A. We did have shortages, back orders, yes.
     6           "Both Sunrise wholesalers and Masters                 6      Q. Okay. And just so we are on the same
     7   Pharmaceuticals are both out" -- that should say "out         7   page, what is a back order?
     8   of oxy 15-milligram and oxy 30-milligram and have             8      A. A back order is when a customer places an
     9   orders in-house on backorder. Sunrise has both PO 259         9   order with you and you are -- you do not have the
    10   and 261 on backorder and are bone dry on all products        10   supply and/or you choose not to fill the order.
    11   listed on both POs. We have displaced all competitors        11      Q. And when you say "you choose not to fill
    12   at this account and they are relying on our supply to        12   the order," what are reasons you might not fill the
    13   cover their demand. If we don't ship it, they can't          13   order?
    14   sell anything."                                              14      A. Depending on our allocation strategy in
    15       Q. Okay. And so this indicates -- does this              15   terms of what customers -- if we were low on
    16   indicate that Mallinckrodt is the sole supplier to           16   inventory, then we might determine to allocate the
    17   Sunrise on oxy 15 and oxy 30-milligram?                      17   product to one customer over another or we might
    18       A. Based on this statement: "We have                     18   choose to partial allocate, and that would be a time
    19   displaced all competitors at this account and they are       19   where you would not choose to fill an order.
    20   relying on our supply to cover their demand,"                20      Q. Okay. Now, turning the page over, can you
    21   indicates to me that we are their only supplier.             21   read that highlighted section into the record, please?
    22       Q. Okay.                                                 22      A. Sure.
    23           And the reference to PO 259 and 261,                 23          "We are essentially stocked out of
    24   that's a reference to oxy 15 and oxy 30?                     24   oxycodone 15-milligram and 30-milligram. This is
                                                          Page 75                                                            Page 77
     1       A. I can't specifically say that because he               1   largely the result of our previous quota shortage and
     2   talks about the 15-milligram and 30-milligram in the          2   playing catchup. They are working hard to make the
     3   first paragraph, but he doesn't reference them                3   product so it will release next week. When it does, I
     4   specifically in the second. So I would assume, but I          4   will take care of your customers to the best of my
     5   can't completely confirm.                                     5   ability."
     6       Q. Okay. But Sunrise -- Sunrise is -- I                   6      Q. Now, the sentence: "This is largely the
     7   mean, Sunrise is -- your understanding of the e-mail          7   result of our previous quota shortage and playing
     8   is that what he is saying is that Sunrise is out of           8   catchup," what is a quota shortage?
     9   oxy 15 and out of oxy 30 and Mallinckrodt is the sole         9      A. So to be -- to be clear, within -- within
    10   supplier of -- of those products to Sunrise.                 10   the opioid market and specifically if we want to talk
    11       A. Uh-huh.                                               11   about oxy, the DEA granted Mallinckrodt a certain
    12       Q. Is that -- is that fair?                              12   amount of API, active pharmaceutical ingredient quota
    13       A. That is my interpretation of the e-mail.              13   for the year. So we were only able to manufacture as
    14       Q. Okay. And then Masters, if you see on the             14   much as the DEA allowed us to based on the raw
    15   bottom, it says:                                             15   material quote -- quota or amount that they gave to
    16           "Masters Pharma has a PO that is                     16   us. And that's of the oxycodone raw material.
    17   backordered since late October for 7,992 bottles of          17           So we would apply for quota, the DEA would
    18   oxy 30."                                                     18   grant it, and then you would have to reapply
    19       A. Uh-huh.                                               19   throughout the year and wait for them to grant the
    20       Q. "They also have a 31,968-bottle order                 20   quota request to you until you had the approval for
    21   PO 1644 that is on backorder as well."                       21   API quota or procurement quota.
    22       A. Uh-huh.                                               22           And, again, I'm not -- I wasn't in the --
    23       Q. And so this would also be in reference to             23   I wasn't in the conversations. This is, again, from
    24   oxy 15 and oxy 30, is that -- is that correct?               24   my perspective within marketing just seeing what they

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     1   did in terms of working with the DEA. You would              1 50 kilos from the DEA. DEA would -- what -- what
     2   reapply for quota, the DEA would grant it, and then at       2 would -- when you say that DEA wouldn't re -- wouldn't
     3   that point, only then, would you be able to actually         3 grant it in full, so they would grant you, let's say,
     4   manufacture product.                                         4 30 kilos and allow you to reapply for the other 20 or
     5       Q. So I -- I guess is the issue that the                 5 how -- I'm trying to understand how that system works?
     6   demand for oxy 15 and 30 outstripped Mallinckrodt's          6       A. Sure.
     7   quota at some point in time?                                 7          You would really need to talk to someone
     8       MR. TSAI: Object to the form.                            8   who was -- who was in charge of that process because
     9           Go ahead.                                            9   I'm only speaking from memory and this was from eight,
    10   BY THE WITNESS:                                             10   nine years ago.
    11       A. Yeah, I -- I don't think that that's                 11       Q. Well, but what's your -- I mean, what's
    12   necessarily -- No. 1, I can't answer that because I         12   your recollection of sort of in terms of how -- in
    13   don't have the numbers in front of me and, No. 2, I'm       13   terms of how it impacted your job, you're describing a
    14   not the one who was working with the DEA, so I'm not        14   quota shortage --
    15   an expert within that area.                                 15       A. Uh-huh.
    16           What I will tell you from my recollection           16       Q. So what -- what is -- when you said it's a
    17   is that you would apply for what your annual quota          17   quota shortage, what did that mean to you?
    18   was, needs were at the beginning of the year, the           18       A. So I think you need to understand the DEA
    19   beginning -- back in, let's say, end of -- end of the       19   allocates quota to the entire market, so not just
    20   year for the next calendar year and the DEA never           20   Mallinckrodt, but to other -- other generic suppliers
    21   granted it in full. It was always you were -- you           21   within -- within the market. So they -- they've got a
    22   were always in a case of having to reapply throughout       22   set quota they will allocate to manufacturers across
    23   the year. So it's not necessarily a linkage to demand       23   the market.
    24   outstripping what they had approved us for.                 24          Does that make sense?

                                                         Page 79                                                           Page 81
     1   BY MR. KAWAMOTO:                                             1      Q. I believe so.
     2       Q. And so just so I understand it, you would             2      A. Okay. So then you have -- so if they have
     3   at -- the -- the quota is measured in terms of -- of         3   allocated quota, they'll do it -- you provided a
     4   API, is that right?                                          4   forecast to them and this is really the only role I
     5       A. From my understanding.                                5   play, is you provide a forecast to them in terms of
     6       Q. Sure.                                                 6   what you think you are going to sell for that next
     7           And so -- and -- and API, does that mean,            7   year.
     8   is that a rough -- a rough approximation of -- of a --       8           Now, I'm looking at the dates here, 2008,
     9   of a pill, is that sort of the -- the unit of                9   there was significant market disruptions. I believe
    10   measurement or --                                           10   there was at least one, maybe two competitors that had
    11       A. No.                                                  11   recalls within this market during this timeframe.
    12       Q. So what -- what is API measured in?                  12   However, they had already been allocated quota by the
    13       A. API is active pharmaceutical ingredient.             13   DEA at the beginning of the year.
    14   So it's going to be the raw material that is used to        14           So when they recalled product and they
    15   manufacture the finished dose. So typically API is          15   were no longer able to sell it, we were in the
    16   managed in kilos.                                           16   position where we had only asked for a certain amount
    17       Q. Okay. And so you would -- you would                  17   of quota to meet our forecast for that year, the
    18   request, let's say, 50 kilos for your annual quota,         18   forecast changed because these two competitors, direct
    19   hypothetically?                                             19   competitors, I believe it was two, again, went out of
    20       A. I -- I'm -- I would not request, but                 20   the market, and we were in the position of our
    21   someone within our -- within another area would be          21   forecast going up because we were going to take on
    22   working with the DEA to make those requests.                22   that market share or were trying to.
    23       Q. Okay.                                                23           So we had to reapply to the DEA for
    24           So Mallinckrodt requests, let's say,                24   additional quota because we only had enough quota to

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     1 meet the initial -- our baseline demand that we had            1 your customers to the best of my ability," what did
     2 established.                                                   2 you mean by that?
     3       Q. And so that the -- when you say a quota               3      A. We, because we were in a backorder state
     4   shortage, that means -- are you referring to the fact        4   and we had other customers that had backorders as
     5   that Mallinckrodt didn't have the legal -- well,             5   well, we were in a position that when we did have
     6   strike that.                                                 6   inventory we were going to have to allocate. So we
     7           Are you referring to the fact that                   7   were not going to have -- we were going to have more
     8   Mallinckrodt under its quota couldn't manufacture more       8   open orders than we had inventory to ship.
     9   product to meet the back order, is that what this            9      Q. And who -- who de -- so did -- were you in
    10   e-mail is saying?                                           10   charge of -- for -- with respect to the oxycodone
    11       A. So, again, the DEA had, let's think about,           11   product, deciding how to allocate the -- the product
    12   like, a pie, and they've got a certain amount of quota      12   among the different orders?
    13   they are going to allocate to meet the demands of           13      A. From a business perspective, I was the
    14   total, let's say, oxy market.                               14   one, because I was in marketing, I was the product
    15       Q. Uh-huh.                                              15   manager, from a business perspective, I made decisions
    16       A. And at the time let's say Mallinckrodt               16   about who we would want to allocate product to based
    17   when we applied for quota had 30 percent of the             17   on relationships, based on importance of their total
    18   market, and, again, this is hypothetical, and then our      18   book of business, based on, you know, the length of
    19   other two competitors had 70 percent.                       19   backorders.
    20       Q. Uh-huh.                                              20          So from a business perspective, I was
    21       A. We would have applied for enough quota to            21   working with the sales team and with my management to
    22   meet 30 percent market share. When those other two          22   make those decisions. But that was outside of the
    23   competitors -- and, again, I'm just hypothetically          23   scope, so that was one path that was outside of the
    24   speaking -- had recalls and exited the market, that         24   scope of anything to do with the suspicious order

                                                           Page 83                                                         Page 85
     1   left this other portion of the market unfulfilled, the       1   monitoring. So mine would strictly have been from a
     2   developed market. The DEA had already granted them           2   business relationship side.
     3   quota because they were only granting to a finite            3       Q. Okay. And so just so I understand, you
     4   amount to service the market. So we had to go back           4   have -- you've got five different distributors and
     5   and reapply to the DEA to try to get additional quota        5   they each have, let's say, 20 bottles on backorder, so
     6   to try to grow our manufacturing capabilities to meet        6   in -- in a sense they are owed 20 bottles by
     7   the unmet needs that were left because of the recall         7   Mallinckrodt under the -- whatever sales agreement
     8   within the market.                                           8   they have. Mallinckrodt only has 50 bottles, it
     9           So, yes, that would have been -- when we             9   doesn't have a hundred. And you would determine sort
    10   said there was a quota shortage, that's what we would       10   of where those 50 bottles, how those 50 bottles were
    11   have been referring to.                                     11   divided among the five different distributors, is that
    12       Q. And so the issue here is that I guess                12   fair?
    13   Sunrise wholesalers and Masters were coming to you          13       A. I would play a part in that, yes.
    14   because -- or potentially because of this recall and        14       Q. Okay.
    15   they were seeking to increase the product they were --      15           Who would ultimately decide what the
    16   they were getting from you.                                 16   allocation was given that you had, you know, the --
    17           Is that fair?                                       17   the number of backorders exceeded the volume of
    18       A. I think that that's a fair statement.                18   product?
    19   It's tough to say because I don't remember the exact        19       A. It would -- so I would drive it based on
    20   timing, but when it talks about displaced competitors,      20   historic demand. So we would look at what they had
    21   I do believe that that was a result of market               21   historically ordered and then we would ascertain of
    22   shortages, but I don't know 100 percent.                    22   that what percentage we thought should go to certain
    23       Q. Okay. And so when you say: "When it                  23   customers based on their relationship and their book
    24   does, I will take care of you" -- "I will take care of      24   of business. I would provide that information to

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     1   customer service in conjunction with the sales team so      1       A. Uh-huh.
     2   we would arrive at that number and then it would go         2       Q. -- what you are talking about, what that
     3   through, you know, obviously the -- there were the          3   sentence means is -- or strike that.
     4   other steps that were taken in terms of just looking        4           When you say: "When it does, I will take
     5   at the order as a whole and does it -- does it meet         5   care of your customers to the best of my ability," you
     6   the terms of our suspicious order monitoring in terms       6   are referring to the allocation process, meaning that
     7   of releasing it.                                            7   you are going to try to allocate product to his -- to
     8           So there was a couple of different people           8   his two customers, which would be Masters and Sunrise?
     9   who ultimately touched it before it went out the door,      9       A. I said: "I will take care of your
    10   before the okay happened.                                  10   customers to the best of my ability." So I don't ever
    11       Q. And in -- in terms of -- of the                     11   say that I will or won't allocate to them. I am just
    12   allocation, though, you would -- so you would look at      12   addressing the fact that he has put in the request.
    13   the -- the importance of the relationship and the book     13       Q. Okay. So these are his customers. I
    14   of business --                                             14   assume multiple customers have backorders.
    15       A. Uh-huh.                                             15       A. Uh-huh.
    16       Q. -- and based on that you would say, Okay.           16       Q. He is trying to advocate for his customers
    17   I've got 50 bottles to allocate. I'm going to give 20      17   to -- to get them their product. And he is, I guess
    18   to A, 30 to B and C, D and E get nothing.                  18   to some degree, pitching you or asking you to allocate
    19           Did -- does that hypothetical make sense,          19   to them.
    20   just in terms of -- of how the process might work?         20           Is that a -- a fair understanding of this
    21       A. I think that's what I stated to you                 21   e-mail exchange?
    22   already, yes.                                              22       A. Yes, that's fair.
    23       Q. Okay.                                               23       Q. And you -- you recall this occurring in
    24           And then at that point your -- your                24   2008 because of recall issues.

                                                          Page 87                                                      Page 89
     1   decision to give 20 to A and 30 to B, that's subject        1          Do you recall similar shortages in 2009?
     2   to the suspicious order monitoring program?                 2      A. I don't remember.
     3       A. They would be executing that in tandem               3      Q. Do you recall similar shortages for the
     4   with the -- with the process that I had, that I was         4   other products that you managed?
     5   looking at, yes.                                            5      A. We had backorders, but I don't remember
     6       Q. Okay. And presumably let's say the five              6   specifically timeframes or products.
     7   different distributors are -- well, the -- the              7      MR. KAWAMOTO: I believe this is Exhibit 5.
     8   different national account managers have                    8             (WHEREUPON, a certain document was
     9   responsibilities for the five different distributors.       9              marked Mallinckrodt - Neely
    10       A. Uh-huh.                                             10              Deposition Exhibit No. 5, for
    11       Q. I imagine each national account manager             11              identification, as of 01/07/2019.)
    12   is -- is presumably going to want his customer to get      12   BY MR. KAWAMOTO:
    13   some portion of that quota, is that -- isn't that          13      Q. So this is an e-mail that's Bates numbered
    14   fair?                                                      14   MNK-T1 4916278, and it is an e-mail from you,
    15       A. It was the sales team's job to manage the           15   Ms. Neely, to various people, including what appears
    16   relationship with the customer. So they would be --        16   to be many of the national account managers.
    17   they would be advocating for their customers to            17      A. Uh-huh.
    18   receive product if -- if it was the right thing to do,     18      Q. Do you recall drafting this e-mail?
    19   and it was our job internally to see that the big          19      A. I don't recall drafting it, no.
    20   picture and then to -- to make the final -- you know,      20      Q. Okay. But you don't have any -- any doubt
    21   to make the final decisions.                               21   that you sent it?
    22       Q. Okay. And so when you say to Victor:                22      A. I definitely -- I did send it, yeah.
    23   "When it does, I will take care of your customers to       23      Q. Okay.
    24   the best my ability" --                                    24          And then looking on the screen, do you see

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     1 the reference to: "You have done a tremendous job of          1       Q. But when you applied in -- in late 2008 --
     2 meeting historic demand"?                                     2       A. Uh-huh.
     3       A. Yes.                                                 3       Q. -- presumably your quota would have
     4       Q. What -- what -- what did you mean by                 4   reflected your assessment of the recall situation,
     5   "historic demand"?                                          5   wouldn't it?
     6       A. Well, if you continue to read the e-mail,            6       A. I can't speak to that specifically because
     7   it says: "However, in light of the Ethex recall, we         7   I didn't do the application, but one would assume,
     8   have all been challenged with the influx of orders."        8   yes.
     9           So the timing of this is February of 2009           9       Q. Okay.
    10   and if you reference the last e-mail we talked about,      10           So -- so when they say -- when you say:
    11   that was November of 2008, and that was when I had         11   "However, in light of the Ethex recall, we have all
    12   spoken to the fact that there had been a recall within     12   been challenged with the influx of orders we have been
    13   the market.                                                13   receiving and how to best manage them" --
    14           So if you look at the first, you know, the         14       A. Uh-huh.
    15   first paragraph of this e-mail, it says: "In light of      15       Q. -- is this still a quota shortage issue or
    16   the Ethex recall." So when I talk about historic           16   is this a -- now a manufacturing issue?
    17   demand, historic demand would have been our demand,        17       A. So, you would need to speak to someone in
    18   what our baseline demand, which is what I spoke to you     18   manufacturing to truly understand lead times, but if
    19   about in terms of applying for the quota initially         19   you're granted your quota, your manufacturing and your
    20   from the DEA. That would have been our baseline            20   procurement quota at the beginning, so let's say on
    21   demand prior to the Ethex recall.                          21   January 1st of 2009, regardless of if you applied for
    22           And so what I'm highlighting here is that          22   that quota with the understanding of the Ethex recall
    23   we have been able to meet our historic demand, been        23   or not, you still have to convert that raw material
    24   able to service our customers in the manner that we        24   into finished goods. So you are looking at a lead

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     1   historically have been able to. However, we have not        1   time there in terms of manufacturing.
     2   been able to meet the orders that we have been              2           Now, what that lead time is, I don't know,
     3   receiving because they had escalated as a result of         3   but if you are already in a back order situation by
     4   the Ethex recall.                                           4   the end of 2008 and then you get your quota at the
     5       Q. So in terms of the chronology with respect           5   beginning of January of 2009, I mean, we are looking
     6   to the quotas, though, the quotas were -- were set on       6   at February of 2016 [sic], so a month and 15 days
     7   a yearly basis?                                             7   later, you still have to assume that you are coming
     8       A. So, I -- I think what we -- we spoke about           8   into this at a deficit, and not only that but you are
     9   earlier is that you apply for your quota at the             9   having to manufacture with a lead time. So, of
    10   beginning, you get granted your quota at the beginning     10   course, we are still going to be in a situation that
    11   of a calendar year, and then you come and if you have      11   we can't fill all of the orders that have been left.
    12   to reapply for more quota, then you do so throughout       12       Q. And I'm sorry. You said February of 2016.
    13   the year to the DEA.                                       13       A. I said February 6th --
    14       Q. So, this is -- but this is a 2009 e-mail.           14       Q. Oh, okay.
    15   The last e-mail we saw was November of 2008.               15       A. I'm sorry, February 16th of 2009. My
    16       A. Uh-huh.                                             16   apologies.
    17       Q. So in early 2009 Mallinckrodt would have            17       Q. Okay. Got it.
    18   been applying for its DEA quota, you know --               18           In other words, even if you have the
    19       A. We would have --                                    19   expanded quota from DEA, you're still -- you still
    20       Q. -- with knowledge of the recalls, wouldn't          20   need to make the product, is that fair?
    21   it?                                                        21       A. Yes, 100 percent.
    22       A. We would have been granted -- so we would           22       Q. Okay. So can you please read that
    23   have applied at the end of 2008 and been granted our       23   paragraph that I've just highlighted?
    24   quota for 2009.                                            24       A. You want me to read the second paragraph?

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     1      Q. Yes, the second paragraph.                             1 I don't have the numbers in front of me to state
     2      A. Okay.                                                  2 unequivocally that it's -- that it did.
     3            "After maximizing our manufacturing                 3      Q. And do you have any recollection of the
     4   output, we know that we are not in the position to           4   demand for oxy 15 and oxy 30 increasing over the 2008
     5   fulfill the total market demand as a result of Ethex         5   through 2011 time period while you were employed at
     6   exiting. Therefore, we are going to begin managing           6   Mallinckrodt?
     7   our customer demand, or more appropriately, making           7      A. Again, I don't have the numbers in front
     8   them aware of what and when we will be able to ship          8   of me, so I -- I can't tell you directly.
     9   based on our manufacturing output. Allocations per           9      Q. Well, but even without the numbers in
    10   customer will be based on historical demand from the        10   front of you, I mean, do you have a -- a general
    11   months of September to November of 2008."                   11   recollection of what happened to demand for these
    12      Q. Okay. Now, you say "Ethex exiting."                   12   products?
    13      A. Um-hum.                                               13      A. There was a lot of market dynamics and
    14      Q. So the -- I take it their product was                 14   shifts that -- I believe, that happened within the
    15   recalled.                                                   15   oxy IR market. And there was growth, but I don't know
    16            Do you recall -- do you -- do you recall           16   how much and I can't remember exactly when it
    17   them ever reentering the market or were they just --        17   occurred.
    18   were they done?                                             18      Q. But you were employed at Mallinckrodt
    19      A. I -- to my recollection, Ethex did not                19   between 2006 and 2011, is that -- do I have that --
    20   reenter the market.                                         20      A. That's correct.
    21      Q. Okay. So to the degree that                           21      Q. -- that date right?
    22   Mallinckrodt's market share increased because of Ethex      22      A. Um-hum.
    23   exiting, this was a -- a permanent condition?               23      Q. Right.
    24      MR. TSAI: Object to the form.                            24           And you were the product manager for oxy

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     1           Go ahead.                                            1   from 2008 through 2011, is that -- is that fair?
     2   BY THE WITNESS:                                              2       A. I -- yes, yep.
     3       A. Yeah, I -- I don't -- market share within             3       Q. Okay.
     4   the generics industry is never -- you can never say          4           And so during that time period, you know,
     5   it's permanent.                                              5   is your recollection that oxy -- I understand that
     6   BY MR. KAWAMOTO:                                             6   the -- there were market dynamics, but is your
     7       Q. But you didn't have to deal with Ethex as             7   recollection that oxy demand generally increased?
     8   a competitor again after they left?                          8       A. Again, I don't have the numbers and it's
     9        A. Ethex, if they didn't reenter the market,            9   been a long time ago, so I -- I don't -- I can't speak
    10   would have no longer been a competitor on this              10   to that specifically.
    11   product.                                                    11       Q. Are you familiar with the requirements of
    12       Q. And so it -- is it fair to say that the              12   the Controlled Substances Act?
    13   demand in 2009 increased from the de -- strike that.        13       A. Yes.
    14           Is it fair to say that with respect to              14       Q. Okay. And what are those requirements?
    15   Mallinckrodt's oxy 15 and oxy 30 products the demand        15       A. I was made familiar with them whenever I
    16   in 2009 was greater than the demand in 2008?                16   worked for the company during the training time. I
    17       A. I don't have the numbers in front of me,             17   haven't worked with controlled substances since I left
    18   so I -- I can't speak to that.                              18   the company in 2011, so I can't state them to you
    19       Q. Though the -- well, but wouldn't the --              19   directly.
    20   the fact that you are experiencing shortages and            20       Q. Okay.
    21   manufacturing shortages suggest a -- an increase in         21           Was it your understanding that a
    22   demand?                                                     22   manufacturer had a duty to know its customers?
    23       A. One would assume that based on -- on this            23       A. I wasn't in the compliance group, but
    24   e-mail, but I -- again, I -- I would assume that, but       24   based on the training that I received, that would have

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     1   been my understanding.                                      1       A. Again, that would have fallen into
     2      Q. Have you ever heard the term "indirect                2   compliance and that's something I don't feel
     3   customer"?                                                  3   comfortable answering.
     4      A. I have heard the term "indirect customer."            4   BY MR. KAWAMOTO:
     5      Q. And what did that term mean to you?                   5       Q. And when you say it's -- you don't feel
     6      A. So, an indirect customer would be when we             6   comfortable answering, is -- is that because you --
     7   sold to a wholesaler and then the wholesaler sold on        7   you don't know what the answer is?
     8   to a pharmacy and/or -- on to their customer, that --       8       A. It's because I have not worked in
     9   that customer was an indirect customer to the               9   controlled substances for over eight years and I truly
    10   manufacturer.                                              10   don't remember.
    11      Q. And what about the term "downstream                  11       Q. Would you agree that there is an opioid
    12   customer," are you familiar with that term?                12   crisis or opioid epidemic in this country?
    13      A. That one I'm not as familiar with, no.               13       A. I don't know.
    14      Q. Okay. What about "end user," are you                 14       Q. Have you ever heard the term "opioid
    15   familiar with that -- that term?                           15   crisis" or "opioid epidemic"?
    16      A. For us, for a manufacturer, an end                   16       A. I have.
    17   purchaser is going to be the pharmacy that -- that --      17       Q. And in what context did you -- did you
    18   that ends up with the product. So, for instance, if        18   hear -- did you become familiar with that term?
    19   we sold it to CVS, that would be an end purchaser. If      19       A. Most recently I suppose in the news.
    20   we sold it to Cardinal who then sold it to CVS, CVS,       20       Q. Okay.
    21   again, would be the end purchaser. So from a               21           While you were working at Mallinckrodt, do
    22   manufacturer perspective, that was our end purchaser.      22   you ever recall hearing that term, "opioid crisis" or
    23      Q. So is -- is "end user" and "indirect                 23   "opioid epidemic"?
    24   customer," are those interchangeable terms?                24       A. I don't remember.

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     1     A. Direct and indirect customers are                      1      Q. And as you sit here today, you don't have
     2 interchangeable, those two together, with end, end            2   any understanding of whether there is an opioid crisis
     3 customer, yes.                                                3   or opioid epidemic?
     4     Q. Oh, I'm sorry. I'm little confused.                    4      A. I -- I don't -- I -- I -- I don't really
     5        So I understand the direct customer and I              5   know. I mean, you see things in the news. I don't
     6 understand the indirect customer.                             6   really know, though.
     7     A. Uh-huh.                                                7      Q. Do you believe there is a problem with
     8     Q. With respect to the end user, though, the              8   opioid abuse in this country?
     9 end user is interchangeable with the indirect customer        9      A. I can't speak to that. I don't know.
    10 or is -- or the direct customer or both?                     10      Q. Do you know what a pill mill is?
    11    A. So we would sell direct to pharmacy chains             11      A. I have become familiar with what a pill
    12 and then you would have pharmacies that would purchase       12   mill is, yes.
    13 indirectly through wholesalers.                              13      Q. Okay. And what is a pill mill?
    14     Q. Okay.                                                 14      A. From my understanding, a pill mill is
    15     A. So you have direct and you have indirect              15   where patients know, and, again, this is -- they --
    16 purchases. The combination of the two resulted in            16   they know they can go there and doctors are more
    17 sales to an end purchaser.                                   17   freely writing prescriptions for different
    18   Q. Understood.                                             18   medications.
    19      Was it your understanding that a                        19      Q. Is it your understanding that certain
    20 manufacturer had a duty to know its indirect                 20   regions have more pill mills than others?
    21 customers?                                                   21      A. That part I -- I really don't know.
    22     MR. TSAI: Object to the form.                            22      Q. Do you believe Mallinckrodt has an
    23         Go ahead.                                            23   obligation to take reasonable steps to prevent its
    24 BY THE WITNESS:                                              24   product from reaching pill mills?

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     1       A. Again, I'm not -- I wasn't in compliance.             1 compliance group was in charge of the suspicious order
     2   I was in marketing. This has been eight years ago.           2 monitoring and in charge of putting together the
     3   From my perspective, Mallinckrodt had an obligation to       3 programs to monitor our orders and -- and the product
     4   control diversion at the -- the part of the supply           4 being, you know, shipped out. So that really fell
     5   chain that it was able -- that it had the impact on.         5 into Karen Harper's group.
     6   So in terms of the distribution of its product into          6          I would say from a marketing perspective
     7   the -- into the customer base.                               7 and from what visibility that I had, I saw that group
     8       Q. But Mallinckrodt had no obligation to try             8 working diligently and extremely hard to put in place
     9   to combat diversion at the distributor level, did it?        9 or to execute, I should say, on -- on suspicious order
    10       A. I don't know the answer to that.                     10 monitoring programs to ensure that our product was
    11       Q. And is it your understanding that                    11 being shipped, I don't know what the right word for
    12   Mallinckrodt didn't have an obligation to try to            12 this would be, but being shipped in the most
    13   combat diversion at the pharmacy level?                     13 conscientious way possible.
    14       A. Again, I don't know the answer to that.              14      Q. And so do you believe that those programs
    15       Q. So when you said Mallinckrodt has an                 15 were effective?
    16   obligation to fight diversion, what -- what do you          16      A. I can't speak to that because I don't know
    17   mean by that? Is it -- is it only at the                    17 what you mean by effective.
    18   manufacturing level, is it throughout the supply            18      Q. Well, did they stop -- did they stop the
    19   chain, you know, what -- what is Mallinckrodt -- what       19 Mallinckrodt products from being acquired by the pill
    20   is your understanding of Mallinckrodt's anti-diversion      20 mills?
    21   obligation?                                                 21   A. I --
    22       A. Sure.                                                22   MR. TSAI: Object to the form.
    23           I can't speak to the -- the diversion               23      Go ahead.
    24   policy that they have or the -- what they have in           24 BY THE WITNESS:

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     1   place. From my recollection, when we were there, we          1       A. Yeah, I don't think that you can --
     2   had suspicious order monitoring and we had a strong          2   that -- that's too many -- too many what ifs down that
     3   compliance group led by Karen Harper. Those are              3   stream. I -- I can't speak to that. I don't know.
     4   questions, though, that really would need to be              4   BY MR. KAWAMOTO:
     5   answered by her. She -- that -- that was her                 5       Q. Well, were they effective at preventing
     6   wheelhouse and that was her expertise.                       6   Mallinckrodt's products from being provided to
     7      Q. And so with respect to pill mills, though,             7   distributors that did not have adequate diversion
     8   was it your understanding that Mallinckrodt had an           8   control programs?
     9   obligation to prevent pill mills from acquiring its          9       MR. TSAI: Object to the form.
    10   products?                                                   10           Go ahead.
    11      A. I don't have a good answer for you on                 11   BY THE WITNESS:
    12   that, no.                                                   12       A. Yeah, I think that, again, you can't
    13      Q. Okay.                                                 13   answer that question because how do you -- how did we
    14          Looking back on your tenure at                       14   or how do they qualify what a pill mill was. So I --
    15   Mallinckrodt, are there steps you believe Mallinckrodt      15   I don't think that -- there is no way to answer that
    16   should have taken or should have taken sooner to try        16   question. That's impossible to make that linkage.
    17   to prevent diversion from occurring?                        17   BY MR. KAWAMOTO:
    18      A. Can you re -- say that question again?                18       Q. Are you aware that certain of
    19      Q. Sure.                                                 19   Mallinckrodt's customers had their licenses revoked by
    20          Looking back on your tenure at                       20   DEA for diversion-related activities?
    21   Mallinckrodt, are there steps you believe Mallinckrodt      21       A. I am aware of that.
    22   should have taken or should have taken sooner to try        22       Q. Do you believe or do you understand that
    23   to prevent diversion from occurring?                        23   Mallinckrodt had any obligation to try to prevent its
    24      A. Well, I would say, again, that the                    24   products from reaching these customers?

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     1       A. Again, that's a question you would have to           1   relying in terms of making its decision, is that
     2   talk to Karen Harper about. I was in marketing. That        2   correct?
     3   is really outside of my wheelhouse.                         3       MR. TSAI: Object to the form.
     4       Q. So your -- your role was just to provide             4           Go ahead.
     5   information to the compliance department?                   5   BY THE WITNESS:
     6       A. Much of my role was to provide the data to           6       A. I -- I think that that would be a portion
     7   the compliance group, yes.                                  7   of what they relied on, but it was never
     8       Q. And I believe you indicated that you were            8   100 percent -- or you couldn't actually -- you can't
     9   a conduit for data, is that -- is that correct?             9   even say that. It was a -- it was a factor, but it
    10       A. That's what I stated earlier, yes.                  10   wasn't necessarily always the driver in
    11       Q. So in terms of being a conduit, though,             11   decision-making.
    12   you were getting the data from where and you were          12   BY MR. KAWAMOTO:
    13   providing it -- well, where were you getting the data      13       Q. Okay. So -- well, so what were some of
    14   that you were providing to compliance?                     14   the other factors or drivers then that compliance
    15       A. Sure.                                               15   looked at?
    16           So in terms of the data, a lot of times it         16       A. I can't speak to that. I provided
    17   would be the chargeback data, so sales information.        17   compliance with the -- the sales information and
    18       Q. So, is it fair to say that you're                   18   beyond that the other factors that Karen and her team
    19   essentially providing information from the sales           19   factored -- or incorporated into, would you have to
    20   database and the sales team to compliance for them to      20   talk to her about that.
    21   make their decisions?                                      21       Q. But if the information you were providing
    22       A. I think that's a fair statement.                    22   to compliance was inaccurate for whatever reason, that
    23       Q. And so compliance in this -- in this                23   would be a problem, wouldn't it?
    24   regard was dependent upon the data it received from        24       MR. TSAI: Object to the form.

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     1 the sales team?                                               1 BY THE WITNESS:
     2       MR. TSAI: Object to the form.                           2      A. I can't speak to that. Karen would have
     3           Go ahead.                                           3 to talk about that and whether -- how that would hurt
     4   BY THE WITNESS:                                             4 her decision-making.
     5       A. So there was -- I -- I don't think it was            5      MR. KAWAMOTO: Okay. So this is Exhibit, I
     6   necessarily from the -- the sales -- no, that's not an      6   believe, 6.
     7   accurate statement.                                         7             (WHEREUPON, a certain document was
     8   BY MR. KAWAMOTO:                                            8              marked Mallinckrodt - Neely
     9       Q. Okay. Well, so, in terms of being a data             9              Deposition Exhibit No. 6, for
    10   conduit, you were providing information to compliance      10              identification, as of 01/07/2019.)
    11   from what source?                                          11   BY MR. KAWAMOTO:
    12       A. From -- I think we already talked about             12      Q. So, Ms. Neely, I'm handing you an e-mail
    13   this -- from the chargeback data.                          13   and attachment. The e-mail is marked as
    14       Q. And did you ever talk to the sales team             14   MNK-T1 6330418.
    15   about their customers or the nature of their               15      A. Uh-huh.
    16   customers?                                                 16      Q. And the attachment was produced in native
    17       A. I believe that I would have talked to the           17   form, but it's 6330419.
    18   sales team about their customers, yes.                     18      A. Okay.
    19       Q. Okay. And would you have provided that              19      Q. So this e-mail is from Ann -- I'm sorry --
    20   information to compliance?                                 20   Amy Loomis to a number of people, including yourself.
    21       A. I would have relayed the -- the anecdotal           21      A. Uh-huh.
    22   information from the sales team to compliance, yes.        22      Q. Do you recall receiving this e-mail?
    23       Q. And compliance presumably would have                23      A. I don't.
    24   relied on that anecdotal information that you were         24      Q. Okay. The e-mail, the text of the e-mail

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     1   is: "Another long list of orders hitting excess demand      1      A. Yeah.
     2   rules."                                                     2      Q. Well, taking a step back, what was your
     3       A. Uh-huh.                                              3   understanding of the suspicious order monitoring
     4       Q. And then the attachment, I believe, is a             4   program that Mallinckrodt was -- was implementing?
     5   list of the various orders that, you know, hit those        5           Well, strike that.
     6   excess demand rules.                                        6           What was your understanding of the
     7       A. Uh-huh.                                              7   suspicious order monitoring program that -- that
     8       Q. Do you know why you are receiving this               8   existed at Mallinckrodt while you were there from, you
     9   e-mail?                                                     9   know, 2006 to 2011?
    10       A. I don't remember, no.                               10      A. Yeah, and I know -- and I again apologize,
    11       Q. Do you know what is meant by "excess                11   but I really -- at the time I could have -- I was well
    12   demand rules"?                                             12   versed in it and I could have spoke to it, I don't
    13       A. I don't know what the exact definition is           13   remember. It has been seven, eight years. I really
    14   in this context.                                           14   don't remember the specifics of it.
    15       Q. Well, what's your understanding of the              15      Q. Well, do you know if a numeric formula was
    16   general definition?                                        16   used to screen the orders?
    17       A. My understanding of excess demand would be          17      A. In looking at this spreadsheet, it appears
    18   an order that exceeds what their historic average          18   that that's the case, but I, again, don't remember.
    19   order had been, average order history had been.            19      Q. Do you recall being involved in reviewing
    20       Q. Okay. And so in terms of how this list              20   or evaluating suspicious orders?
    21   gets generated --                                          21      A. It appears that I was because I was on
    22       A. Uh-huh.                                             22   this e-mail and there was an attachment here, but I
    23       Q. -- I assume there -- the -- there are               23   don't.
    24   orders coming in to Mallinckrodt --                        24      Q. Well, so, do you -- do you recall anything

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     1       A. Uh-huh.                                              1   about the process for either identifying suspicious
     2       Q. -- and then those orders are screened                2   orders or for reviewing them?
     3   against some type of numeric formula.                       3      A. Again, what I -- I don't remember the
     4           Is that consistent with your                        4   exact process, no. I know that there was some --
     5   understanding?                                              5   there -- there was a program in place and at the time
     6       A. I don't -- this fell into -- I -- Amy                6   I was, again, well versed in it, but, again, it's
     7   Loomis, she was in logistics planning. I -- I don't         7   been -- this is an e-mail from over 11 years ago,
     8   know how she set it up. It appears to be that way           8   12 years ago. I don't -- I don't remember.
     9   looking at the spreadsheet, but I don't know.               9      Q. Well, and I understand that your -- your
    10       Q. Okay. And then what did you do -- what              10   testimony is that you don't remember the exact
    11   did you do with this list after you received it?           11   process. I guess my question is: Do -- do you
    12       A. I -- I truly don't remember receiving this          12   remember anything about that process?
    13   e-mail or this attachment, so I can't tell you what I      13      A. I -- it appears that there were thresh --
    14   did with this.                                             14   according to this spreadsheet that they had thresholds
    15       Q. Okay. Did you have any role in reviewing            15   in place to identify orders that looked larger than
    16   these orders?                                              16   usual, but I can't -- I don't remember how that was
    17       A. Again, I couldn't tell you because I don't          17   done or what was done with this information.
    18   remember getting this spreadsheet.                         18      Q. Okay.
    19       Q. Well, do you recall receiving, you know,            19              (WHEREUPON, a certain document was
    20   spreadsheets similar to this during your time at           20               marked Mallinckrodt - Neely
    21   Mallinckrodt?                                              21               Deposition Exhibit No. 7, for
    22       A. I -- I -- I'm going to be honest with you,          22               identification, as of 01/07/2019.)
    23   I truly don't remember.                                    23   BY MR. KAWAMOTO:
    24       Q. Okay.                                               24      Q. Okay. So, Ms. Neely, this is an e-mail

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     1   Bates numbered 449492 and it is an e-mail chain            1   higher than their average sales across all of their
     2   between you and others.                                    2   territories.
     3      A. Uh-huh.                                              3       Q. Okay. Well, I mean, and significantly
     4      Q. And I'd like to direct your attention to             4   higher, it's -- it's 99 percent versus 1300 percent,
     5   the bottom e-mail that starts on 492 and carries over      5   is that correct?
     6   to 493.                                                    6       A. That's what the e-mail states, yes.
     7      A. Okay.                                                7       Q. Okay.
     8      Q. Okay. And that e-mail, it's an e-mail                8           And then the second bullet point is "KMI,"
     9   from you to Victor Borelli --                              9   which I assume is -- is Keysource, right?
    10      A. Uh-huh.                                             10       A. Yes.
    11      Q. -- and it cc's Michael Gunning and Ginger           11       Q. It says:
    12   Collier.                                                  12           "Keysource sold 8.8 million in net sales
    13      A. Uh-huh.                                             13   for the past 12 months of which 78 percent is
    14      Q. I believe Ginger Collier was your                   14   oxycodone IR. For the past three months that
    15   supervisor, is that correct?                              15   percentage has increased to 100 percent."
    16      A. She was, yes.                                       16       A. Um-hum.
    17      Q. And who was Michael Gunning?                        17       Q. So, does that mean for the past three
    18      A. He was the head of sales and marketing.             18   months all of Keysource's sales have been oxycodone?
    19      Q. Okay. And the Keysource vault program,              19       A. According to this e-mail, yes.
    20   what -- what is that?                                     20       Q. Okay. And then the next bullet point is:
    21      A. So, in order to store controlled                    21           "Of KMI's total oxycodone IR sales, for
    22   substances, specifically Schedule II drugs, you have      22   the past 12 months, 94 percent of them have gone
    23   to have a special vault within your warehouse required    23   through the State of Florida."
    24   by the DEA to store -- store Controlled II -- or          24           So this is -- you know, their -- the

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     1 Schedule II, I should say, and that particular storage       1   primary sales area for them is Florida?
     2 facility was called a vault.                                 2       A. That's correct.
     3      Q. Okay.                                                3       Q. Okay.
     4          And do you see at the top where you say:            4           And the next bullet point is:
     5          "Per our conversation regarding Keysource           5           "Oxycodone IR sales represent, to our
     6   and the proposed vault program, we are not planning to     6   total Mallinckrodt portfolio, 23 percent of total net
     7   proceed for the following reasons:"                        7   sales. Oxycodone IR sales are almost 100 percent to
     8      A. Uh-huh.                                              8   KMI net sales."
     9      Q. And then the first bullet point is:                  9           Do you see that, what I'm underlining?
    10          "Rolling 12 months versus ... rolling              10       A. I do.
    11   12 months sales are 99 percent."                          11       Q. And so that indicates that 100 percent of
    12      A. Okay.                                               12   what Keysource is purchasing from Mallinckrodt is
    13      Q. "Rolling 12 months versus prior rolling             13   oxycodone, is that correct?
    14   12 months sales in Florida are at 1364 percent."          14       A. That's correct, that's what it says in
    15      A. Yes.                                                15   bullet point 2 and bullet point 4.
    16      Q. Do you see that?                                    16       Q. Okay.
    17      A. Um-hum.                                             17           And so, essentially, the reasons that
    18      Q. What does -- what does that mean?                   18   Mallinckrodt is not willing to go through this --
    19      A. So --                                               19   to -- to do the proposed vault program for
    20      Q. Or what -- what is the significance of              20   Keysource --
    21   that data point?                                          21       A. Uh-huh.
    22      A. It is stating that their sales are up               22       Q. -- is that they have a -- a very large
    23   almost 100 percent, but then it is saying that within     23   increase in their Florida sales, they are selling --
    24   the State of Florida, they were up significantly          24   for the past three months, they have sold nothing but

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     1   oxycodone?                                                 1 state."
     2       A. Um-hum.                                             2          Do you see that?
     3       Q. 94 percent of their oxycodone sales are             3      A. I do.
     4   going through Florida, and the only thing Keysource is     4      Q. It's there.
     5   purchasing from Mallinckrodt is oxycodone?                 5          What do you mean by that?
     6       A. That's what this e-mail states.                     6      A. Like I mentioned, by this point we had
     7       Q. Okay. And these were all -- these were              7   questions around sales going into the State of Florida
     8   all factors of concern for Mallinckrodt, weren't they?     8   based on other distributors having their licenses
     9       A. Let me look at the timing.                          9   taken and information that was being communicated by
    10           So this is 2010, July of 2010, by this            10   the DEA. And so we were starting to realize that
    11   point in time, yes, that was concerning.                  11   there was a potential situation -- there was a
    12       Q. Okay.                                              12   potential situation and we were trying to wrap our
    13       A. Or there were definitely, I shouldn't say          13   arms around it at this point. And the last thing that
    14   concerning, questions around their sales, yes.            14   we wanted to do was to further -- further the -- you
    15       Q. Well, there were questions and there were          15   know, these sales there while we are still trying to
    16   concerns, weren't they?                                   16   figure out what was happening.
    17       A. There were definite questions, yes.                17      Q. Well, and how could you drive -- how could
    18       Q. Okay. And then it says:                            18   you drive sales in -- or what actions can Mallinckrodt
    19           "Given the DEA situation in Florida and           19   have taken to drive sales?
    20   the fact that Keysource is so heavily indexed in the      20      A. We -- and that's a good question.
    21   State of Florida, we do not want to do anything that      21          We, Mallinckrodt, can't actually drive
    22   might be perceived as driving oxycodone sales in that     22   sales. So the market is established by -- by the
    23   state."                                                   23   prescriber writing the -- the prescription. So the
    24       A. Um-hum.                                            24   market is established by that and then Mallinckrodt

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     1       Q. What is the DEA situation that's being              1 fills demand from our wholesalers and our
     2   referred to?                                               2 distributors.
     3       A. So by this point in time, my recollect --           3           So in terms of driving sales, we can't
     4   this would have been after certain distributors had        4   actually drive them, but what we were looking at here
     5   been shut down because of their sales into the State       5   is seeing that Keysource was selling a lot of oxy and
     6   of Florida. So it was starting to get more scrutiny,       6   selling a lot of oxy into the State of Florida. And
     7   if I remember correctly.                                   7   essentially were looking to build out their vault
     8       Q. And when you say certain distributors had           8   space so they could accommodate more Schedule II
     9   been shut down because of their sales into the State       9   drugs.
    10   of Florida, do you recall roughly when those              10           And while we were trying to understand
    11   distributors were shut down?                              11   what was happening within the State of Florida, the
    12       A. I don't remember the timing. I know, and           12   last thing that we wanted to do was to give a customer
    13   I just -- I know it -- probably it occurred by this       13   the ability to warehouse more Schedule II drugs
    14   point, because that's why we are talking to it, and       14   without completely understanding what was evolving in
    15   then I left in January of '11, so I -- it -- but I        15   the State of Florida where it seemed like a lot of
    16   don't remember when, no.                                  16   their sales were going.
    17       Q. Okay. But when you left, you understood            17       Q. Well, and there were things that you could
    18   that sales into the State of Florida were a cause of      18   do to encourage the sale of -- of oxycodone, couldn't
    19   concern?                                                  19   you? So, for example, you know, you could offer --
    20       A. I knew that we had questions around it,            20   you could offer to sell oxycodone for less than your
    21   yes.                                                      21   competitors, that would result in presumably more
    22       Q. Okay. And then you state:                          22   purchases from you, wouldn't it?
    23           "We do not want to do anything that might         23       A. That would result in more demand, which we
    24   be perceived as driving oxycodone sales in that           24   talked to earlier in terms of market share. So the

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     1   market would have already have existed, but it would         1       A. It is Sunrise and Masters, yep.
     2   have resulted in more market share for Mallinckrodt          2       Q. But for Sunrise, you were the sole
     3   resulting in sales.                                          3   supplier for Sunrise, is that correct?
     4       Q. And if you were to supply distributors                4       A. According to that e-mail, yes, but we are
     5   that other manufacturers were not willing to supply,         5   talking about Keysource right now.
     6   that could also have the effect of -- of increasing          6       Q. And so if you don't -- if you don't supply
     7   demand, couldn't it?                                         7   Sunrise, they are not selling anything to anyone,
     8       A. I can't speak to that because I don't know            8   isn't that fair?
     9   what other manufacturers' strategies are.                    9       A. Are we talking about Sunrise now?
    10       Q. Well, but regardless, if -- if you have a            10       Q. Yes, we are talking about Sunrise now.
    11   distributor and the only place --                           11       A. Okay. We are jumping back and forth a
    12       A. Or what other manufacturers' strategies              12   bit.
    13   are. Sorry.                                                 13            It says: "We have displaced all
    14       Q. Well, if you have a distributor and the              14   competitors." So whether or not we have displaced
    15   only place they can get Mallinckrodt products from          15   them because they chose not to buy from another
    16   is -- I'm sorry.                                            16   manufacturer or that manufacturer chose not to supply
    17            If you have a distributor and the only             17   to them, it doesn't say that in this e-mail.
    18   place it can get oxycodone from is Mallinckrodt and         18       Q. Well, but re -- regardless of the -- the
    19   you fulfill those orders, you know, you are                 19   reasons that Sunrise, that Mallinckrodt has become the
    20   facilitating those sales, aren't you?                       20   sole supplier to Sunrise, if you continued -- I mean,
    21       A. Again, I can't speak to whether or not               21   if -- if you refused to provide products to Sunrise,
    22   they were able to obtain the product from another           22   then they have nothing to ship and sell, isn't that --
    23   manufacturer. I only know what the -- what                  23   I mean, that's a logical statement, isn't it?
    24   Mallinckrodt was -- was selling out. So whether or          24       A. I -- I don't know because I wasn't running

                                                          Page 123                                                        Page 125
     1   not we were making that -- a sale to someone who was         1   Sunrise's business.
     2   buying it from us because they couldn't get it from          2       Q. Well, but isn't that what Mr. Borelli is
     3   a -- I did not -- we wouldn't have had a purview into        3   saying to you, if -- if we don't ship it, they can't
     4   that.                                                        4   sell anything, do you see that?
     5       Q. Understood, but, for example, we -- we                5       A. Well, they couldn't sell any of our -- of
     6   looked at a -- a prior document relating to Keysource.       6   our product, no.
     7   And Keysource -- well, Mallinckrodt was Keysource's          7       Q. And, in fact, they couldn't sell anything
     8   sole supplier --                                             8   because you were the sole supplier to them?
     9       A. Uh-huh.                                               9       A. I don't know if they could have had
    10       Q. -- for oxycodone.                                    10   options to reach out to other people. I don't know
    11           Do you remember that?                               11   the answer to that.
    12       A. Did we look at that today?                           12       Q. Well, but isn't Mr. Borelli telling you
    13       Q. Yes. I -- I believe it's -- I think it is            13   that you displaced all of the other competitors, so
    14   Exhibit -- I believe it is -- it is Bates No. 563714.       14   they don't have any other sources?
    15   It is an e-mail from Victor Borelli to you. It was          15       A. We did displace the competitors, but it
    16   the one that -- that started with "Help."                   16   doesn't mean that they couldn't reach back out to one
    17       THE WITNESS: Do you have it?                            17   of them, and that's the part that I don't have
    18       MR. TSAI: Yes. Exhibit 4.                               18   visibility into.
    19   BY MR. KAWAMOTO:                                            19       Q. Okay. But assuming that -- that by
    20       Q. And on -- it is on the back page of                  20   displacing the competitors that meant that Sunrise
    21   Exhibit 4.                                                  21   couldn't go and obtain its product from other sources
    22       A. Oh, so it wasn't Keysource. That's why I             22   and you were their sole supplier, you know, if you --
    23   didn't remember.                                            23   I mean, if you cut them off, that meant that, you
    24       Q. Oh, I'm sorry. It is Sunrise, my mistake.            24   know, the -- the -- the supply of -- of oxy

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     1   products -- oxycodone products into the market would         1      A. Yeah. And I think we've talked about this
     2   decrease?                                                    2   already. We don't know if they don't have other
     3       MR. TSAI: Object to the form of the question.            3   options from other manufacturers to procure the
     4           Go ahead.                                            4   product.
     5   BY THE WITNESS:                                              5   BY MR. KAWAMOTO:
     6       A. Yeah. I -- I -- I don't think that that's             6      Q. Okay. Did you have any reason to believe
     7   a true statement.                                            7   that -- that they had options from other
     8   BY MR. KAWAMOTO:                                             8   manufacturers?
     9       Q. Okay. Why is that?                                    9      A. I don't know. I wasn't involved in the
    10       A. So rephrase. Say that again.                         10   business. I don't know what their options were or
    11       Q. You are the sole supplier to Sunrise.                11   weren't.
    12       A. Um-hum.                                              12      MR. TSAI: Is now a good time for another quick
    13       Q. You supply 100 percent of their oxycodone            13   break?
    14   product.                                                    14      MR. KAWAMOTO: Sure, why don't we take five
    15       A. Um-hum.                                              15   minutes.
    16       Q. On the assumption that Sunrise can't go              16      MR. TSAI: I'm just looking ahead. Do you want
    17   and get that oxycodone product from anyone else.            17   to go another session after the break and then break
    18       A. Um-hum.                                              18   for lunch after that?
    19       Q. If you don't supply that product, that               19      MR. KAWAMOTO: Yeah. What time is it?
    20   oxycodone product to Sunrise.                               20      MR. TSAI: It is 11:30 approximately.
    21       A. Um-hum.                                              21      MR. KAWAMOTO: Okay. Sure. Yeah.
    22       Q. They can't sell it into the market?                  22      THE VIDEOGRAPHER: All right. Please remove
    23       MR. TSAI: Object to the form.                           23   your microphones.
    24           Go ahead.                                           24           The time is 11:32 a m. Going off the

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     1   BY THE WITNESS:                                              1 record.
     2      A. But, yeah, and I -- I would say that                   2             (WHEREUPON, a recess was had
     3   that's based -- your -- your statement has so many           3              from 11:32 to 11:44 a.m.)
     4   assumptions and what ifs to get you from Point A to          4       THE VIDEOGRAPHER: Okay. We are back on the
     5   Point B that I think that's an impossible thing to --        5   record. The time is 11:44 a m.
     6   to validate.                                                 6   BY MR. KAWAMOTO:
     7   BY MR. KAWAMOTO:                                             7       Q. Okay. So prior to the break, we were
     8      Q. Okay. Well, could you -- could you read                8   looking at this e-mail, Bates No. 449492, and in
     9   this paragraph then?                                         9   particular your e-mail to Mr. Borelli.
    10      A. Sure.                                                 10       A. Um-hum.
    11           "Sunrise has both PO 259 and 261 on                 11       Q. And I was focused on the phrase: "We do
    12   backorder and they are bone dry on all products listed      12   not want to do anything that might be perceived as
    13   on both PO's. We have displaced all competitors at          13   driving oxycodone sales in that state."
    14   this account and they are relying on our supply to          14       A. Um-hum.
    15   cover their demand. If we don't ship it, they can't         15       Q. And so when you wrote that, what did you
    16   sell anything. As soon as product is released, please       16   mean by "perceived as driving oxycodone sales in that
    17   ship PO's out via overnight delivery."                      17   state"?
    18      Q. And so if you cut Sunrise off, doesn't                18       A. I think what we were talking about before
    19   that mean that they essentially exit the market and         19   the break was we had seen that Keysource was selling a
    20   there is no -- they are -- you are not going to have        20   lot of oxycodone into the State of Florida and we at
    21   oxy coming from Sunrise into the market?                    21   the time were realizing that there was developments
    22      A. I -- I think we've --                                 22   happening within Florida, you know, as a result of
    23      MR. TSAI: Object to the form.                            23   communication via the DEA and as a result of other
    24   BY THE WITNESS:                                             24   distributors having their license taken away because

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     1 of sales into that state. And so we did not want to           1      A. Well, you are assuming that we were taking
     2 help Keysource to be able to expand -- they were              2   steps to increase our market share.
     3 looking for additional -- and, again, what we spoke to        3      Q. Yes.
     4 earlier -- looking to build vault space so they would         4      A. And so I -- I don't know if that's the
     5 have additional space to warehouse additional C-IIs to        5   case, so I couldn't tell you what steps we were or
     6 service what we were seeing with our pharmacies within        6   weren't taking.
     7 the state of Florida. And so we did not want to be in         7      Q. Okay. Well, if Mallinckrodt offered
     8 a position of helping them with that program while we         8   oxy -- its oxy -- strike that.
     9 were still trying to understand what was happening            9          If Mallinckrodt offered its oxycodone
    10 within the State of Florida.                                 10   products for sale for less than its competitors?
    11       Q. And so in -- in terms of driving oxycodone          11      A. Um-hum.
    12   sales in Florida, taking a step back --                    12      Q. Would that have had the impact of
    13       A. Um-hum.                                             13   increasing Mallinckrodt's market share?
    14       Q. -- you know, what were -- prior to 2000 --          14      A. If we offered lower pricing to our
    15   prior to this e-mail in 2010 --                            15   competitors -- to our customer?
    16       A. Um-hum.                                             16      Q. Yes.
    17       Q. -- what were things that Mallinckrodt was           17      A. To offset a competitor and we gained the
    18   doing to driving oxycodone sales in Florida?               18   business, then we would gain market share.
    19       MR. TSAI: Object to the form.                          19      Q. Okay. And if -- if Mallinckrodt were
    20   BY THE WITNESS:                                            20   willing to pro -- to supply distributors that other
    21       A. Yeah, I don't -- I don't think that we              21   manufacturers weren't willing to do so, that would
    22   were ever -- I think you are taking this sentence a        22   also increase Mallinckrodt's market share, is that
    23   bit out of context. I don't think we were ever             23   correct?
    24   driving sales into that state.                             24      MR. TSAI: Object to the form.
                                                         Page 131                                                        Page 133
     1           The market, as we spoke earlier, existed            1           Go ahead.
     2   and we were selling into wholesalers and/or                 2   BY THE WITNESS:
     3   distributors that were then servicing that market. So       3      A. Yeah, and I think -- and I think we talked
     4   I don't -- we -- think we were ever in a position of        4   about that before the break that we don't have
     5   driving sales specifically, you know, focused on to         5   visibility to what other manufacturers were or weren't
     6   the State of Florida.                                       6   doing or who and weren't selling to, so I don't think
     7   BY MR. KAWAMOTO:                                            7   that that's a question I can answer.
     8      Q. Well, but there were things that                      8   BY MR. KAWAMOTO:
     9   Mallinckrodt could do to increase its market share,         9      Q. But in terms of the market share assigned
    10   correct?                                                   10   to Mallinckrodt and ways to increase that market
    11      A. Mallinckrodt, as we spoke earlier in terms           11   share, one way to increase Mallinckrodt's market share
    12   of market share, had the ability to contract with          12   would be to sell to distributors that other
    13   different retail and/or wholesale distributor              13   manufacturers weren't willing to sell to, isn't that
    14   customers across the US, to gather -- or to garner         14   correct?
    15   additional market share.                                   15      A. And, again, I think we've answered this
    16           That being said, those particular, you             16   question two times before. We don't know what other
    17   know, those -- those wholesalers and distributors were     17   manufacturers were or weren't doing, so I cannot tell
    18   typically nationwide, so by contracting with them, we      18   you that we picked up business because that customer
    19   weren't specifically focusing on the State of Florida.     19   was unable to purchase the product from another
    20   We were focusing on them as an account.                    20   manufacturer. I don't have that information.
    21      Q. And so in terms of increasing                        21      Q. But in -- well, I understand that but --
    22   Mallinckrodt's market share, you know, for its oxy --      22      A. I don't know --
    23   oxycodone sales, what were steps that Mallinckrodt was     23      Q. -- as a --
    24   taking to do that?                                         24      A. -- because you've --

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     1      Q. -- as a --                                           1   sure that you get the customer and your competitors
     2      A. -- asked me that three times.                        2   don't, other -- other than price, are there other
     3      Q. As a theoretical matter --                           3   things?
     4      A. Uh-huh.                                              4       A. Price is usually the key driver.
     5      Q. -- if you are willing to supply                      5       Q. Okay.
     6   distributors in the market that other manufacturers        6       MR. KAWAMOTO: So I believe we are up to
     7   are not --                                                 7   Exhibit 8. Okay. Great.
     8      A. Um-hum.                                              8             (WHEREUPON, a certain document was
     9      Q. -- isn't that going to result in an                  9              marked Mallinckrodt - Neely
    10   increased market share for you?                           10              Deposition Exhibit No. 8, for
    11      A. Again --                                            11              identification, as of 01/07/2019.)
    12      MR. TSAI: Object to the form.                          12   BY MR. KAWAMOTO:
    13   BY THE WITNESS:                                           13       Q. Okay. So, Ms. Neely, I've given you an
    14      A. Yeah, I -- I can't answer. I think we are           14   e-mail chain that's Bates numbered 6320438.
    15   talking about real information here and not               15       A. Uh-huh.
    16   theoretical, so I don't think I can answer that           16       Q. And I want to start with the e-mail on the
    17   question.                                                 17   very back, which is 6320439.
    18   BY MR. KAWAMOTO:                                          18       A. Um-hum.
    19      Q. Okay.                                               19       Q. Okay. So this is an e-mail that you sent
    20          So you have no opinion or you have no              20   to Jeremy Stamer.
    21   knowledge about how Mallinckrodt could increase its       21           Who is Jeremy?
    22   market share by supplying distributors that others        22       A. Jeremy worked in our market share -- I --
    23   weren't willing to, you just -- you don't know?           23   I don't know if the name of the department is
    24      A. Again, I don't know if other manufacturers          24   portfolio market share analytics.
                                                       Page 135                                                           Page 137
     1 were unable or unwilling to supply to certain                1       Q. And could you read that first sentence
     2 customers. What I can tell you is that Mallinckrodt          2   that I highlighted?
     3 had the ability to gain market share through                 3       A. Sure.
     4 contracting with different customers. Why those --           4             "In our meeting the other day, you
     5      Q. And how that --                                      5   mentioned that you could estimate what Florida
     6      A. -- why those contracts became available is           6   oxycodone sales should be based on population,
     7   not known to us.                                           7   demographics, et cetera versus where they are actually
     8      Q. Well, so let's -- let's explore that.                8   tracking at."
     9          When you say they have the ability to               9       Q. Okay.
    10   maintain market share through contracting with            10             And what did you mean when you say that
    11   different customers, what do you mean by that?            11   you could estimate what Florida oxycodone sales should
    12      A. So what we talked about in the earlier              12   be based on population, demographics?
    13   discussion in terms of that's how generic companies go    13       A. Yeah, that's a great question.
    14   to market. So you have certain customers that make up     14             So, this was 2010. So at this point we
    15   certain market shares and you choose to partner or you    15   had had enough data points coming in for us to start
    16   offer a price point that incentivize them to want to      16   to see that Florida was representing on -- on
    17   buy your product and at that point you create a           17   oxycodone a higher percentage to the total country
    18   contract and you have a -- you contract with them to      18   than Florida sales on non-oxy-related products and we
    19   sell your product to them.                                19   were trying to understand why. And what I -- because
    20      Q. And so you are competing with other                 20   it -- it seemed -- it seemed high, but at the same
    21   generic manufacturers for these customers, are you        21   time, you know, Florida is where older people go to
    22   not?                                                      22   retire. It's -- you know, so you've got an older
    23      A. Depending on the market, yes, potentially.          23   population that is aging, that could be more pain, and
    24      Q. And so what are things you can do to make           24   so we couldn't understand why the sales were -- were

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     1   high there.                                                1 Mallinckrodt concluded that the demand for Florida was
     2          And so what I had done was I was reaching           2 not justified by demographics, correct?
     3   out to Jeremy to try to understand what -- what -- if      3       A. I -- I can't tell you that because I don't
     4   the demand was warranted or if not what it really          4   remember what the results of this particular analysis.
     5   should be. And -- and if it was population                 5       Q. But Mallinckrodt's actions in the fall
     6   demographics driving it or if not, you know -- it          6   would suggest that it believed that there was
     7   was -- it was helping us to try to get to maybe what a     7   unwarranted demand in Florida, to use your words?
     8   root cause could be here.                                  8       A. I think we did finally arrive at that
     9      Q. And did you -- did you reach any                     9   conclusion, but I can't tell you if it was a result of
    10   conclusions as to what the cause was?                     10   this analysis or not.
    11      A. I, at this point in 2010, July --                   11       Q. But the conclusion was demand was
    12      Q. Well--                                              12   unwarranted?
    13      A. -- I don't --                                       13       A. I'm sorry.
    14      Q. I'm sorry. Go ahead.                                14       Q. The conclusion was demand was unwarranted,
    15      A. -- yeah, I don't -- yeah, no, I don't               15   it may have come from any number of analyses?
    16   remember the outcome of this analysis.                    16       A. Well, the conclusion --
    17      Q. But the -- the analysis, your -- your               17       MR. TSAI: Objection to form.
    18   recollection is that the analysis was completed?          18           Go ahead.
    19      A. I don't remember.                                   19   BY THE WITNESS:
    20      Q. But at a minimum, you know, the question            20       A. Yeah, the conclusion was is that we
    21   was being asked, is that fair?                            21   stopped selling to particular distributors. I -- we
    22      A. It was obv -- obviously being asked, you            22   can't speak to the demand being unwarranted or
    23   know, as read in this e-mail, yes.                        23   warranted because that's so far downstream, but we did
    24      Q. But you don't recall whether any                    24   make the conclusion to stop selling to different

                                                        Page 139                                                        Page 141
     1   conclusion was reached?                                    1   distributors, yes.
     2       A. Well, we did eventually late -- in that             2   BY MR. KAWAMOTO:
     3   fall timeframe stop shipping to different distributors     3      Q. Okay. And why did you do that?
     4   that were heavily indexed into the State of Florida.       4      A. I think we can go back to our concerns
     5   So I don't know what the conclusion of this specific       5   around the situation that DEA was addressing within
     6   analysis was, but I do know what our end result ended      6   the State of Florida. So it was really more, you
     7   up being.                                                  7   know, whether or not it was warranted or unwarranted
     8       Q. And what -- what was that end result? The           8   demand is really in -- within the DEA's purview, not
     9   end result was you stopped shipping to distributors        9   ours. But what we could -- what we could ascertain
    10   that were heavily indexed into Florida. So would --       10   was that there was something happening based on the
    11   well, strike that.                                        11   communications with the DEA and their assessment of
    12           When you say "heavily indexed into the            12   shutting down other distributors and from that we're
    13   State of Florida," what do you mean by that?              13   able to draw inferences that this may not be the place
    14       A. Well, if you want to go back to the e-mail         14   that we want to be operating or these people, these
    15   that we talked about for Keysource where you              15   distributors may not be the people that we would want
    16   referenced the percent to totals, so where we say that    16   to be selling our product into.
    17   oxy IR sales represent to our total portfolio             17           But I can't speak to whether or not a
    18   23 percent and we talk about 100 percent to KMI, so       18   prescription was warranted or unwarranted or if a
    19   that would be where Keysource is over indexed. So         19   demand was real or not -- not real. I don't -- I
    20   looking at what the percent of sales represent and        20   can't speak to that.
    21   then looking at the average, and if it's higher,          21      Q. And so when you say that you were able to
    22   saying it's over indexed, and the same thing could be     22   draw inferences that this may not be the place that we
    23   said for the State of Florida.                            23   want to be operating or these -- or these distributors
    24       Q. And so this would indicate that                    24   may not be the people that we would want to be selling

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     1 our product into, you know, what specific inferences         1       A. Um-hum.
     2 are you talking about?                                       2       Q. So what did you mean in terms of Florida
     3       A. Again, what I just noted. So in terms of            3   normalizing?
     4   the communication from the DEA with regards to the         4       A. Great question.
     5   State of Florida and then the fact that other              5           So we talk about Florida being over
     6   distributors that had been selling into the state,         6   indexed as a percent of total as it relates to the oxy
     7   that coupled together, drove us to feel that there         7   market versus the percentage that Florida on average
     8   was -- there was something happening. Now, whether --      8   represented for other products. And with Florida
     9   what it was I think was what we were trying to             9   being more heavily indexed on oxy and with the
    10   understand here because we weren't sure, but we           10   scrutiny that we were starting to see from the DEA and
    11   ultimately based on a number of different factors made    11   starting to understand that there was an evolving
    12   that -- that decision.                                    12   situation and we weren't quite certain what it
    13       Q. And do you recall when Mallinckrodt first          13   completely was just yet.
    14   started to have questions about Florida?                  14           I was trying to understand from a dollar
    15       A. That part I don't remember.                        15   perspective what that difference would represent in
    16       Q. Do you recall reading news articles about          16   relation to our existing oxycodone dollar sales. This
    17   Florida as -- as it relates to the abuse of -- of         17   was strictly from a business dollar sales projection
    18   opioid products?                                          18   standpoint.
    19       A. I'm -- I do remember reading, yes.                 19       Q. And in -- in terms of the question you are
    20       Q. And do you have any recollection of -- of,         20   trying to answer or I guess the -- the issue you are
    21   you know, roughly when those -- when those articles       21   trying to examine, was it a concern that the overall
    22   appeared?                                                 22   percentage, you know, as you indicated, roughly a
    23       A. That part I don't remember.                        23   quarter, that was going to go down when Florida
    24       Q. And then the e-mail goes on to say:                24   normalized, is that correct?

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     1            "The budget for oxycodone for fiscal year         1       A. It -- it wasn't necessarily a concern. I
     2   2011 is getting scrutinized fairly closely."               2   think we need to be careful about that. It was more
     3       A. Um-hum.                                             3   about setting realistic sales numbers for our fiscal
     4       Q. What did you mean by in terms of the                4   year. And, you know, and if that number dropped
     5   budget being scrutinized?                                  5   because the total market for oxycodone dropped, then I
     6       A. That's a great question.                            6   needed to accurately relay that and -- and be able to
     7            So oxy IR in particular, and if you,              7   support it within our budget.
     8   again, look back to the Keysource e-mail, we are talk      8           So I wouldn't say it was a concern. It
     9   about oxy IR sales represented a total of 23 percent       9   was more about trying to get to the accuracy of what
    10   to our top line sales for Mallinckrodt. So it was         10   was going to happen.
    11   roughly a quarter of our sales at that time.              11       Q. And there was at least in your mind a
    12            And from a business perspective, I was           12   reasonable possibility that the sales numbers were
    13   trying to set budgets for fiscal year '11 and trying      13   going to drop because of activities in Florida, is
    14   to understand what the financials were going to look      14   that fair?
    15   like. And because this was such a big driver but yet      15       A. At this point in time as we were seeing
    16   I felt like there -- and we as a company felt like        16   the activity with the DEA within the State of Florida
    17   there were so many moving pieces within it, I was         17   and understanding that there was an evolving
    18   trying to get a handle on what that number, that sales    18   situation, I obviously felt that there was a potential
    19   forecast number for budget should be.                     19   for reduction in sales as evidenced by this e-mail.
    20       Q. And this -- the following sentence says:           20       Q. And in terms -- when -- when you reference
    21            "Having information that could reflect           21   the activities in Florida or the evolving situation in
    22   what our potential downside will be if the State of       22   Florida, what was the outcome you were contemplating,
    23   Florida normalizes to the rest of the country would be    23   what was going to happen, what -- what exactly was
    24   extremely helpful."                                       24   going to happen in Florida?

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     1      A. We really didn't know. I mean, we were in             1       A. There are people who -- there are -- there
     2   the thick of it. We really didn't know what was             2   is, from my understanding -- again, you would need to
     3   happening.                                                  3   speak to somebody who is more well versed -- is that
     4           So the DEA was communicating information,           4   there are certain non-reporting customers within the
     5   and Karen Harper could definitely speak to that much        5   US that don't report their prescription data into IMS,
     6   more strongly than I could, I was really -- I was in        6   so IMS has to make estimations. So, yes, it's --
     7   marketing, I was on the business side, but we               7   that's my understanding.
     8   definitely felt like something, you know, was -- was        8       Q. Then the very top e-mail on the front
     9   evolving, happening there and we just weren't quite         9   page, so this is on 438.
    10   certain what the overall impact. And so from my            10       A. Um-hum.
    11   perspective as a business manager, trying to               11       Q. Do you see the sentence that reads:
    12   understand from a dollar perspective the impact that       12           "He has been comparing the share by
    13   would have to our existing sales dollars within our        13   strength for the retail channel by food/chain versus
    14   budget.                                                    14   independent to measure part of the at-risk volume" --
    15      Q. Do you recall when you first started                 15       A. Um-hum.
    16   scrutinizing the degree to which a distributor was         16       Q. -- "and comparing the NA" -- "NPA data to
    17   over indexed in Florida?                                   17   the NSP data to measure the rest by company."
    18      A. I -- I don't remember, no.                           18       A. Um-hum.
    19      Q. But you do recall at one point that was              19       Q. What does he mean by "at-risk volume"?
    20   something that Mallinckrodt started analyzing?             20       A. I don't know what he means. You'd have to
    21      A. Well, we obviously did as a result -- I              21   ask Jeremy. I'm not sure.
    22   mean, this e-mail that I sent here about Keysource and     22       MR. KAWAMOTO: Okay. So I believe this is
    23   the percent to total sales for Florida, so yes.            23   Exhibit 9.
    24      Q. Now, Jeremy's response to you is:                    24             (WHEREUPON, a certain document was

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     1           "This will likely take a few days, and the          1              marked Mallinckrodt - Neely
     2   real challenge will be incorporating the volume that        2              Deposition Exhibit No. 9, for
     3   is outside of our tracked channels."                        3              identification, as of 01/07/2019.)
     4       A. Um-hum.                                              4   BY MR. KAWAMOTO:
     5       Q. Do you understand what he meant by "volume           5       Q. So this is an e-mail that you sent to
     6   that is outside of our tracked channels"?                   6   Karen Harper?
     7       A. I do.                                                7       A. Um-hum.
     8           So whenever we are determining market               8       Q. Cc'ing Jeremy?
     9   share and market size, we are utilizing third-party         9       A. Um-hum.
    10   data sources that we purchase, so namely one would be      10       Q. And it is Bates No. 262710.
    11   IMS. So my perception of his e-mail with it saying         11       A. Um-hum.
    12   that's outside of our tracked channels is there is         12       Q. Can you read the highlighted sentence for
    13   prescription level data that is not available via IMS      13   me, please?
    14   and so we would have to ascertain what that amount         14       A. Sure.
    15   would equate to.                                           15           "He has some good insight into the
    16           And, again, you would -- Jeremy would have         16   external data that we will and won't be able to access
    17   to -- he was the expert in terms of market share           17   in order to aid us in our analysis of the diversion
    18   analysis, employing that data. He would be able to         18   situation in Florida."
    19   speak to that much better -- or someone in that group      19       Q. And in terms of the diversion situation in
    20   would be able to speak to that much better than --         20   Florida, doesn't that indicate that at the time you
    21   than I could. What I gave you is a very layman's           21   wrote this e-mail you believed that there was an
    22   version of it.                                             22   increased -- an increased occurrence of diversion in
    23       Q. But is the general issue that IMS might             23   Florida?
    24   not capture all of the prescriptions, is that what --      24       A. I don't know if there was an increase of

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     1   diversion within Florida. I can't speak to that.           1       Q. And that's a good thing why?
     2   That would definitely be something you would need to       2       A. I don't know.
     3   talk to the DEA about. And you would also need to          3       Q. So it's important to note that simply
     4   talk to Karen more on this because she is the one that     4   because it meant you stopped shipping but you don't
     5   had the direct communication with the DEA. But I           5   actually have any idea as to whether that was a -- a
     6   think when I talked earlier, I mentioned the evolving      6   positive thing or a negative thing?
     7   situation, and this would be what we are referencing.      7       A. I -- I can't speak to what the -- the
     8       Q. And the evolving situation relates to               8   repercussions of it were, no.
     9   diversion in Florida and an increased risk of              9       Q. Okay.
    10   diversion in Florida, doesn't it?                         10       MR. KAWAMOTO: So I believe we are up to
    11       A. I can't speak to increased risk in                 11   Exhibit 10.
    12   diversion in Florida, but we did have an understanding    12              (WHEREUPON, a certain document was
    13   that there was a situation evolving in Florida and we     13               marked Mallinckrodt - Neely
    14   were trying to understand what we could do to impact      14               Deposition Exhibit No. 10, for
    15   that.                                                     15               identification, as of 01/07/2019.)
    16       Q. And in your words, that situation was a            16   BY MR. KAWAMOTO:
    17   diversion situation, was it not?                          17       Q. So this is another exhibit. It's an
    18       A. Well, if you read the sentence that you            18   attach -- it's an e-mail and an attachment. The
    19   just had me read: "In order to aid us in our analysis     19   e-mail is Bates numbered 289707 --
    20   of the diversion situation in Florida," that was my       20       A. Uh-huh.
    21   statement, yes.                                           21       Q. -- and the attachment is 289708.
    22       Q. And then do you see the last sentence?             22       A. Okay.
    23       A. I said: "Specifically, if the time comes           23       Q. Okay. So here it is an e-mail between you
    24   when we actually meet with the DEA?"                      24   and Karen Harper.

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     1       Q. Okay. What was the DEA meeting that you             1      A. Um-hum.
     2   are referencing?                                           2      Q. And you're responding to her request for
     3       A. I don't know because I say:                         3   dollar of sales for oxy 15 and oxy 30 to Florida --
     4           "Specifically, if the time comes when we           4      A. Um-hum.
     5   actually meet with the DEA?"                               5      Q. -- per year?
     6           So I don't know what that was referring            6      A. Um-hum.
     7   to.                                                        7      Q. Do you know why Karen was requesting this
     8       Q. Do you know if a meeting with the DEA               8   data from you?
     9   occurred?                                                  9      A. I don't know why she requested this data.
    10       A. I don't remember.                                  10   You'd have to ask Karen.
    11       Q. And so I take it you don't recall ever             11      Q. Do you have any understanding of -- of why
    12   attending any such meeting?                               12   the focus on oxy 15 and oxy 30 as opposed to other
    13       A. I -- I don't recall ever attending a               13   products that were being sent into Florida?
    14   meeting with the DEA, no.                                 14      A. As we spoke about earlier, so this is in
    15       Q. But the end result of all of this analysis         15   September of 2010, so this would have been after the
    16   is that Mallinckrodt stopped shipping its product to      16   e-mail exchange we just referred to with Jeremy Stamer
    17   distributors that were over indexed in Florida,           17   talking about the Florida sales. So it would be my
    18   correct?                                                  18   understanding that we pulled this to understand how
    19       A. That's correct. And I think that's a               19   the Florida sales had been trending within this
    20   really important thing to note, yes.                      20   particular molecule.
    21       Q. And when you say that's a -- a really              21      Q. And why focus on this particular molecule
    22   important thing to note, what -- why do you say that?     22   as opposed to other -- to sales of other -- either
    23       A. Because we'd stopped shipping to people            23   other opioid products or other oxy products to
    24   that were shipping heavily into the State of Florida.     24   Florida?

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     1     A.     Sure.                                                 1      Q.    Sure.
     2     Q.     What -- what's special about oxy 15 and               2      A.    Okay.
     3 oxy 30?                                                          3      Q.    Of course.
     4     A.     So as we've spoken about earlier, we saw              4      A.    Yeah.
     5 that Florida was more heavily indexed on oxy 15 and              5          Okay. I think I'm ready for you.
     6 oxy 30-milligram.                                                6       Q. Great. And so my first question is a
     7     Q.     Did Mallinckrodt ever have questions about            7   general one. What's the analysis that's being
     8 sales of oxy 15 or oxy 30 into other states in                   8   performed or represented in this attachment?
     9 addition to Florida?                                             9       A. Sure.
    10     A.     I don't recall questions around other                10          So in reading through detail oxy IR sales
    11 states.                                                         11   for the three distributors referenced in the letter.
    12     Q.     Do you recall concerns about other states            12   And let me see. I don't know --
    13 being more heavily indexed towards oxycodone products           13       Q. I don't -- I don't believe the letter was
    14 generally along the lines of similar questions for              14   attached to this e-mail.
    15 Florida?                                                        15       A. Yeah.
    16     A.     I don't recall discussing other states.              16       Q. We just have the -- the spreadsheet.
    17     MR. KAWAMOTO: I'm happy to keep going or we can 17                   A. I was just looking at the spreadsheet to
    18 break for lunch. I'm not sure what time it is.                  18   even see if I could ascertain. So I don't know what
    19     MR. TSAI: Sure, it is about 12:15. So how                   19   the distributors are --
    20 about --                                                        20       Q. Uh-huh.
    21     MR. KAWAMOTO: Okay.                                         21       A. -- or what that references, but
    22     MR. TSAI: -- we break and we can typically get              22   basically -- so it says an indirect customer sourcing
    23 down about 40 minutes for lunch, 45 minutes. Do you             23   for more than two distributors.
    24 want to come back at one?                                       24          And could you repeat your question again?
                                                            Page 155                                                      Page 157
     1     MR. KAWAMOTO: Sure. So one, okay, that's fine.               1 I'm so sorry.
     2     THE VIDEOGRAPHER: All right. Standby. Remove                 2      Q. Sure. I'm -- I'm just trying to
     3 your microphones.                                                3 understand, what -- what is -- what is the --
     4           The time is 12:16 p m. Off the record.                 4       A. Sure.
     5             (WHEREUPON, a recess was had                         5       Q. -- analysis that's being performed?
     6           from 12:15 to 1:01 p.m.)                               6       A. Got it.
     7   THE VIDEOGRAPHER: We are back on the record.                   7           We were in a position where we had started
     8 The time is 1:01 p.m.                                            8   to -- so the chargeback data that we had had
     9 BY MR. KAWAMOTO:                                                 9   historically was used for financial reasons. It
    10     Q. Okay. Good afternoon. Okay. So this is                   10   was -- it served as the -- the delta that we talked
    11 marked as Exhibit, I think, 11.                                 11   about between the WAC and the contract price and that
    12             (WHEREUPON, a certain document was                  12   was the mechanism that that financial transaction was,
    13              marked Mallinckrodt - Neely                        13   you know, executed on, and as we moved further into
    14              Deposition Exhibit No. 11, for                     14   analysis of the oxy sales, you know, and as evidenced
    15        identification, as of 01/07/2019.)                       15   by the information we'd share prior to launch, we
    16 BY MR. KAWAMOTO:                                                16   started using -- digging in more to the chargeback
    17     Q. So I've handed you an e-mail and             17               data to understand our -- the end -- the -- and by end
    18 attachment. The e-mail is marked MNK-T1 558193. And 18               purchaser I'll say the pharmacy that's purchasing
    19 the attachment was produced in native and it is                 19   through the distributor and --
    20 MNK-T1 558195.                                                  20       Q. And is that -- is that also known as the
    21           So my first question is: What is the                  21   indirect customer?
    22 analysis that's being performed or represented in this          22       A. It's not because your indirect customer is
    23 attachment?                                                     23   actually -- it can be, yeah, yes, because your
    24     A. Can you give me a second to read?                        24   indirect -- I don't know. We wouldn't have ever

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     1   called it -- it is your end purchaser. So it's the           1       A. Well, in -- in -- and I think we need
     2   customer that's purchasing or the pharmacy that's            2   to -- to take a step back. So we -- we sold to the
     3   purchasing through the wholesaler or through the             3   wholesaler distributor and then they ultimately made
     4   distributor.                                                 4   the decision to sell our product onto the pharmacy,
     5       Q. So your customer's customer?                          5   the pharmacy or -- the end -- the end purchaser. It
     6       A. Yes.                                                  6   was -- they -- they were making that decision.
     7           And so we were in a position, whereas we             7           This was more for us to start to -- and I
     8   had started to identify the heavier indexed sales            8   don't -- again, I don't know what the three were, but
     9   within the State of Florida, we started driving into         9   this was more for us to start to ascertain if there
    10   the actual pharmacies that were purchasing our product      10   was a trend within these particular people that we
    11   and trying to get a gauge on -- the hard part was is        11   were selling to in terms of -- and who they were then
    12   we could only see what a particular pharmacy was            12   selling to.
    13   buying from us, so we didn't have a viewpoint into          13       Q. And taking a step back, if you identified
    14   what their total purchases were, so it was tough for        14   pharmacies that you had questions about, one thing you
    15   us to ascertain if what they were buying from us was        15   could do is ask the distributors that were providing
    16   relatively high or not because we didn't have the           16   to those pharmacies about the pharmacy, is that
    17   total picture, but one way that we thought we could         17   correct?
    18   start to see if there was a -- an issue with the            18       A. That would be a potential option.
    19   pharmacy is if you saw them pulling from -- pulling         19       Q. And do you recall if -- if Mallinckrodt
    20   our product but from multiple sources.                      20   ever did that at one point?
    21           So from buying it from multiple spots               21       A. In terms of providing lists of pharmacies
    22   because -- and so it was just another way to try to         22   to wholesalers or distributors that we had concerns
    23   slice the data that we had visibility to. And that          23   about?
    24   was -- that was it, to see if we could identify any         24       Q. Yes, or -- or asking a distributor about a

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     1   trends within -- within pharmacy purchasing.                 1   specific pharmacy that you had concerns about.
     2       Q. And why -- why focus on -- or what -- what            2      A. Gotcha.
     3   was the significance of a pharmacy getting your              3           I -- I don't remember if we did or did not
     4   product from multiple different sources?                     4   do that.
     5       A. So the -- and the thought was is that                 5      Q. Do you think it would be a good thing to
     6   distributor -- we were allocating to -- to people and        6   do?
     7   the -- and the thought was is they were allocating           7      A. I don't know if it would or wouldn't be.
     8   to -- to pharmacies. So if a pharmacy had higher --          8   Ultimately how a distributor or a wholesaler sets up
     9   and this is our thought, again, but if they had              9   their program and runs it is -- is their business
    10   high -- if they had demand that a certain distributor       10   practice. So I'm not certain that it would or would
    11   or wholesaler wouldn't service them, they are going to      11   not be helpful.
    12   another, they are going to multiple sources to clump        12      Q. And in terms of how they -- how they set
    13   together to meet their demand.                              13   up their program, you're -- you're referring in your
    14           And we just -- we didn't know if it was             14   last answer to their sys -- their SOM program,
    15   going to be -- if it was the sign of a suspicious           15   correct?
    16   behavior within a customer. It was just another way         16      A. Sure.
    17   of us trying to put together the data to identify           17      Q. And how a distributor ran its SOM program
    18   where there -- if -- if there was a trend within the        18   and the effectiveness of that program, though, that
    19   State of Florida in terms of the pharmacies that            19   was a concern for Mallinckrodt, wasn't it?
    20   were -- that were pulling our product.                      20      A. I don't remember.
    21       Q. And pharmacies that were obtaining your              21      Q. Do you believe it should have been a
    22   product from multiple different wholesalers would           22   concern for Mallinckrodt?
    23   be -- I mean, one -- one thing -- or you might want to      23      A. I think that that's a really subjective
    24   subject those to increased scrutiny, is that fair?          24   question.

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     1       MR. KAWAMOTO: This is going to be Exhibit 12.                1 know, other manufacturers. And so it was challenging
     2              (WHEREUPON, a certain document was                    2 for us to say that, you know, a -- a pharmacy was
     3               marked Mallinckrodt - Neely                          3 purchasing too much just based on the limited data
     4               Deposition Exhibit No. 12, for                       4 that we had. And so this was -- this -- this first
     5               identification, as of 01/07/2019.)                   5 exhibit, 5 -- or was it 558193 was one of the ways
     6   BY MR. KAWAMOTO:                                                 6 that we were trying to get to the bottom of how to
     7       Q. So I've handed you another e-mail that's                  7 tackle that question.
     8   Bates numbered MNK-T1 --                                         8          And then this, you can see, was five days
     9       A. Uh-huh.                                                   9 later, me reaching out to Jeremy who we've spoken
    10       Q. -- 448850 --                                             10 about before who was in market research to try to see
    11       A. Uh-huh.                                                  11 if there was a different way to come at the question.
    12       Q. -- and it's a -- it is an e-mail from you                12      Q. But the, you know, one -- one way to do it
    13   to Jeremy again.                                                13 would be to use chargeback data. That was what was --
    14       A. Uh-huh.                                                  14 the last document was based on?
    15       Q. And I wanted to direct your attention to                 15      A. Well, and we did use chargeback data. And
    16   the last sentence in the middle paragraph.                      16 I think that that's what I'm -- I'm referencing to.
    17       A. Uh-huh.                                                  17 So we used chargeback data down to -- down to the
    18       Q. Do you see that?                                         18 pharmacy level and that's what this information was in
    19       A. I do.                                                    19 this exhibit.
    20       Q. And can you read that for me?                            20          But we could only see what they were
    21       A. Yes.                                                     21   buying of our product. And we had no way of
    22           "We're getting pressure to nail down a                  22   ascertaining if that was or wasn't a lot. For all we
    23   systematic way to monitor our end purchaser sales and           23   knew that pharmacy could be close to a pain -- to like
    24   I'd like to get ahead of it."                                   24   a Hospice center. Or we -- we didn't have a -- a

                                                              Page 163                                                       Page 165
     1     Q.    Okay. And in terms of pressure, who was                  1 systematic way in terms of evaluating the data to
     2 the pressure coming from?                                          2 determine relatively speaking what was -- what was too
     3     A.    So, so I think it's important -- so this                 3 much for a particular pharmacy. We could look at the
     4 was in the end of 2010. So we had a suspicious order               4 chargeback data until we were blue in the face, but it
     5 monitoring program in place that pertained to our --               5 only told a portion, a small portion of -- of the
     6 our orders, our shipments to our -- to our customers.              6 story.
     7 By this point in time, the DEA had made statements to              7      Q. And in terms of the chargeback data, do
     8 Karen Harper, and -- and she could definitely talk to              8   you recall when you started looking at the chargeback
     9 you more about this, but in terms of knowing our                   9   data for this purpose?
    10 customer's customer and putting the onus on                       10      A. For this purpose, I -- I don't -- I don't
    11 manufacturers to understand the customer's customer.              11   know when it was -- it was -- sometime in 2010, it
    12          And if you go back to the previous e-mail                12   appears but I don't know when, no.
    13 where I had started to -- or we had started to drive              13      Q. And was it your idea to look at the
    14 into the pharmacy level data and seeing where they had            14   chargeback data for this purpose?
    15 made purchases from multiple wholesalers, that was --             15      A. I don't remember if it was my idea. I
    16 we were trying to figure out how to possibly                      16   worked so closely -- I -- I don't remember if it was
    17 understand how we monitored our customers' customers,             17   my idea or not.
    18 and at this -- at this point that's what this e-mail              18      Q. And who -- who did you work closely with
    19 is about.                                                         19   on this project?
    20          The challenge, again, that I mentioned to                20      A. I worked closely with -- well, I was
    21 you is that we could only -- we only had visibility               21   working closely with Karen because Karen Harper was
    22 into what our customers were purchasing from us. So               22   the -- was actually in charge of -- of the
    23 we had no way of knowing how much they were purchasing            23   communications with the DEA and also in charge of
    24 from other -- other, you know, sources, whether -- you            24   compliance, so I was working closely with her.

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     1           What I don't remember is what drove us                1              identification, as of 01/07/2019.)
     2   to -- because, I mean, to get to this level of -- of          2   BY MR. KAWAMOTO:
     3   the chargeback data, you really had to dig into --            3       Q. So, Ms. Neely, I'm handing you a document
     4   into the reports, and I don't remember who or when we         4   that's Bates numbered MNK-T1 270081.
     5   had the idea to -- to do that.                                5       A. Okay.
     6       Q. And how long had you been collecting                   6       Q. And it's title is "Talking Points for DEA
     7   chargeback data for?                                          7   Albany and DEA St. Louis." And it is dated
     8       A. I -- we had -- I mean, we've always had                8   November 1st, 2010.
     9   collected, we always had collected chargeback data. I         9           Do you recall that one of our prior
    10   mean, that was something that we had always gotten           10   exhibits referenced a possible meeting with DEA?
    11   because that was a mechanism of our sales to the             11       A. Yes.
    12   wholesaler in terms of when we sold product to them.         12       Q. Do you know if -- if this -- if this was
    13           So across the board, not just for oxy, but           13   the meeting that was being referenced?
    14   for any product that we sold into a customer that            14       A. Do you -- can you give me an opportunity
    15   purchased at WAC, we collected chargeback data. How          15   to read through this, please?
    16   we used the data and the level that we started               16       Q. Sure.
    17   drilling into it is what changed.                            17       A. Thank you.
    18           So it was originally chargeback was just a           18           Okay.
    19   financial mechanism to -- to net the wholesaler down         19       MR. TSAI: Dean, can I just note for the record
    20   to their contract price. As we moved into, you know,         20   I noticed that the previous Exhibit 11 has a number of
    21   as we moved into 2010, the end of -- and, again, I           21   instances where Mallinckrodt's in-house counsel Donald
    22   don't know when exactly, I think that was when we            22   Lohman as well as Pat Duft are on the e-mail. So I
    23   started to realize the information that we could             23   just wanted to reserve -- preserve our rights. We are
    24   gather from the chargebacks to help us understand more       24   going to look into whether that is subject to

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     1 of our business, but when that happened and who drove           1 clawback.
     2 it, I can't remember.                                           2      MR. KAWAMOTO: Okay.
     3       Q. And the -- the information that you were               3      MR. TSAI: But I just wanted to note that for
     4   drilling down on --                                           4   the record.
     5       A. Uh-huh.                                                5      MR. KAWAMOTO: Okay.
     6       Q. -- I mean, that was information that                   6   BY MR. KAWAMOTO:
     7   Mallinckrodt had in its possession by virtue of the           7      Q. And so, have -- Ms. Neely, have you had a
     8   chargeback system, right? It was -- it wasn't                 8   chance to review this document?
     9   something that they went out and gathered specifically        9      A. I have.
    10   for this task, it's data that they were already              10      Q. And I believe a prior document referenced
    11   collecting just because of how the chargeback system         11   a possible meeting with DEA roughly in this timeframe?
    12   worked?                                                      12      A. Sure.
    13       A. It was -- I'm -- I wasn't in the                      13      Q. Do you recall that?
    14   chargeback system group, so I never administered             14      A. The previous document that we reviewed,
    15   chargebacks, so -- but from my understanding this was        15   yes, I do remember the e-mail, yes.
    16   information that was submitted via the chargeback.           16      Q. Okay. And so do you -- do you know if
    17       Q. Okay. For the -- and it was submitted by              17   this was that meeting?
    18   the distributors because they needed their -- they           18      A. I -- you would assume so based on the
    19   wanted their chargeback reimbursement?                       19   timing of that e-mail versus the date at the top of
    20       A. Well, they wanted to be netted down to                20   this document. I don't know for 100 percent certain.
    21   their contract price, yes.                                   21      Q. And does this refresh your recollection as
    22              (WHEREUPON, a certain document was                22   to whether you were present or involved in -- in this
    23               marked Mallinckrodt - Neely                      23   meeting?
    24               Deposition Exhibit No. 13, for                   24      A. I don't think that I was involved in this

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     1   meeting.                                                     1 a reason that drove the decision in 2010 to stop
     2      Q. Okay. But it is -- it is discussing the                2 shipping them. So I do think that had I been with the
     3   chargeback system which is something that you were           3 company in 2011 that this would have been something
     4   closely involved with along with Karen Harper, is that       4 that would have required further discussion about --
     5   correct?                                                     5 about resuming shipment to these three particular
     6      A. In terms of the data, yes.                             6 customers.
     7      Q. And then it says:                                      7 BY MR. KAWAMOTO:
     8           "Direct customer data," it says "Cedardale           8      Q. Then for the indirect customer data, and I
     9   Distributors, Master Pharmacies and Keysource, Inc.          9 take it what we are talking about here is -- or in
    10   will not be receiving any oxycodone 30-milligrams."         10 this context, this is the end purchasers, is that
    11           Oh, I'm sorry. Let me put this up. It is            11 accurate?
    12   easier to follow.                                           12       A. They reference the pharmacies, so, yes.
    13      A. Um-hum. I gotcha.                                     13       Q. Okay. It says: "Mallinckrodt has no
    14      Q. "For the remainder of the calendar year."             14   knowledge of these pharmacies or their business model.
    15      A. Um-hum.                                               15   Mallinckrodt is developing algorithms to be used in
    16      Q. Do you know why those three distributors              16   evaluating dosage units purchased upon zip code and
    17   were identified in this doc -- or -- or why the -- why      17   other information."
    18   the meeting focused on those three distributors?            18       A. Um-hum.
    19      A. I don't -- so those were the three                    19       Q. And so these were algorithms that would be
    20   distributors that we chose not to sell the                  20   used on pharmacies, correct?
    21   30-milligram to anymore because of the -- the               21       A. That's correct.
    22   disproportionate amount of sales going through the          22       Q. And were you involved in the development
    23   State of Florida on that particular product. I              23   of those algorithms?
    24   can't -- I did not create this document, so I can't         24       A. So when you and I spoke about the previous

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     1 tell you exactly why they were noted on here. My               1 two exhibits, so talking about running the chargeback
     2 assumption coming from my position would have been for         2 level data down to whether or not a pharmacy was
     3 that reason.                                                   3 buying from more than one wholesaler, also looking at
     4      Q. Okay. And so -- and the decision was made              4 the zip code information that -- in the e-mail to
     5 that you did -- to completely cut off sales to these           5 Jeremy Stamer, so I was involved in the initial
     6 three entities, is that -- is that correct?                    6 discussions of how to develop that algorithm. This
     7    A. According to this document, yes.                         7 was the -- and -- and this paragraph in particular is
     8    Q. Though it does say "remainder of the                     8 what I was referencing to you in our previous -- our
     9 calendar year."                                                9 previous conversation was about how to do this,
    10         Do you -- do you recall what happened, I              10 because we were -- it was challenging. We were trying
    11 guess, in 2011?                                               11 to figure out how to wrap our arms around it. It had
    12      A. I don't because I left the company in                 12 not been established by the time I left the company,
    13 January of 2011.                                              13 but they were definitely working on it and trying to
    14      Q. Okay. Given these concerns, would you be              14 figure out how to do it.
    15 surprised if they resumed sales to these entities in          15            (WHEREUPON, a certain document was
    16 2011?                                                         16             marked Mallinckrodt - Neely
    17    A. That would be pure speculation on my part.              17             Deposition Exhibit No. 14, for
    18 I don't think that's going to help you.                       18             identification, as of 01/07/2019.)
    19    Q. Well, given your knowledge of these issues              19   BY MR. KAWAMOTO:
    20 and your involvement in this process, would you have          20       Q. Okay. So, Ms. Neely, I've handed you an
    21 recommended resuming sales to these entities in 2011?         21   e-mail marked MNK-T1 559192. And it also has two
    22   MR. TSAI: Object to the form.                               22   attachments which I have also provided to you. One of
    23 BY THE WITNESS:                                               23   them is Bates numbered 559194.
    24   A. There was obviously a decision, there was                24       A. Uh-huh.

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     1       Q. And I believe the -- the third one which              1   point to me?
     2   is an Excel spreadsheet is Bates numbered                    2      A. Sure.
     3   MNK-T1 559195.                                               3           "C-II ratio to normal non-scheduled
     4       A. Okay.                                                 4   product orders."
     5       Q. Okay. So could you please review the                  5      Q. Okay. And what is -- what did you mean by
     6   e-mail.                                                      6   that?
     7       A. Okay.                                                 7      A. I -- I didn't -- I -- that was not me that
     8       Q. Okay. And do you recall writing this                  8   wrote that, so that was verbatim it looks like from
     9   e-mail? It is an e-mail from you to Mr. Borelli.             9   H.D. Smith.
    10       A. I don't recall writing it, but I have no             10      Q. Okay. Well, did you understand what that
    11   doubt that I did.                                           11   meant?
    12       Q. Okay. And why did you write this e-mail              12      A. In terms of C-II ratio to normal
    13   to Mr. Borelli?                                             13   non-scheduled product orders?
    14       A. So H.D. Smith was one of our wholesalers             14      Q. Yes.
    15   and they, had according to this e-mail, shut down           15      A. They were saying as a percent to total in
    16   several pharmacies or stopped selling to several            16   terms of product orders for all products, seeing a
    17   pharmacies and we had obtained that list and then I         17   higher ratio of C-II products.
    18   was able to run sales based on that, and if you look        18      Q. Okay. And would you agree that that is --
    19   at the chart behind it, you can see the direct              19   that is information to consider in evaluating a
    20   correlation of the drop in H.D. Smith sales and the         20   pharmacy?
    21   increase to Keysource. So it showed that Keysource          21      A. According to H.D. Smith, they felt like it
    22   was picking up the business that H.D. Smith had walked      22   was information to consider.
    23   away from.                                                  23      Q. And would you -- would you agree with
    24       Q. And was this of concern to you?                      24   H.D. Smith in that regard?

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     1       A. I don't know if concern is the right word,            1       A. I -- that was H.D. Smith's business
     2   but if you read my e-mail, it says we are not -- it          2   practice. H.D. Smith also had the benefit of selling
     3   says:                                                        3   the entire gamut of generic drugs, so outside of
     4           "Attached is a list of the customers that            4   Schedule IIs, Schedule III scheduled drugs, so they
     5   they either shut down or severely restricted. We are         5   had the benefit of having a really broad portfolio
     6   not suggesting that Keysource adhere to H.D. Smith           6   that they were selling, so it was easier for them to
     7   methods, but thought it might be helpful to have a           7   identify a high ratio or what seemed to be a high
     8   list of accounts that a similar account has deemed           8   ratio of Schedule II drugs to aggregate because they
     9   suspicious."                                                 9   had such a broad portfolio that they were selling. So
    10           It was more of a callout to Keysource in            10   in that sense it made sense that that would be the way
    11   terms of saying, Hey, H.D. Smith has deemed these not       11   they would evaluate their orders to pharmacies.
    12   acceptable -- or not customers they want to sell to         12       Q. Though if a distributor was only -- if a
    13   and, Keysource, you are starting to sell to them. It        13   pharmacy was only ordering, for example, oxy 30 from a
    14   was more of a trying to help them because they              14   distributor --
    15   wouldn't have had visibility into H.D. Smith stopping       15       A. Um-hum.
    16   shipment to these particular customers.                     16       Q. -- wasn't that an issue to look at?
    17       Q. And do you see at the bottom of the page,            17       A. So I --
    18   you say:                                                    18       MR. TSAI: Object to the form.
    19           "Steve asked H.D. Smith how they identify           19           Go ahead.
    20   these accounts and H.D. Smith noted the following" --       20   BY THE WITNESS:
    21       A. Uh-huh.                                              21       A. Yeah, and I -- yeah, no, that's fine, and
    22       Q. -- and then you have five bullet points.             22   I think that the C-II ratio to non -- normal
    23       A. Yes.                                                 23   non-scheduled orders, that's exactly what you just
    24       Q. Can you -- can you read that first bullet            24   said, right?

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     1   BY MR. KAWAMOTO:                                             1 distributor?
     2       Q. Yes, so that -- well, I guess I had a put             2      A. Well, we did look at that. So I think the
     3   it in another way.                                           3 answer -- you have the answer to that question, which
     4           If the C-II ratio to normal non-scheduled            4 is, yes, we thought that was a reasonable item to
     5   orders was essentially, you know, 100 percent on the         5 evaluate.
     6   CT-II side --                                                6      Q. Okay. And so, with respect to this first
     7       A. Uh-huh.                                               7 bullet point, which is the C-II ratio to normal
     8       Q. -- that would be something to look at?                8 non-scheduled product orders, you would agree that's
     9       A. I mean, I can't speak to that. It is                  9 something to look at?
    10   challenging. What if a pharmacy was right next to a         10      A. Well, this is, again, H.D. Smith and the
    11   Hospice center and they -- they serviced only, you          11 way they do business, so I can't speak to how they do
    12   know, the pain patients, I mean, it's -- it's tough to      12 business. Within our book of business, that was
    13   say that that would be a red flag. H.D. Smith               13 something that we evaluated.
    14   identified it as one. I -- I -- I can't say or not          14      Q. Okay. And so let's look at the second
    15   say if that -- if that would be.                            15 bullet point.
    16       Q. Though you -- do you recall the -- the               16          "If the pharmacy was closed door servicing
    17   Keysource e-mail?                                           17 just physicians."
    18       A. Are we talking about this e-mail in                  18           What does that mean to you?
    19   particular?                                                 19       A. That part I don't know. I don't know.
    20       Q. No. Let me -- let me try to --                       20       Q. Okay. What about the third bullet point:
    21       A. Oh, you are talking about my e-mail that             21   "Large pharmacies with excess orders."
    22   bulleted out the 94 percent to total sales --               22           What is -- what is your interpretation
    23       Q. Yes.                                                 23   of -- or what did -- what did you mean when you copied
    24       A. -- and 100 percent for the past three                24   that into your e-mail?

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     1   months.                                                      1       A. I think it's really challenging for you to
     2       Q. That e-mail.                                          2   have me interpret these words when they are not my
     3       A. Yes.                                                  3   words, when I did just literally copy and paste them
     4       Q. I mean, one of the bases for cutting off              4   into an e-mail.
     5   Keysource was that they were supplying a pharmacy            5            So if you could just ask me what does that
     6   with -- they were -- they were -- while a pharmacy was       6   mean when you copied that in, it means I took somebody
     7   getting 100 percent oxy from --                              7   else's words and I cut and paste them into an e-mail,
     8       A. Uh-huh.                                               8   so it is really challenging for me to sit here and
     9       Q. -- that was their only order, right?                  9   tell you what the person meant by that. It would be
    10       A. Um-hum.                                              10   my interpretation.
    11       Q. So, isn't -- isn't that of concern?                  11       Q. Okay. So when I previously asked you if
    12       A. So are we talking about our business                 12   you recalled writing this e-mail, you indicated that
    13   practices or are we talking about H.D. Smith's              13   you don't recall writing it, correct?
    14   business practices?                                         14            Do you -- do you remember that?
    15       Q. Well, we are -- we are talking -- I don't            15       A. I said I did not recall writing this
    16   think we are talking about any particular business          16   e-mail.
    17   practice. I think we are talking as a general matter        17       Q. Okay. So then how do you know that you
    18   and for purposes of -- of developing potential screens      18   just cut and pasted these?
    19   to identify, you know, pharmacies that could be             19       A. I said --
    20   problematic --                                              20       MR. TSAI: Object to the form.
    21       A. Um-hum.                                              21   BY THE WITNESS:
    22       Q. -- isn't it -- isn't one of the things               22       A. Yeah, and I said H.D. Smith noted the
    23   that it is reasonable to look at whether the pharmacy       23   following. So it was me dropping in what H.D. Smith
    24   is only purchasing, you know, oxycodone from a              24   said.

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     1   BY MR. KAWAMOTO:                                           1   else are you going to understand your customer's
     2      Q. And you dropped it in without any                    2   customer?
     3   understanding of -- of what it meant?                      3       MR. TSAI: Object to the form.
     4      A. I was relaying what H.D. Smith had noted             4   BY THE WITNESS:
     5   within their -- within their order monitoring program.     5       A. Yeah, I don't think that that's how the --
     6      Q. But you intended Mr. Borelli to pass this            6   how a distribution or a how a distributor evaluates
     7   information on to Keysource, did you not?                  7   their customer. That's how they operate their
     8      A. Keysource. I did.                                    8   business.
     9      Q. So doesn't that suggest that you believed            9           In terms of knowing our customer's
    10   the information was reliable or at least should be        10   customer, I did work with the data and I did provide
    11   considered by them?                                       11   that to Karen and to that team, but from my
    12      A. I don't think necessarily, no. I just               12   perspective in terms of these different qualifying
    13   said this is what H.D. Smith used to identify these       13   factors, this was not something that was in my
    14   accounts and they noted the following. I was              14   wheelhouse, no.
    15   providing or relaying information.                        15   BY MR. KAWAMOTO:
    16      Q. And so you had no opinion as to whether             16       Q. Well, was it at -- was it -- was there
    17   any of these factors made any sense to look at?           17   another Mallinckrodt employee that this would have
    18      A. I don't know because I've never worked for          18   been in their wheelhouse?
    19   a distributor before. I don't know how they do their      19       A. I can't speak to that. I don't know.
    20   business model. So I don't know.                          20       Q. So rereading your testimony, you say how
    21           So the second bullet point, if the                21   a -- how a distribution or how a distributor evaluates
    22   pharmacy was closed door just servicing physicians, I     22   their customer, that's how they operate their
    23   don't understand what that means. But if I worked for     23   business, and wasn't DEA essentially telling
    24   a distributor and I operated in the sales environment,    24   Mallinckrodt that this was also now part of

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     1   I might. So I made the assumption that H.D. Smith          1 Mallinckrodt's concern --
     2   understood that and by relaying it to Keysource they       2      MR. TSAI: Object to the form.
     3   would understand it too, but did I understand it, no.      3 BY MR. KAWAMOTO:
     4      Q. Well, but one of the things that you were            4       Q. -- Mallinckrodt's business as well?
     5   starting to do was look at pharmacies, you were            5       A. I can't speak to that. You would have to
     6   starting to look at the customers of your customer,        6   talk to Karen Harper. She had the direct
     7   correct?                                                   7   conversations with the DEA.
     8      A. We were doing that, yes.                             8       Q. Well, but Karen Harper told you, did she
     9      Q. Yes. Mallinckrodt was doing that and --              9   not, that the DEA expected Mallinckrodt to know its
    10   and you were heavily involved in that process?            10   customer's customer?
    11      A. I was involved in the collection of the             11       A. She did relay to me, yes.
    12   data, yeah.                                               12       Q. And so what did you understand that to
    13      Q. So as part of that process, weren't you             13   mean in terms of Mallinckrodt's obligations with
    14   required to gain some famil -- some familiarity as to     14   respect to its knowledge of pharmacies?
    15   what a distributor would look at with respect to a        15       A. I think that that was where we were at the
    16   pharmacy?                                                 16   beginning of whenever I left the company. So we were
    17      A. No.                                                 17   in the process of trying to understand that and -- and
    18      Q. Well, then, how -- if DEA's -- if DEA's             18   identify methodologies to understand our customer's
    19   suggestion to Mallinckrodt is you need to better          19   customer, and I think that, you know, in the documents
    20   understand your customer's customer --                    20   that you and I just reviewed within the previous
    21      A. Um-hum.                                             21   attachments, I think that that shows our first steps.
    22      Q. -- then doesn't that in part require you            22   Now, in terms of this information, I -- I don't know
    23   to have some knowledge of what a distributor looks at     23   if or how this information was used in addition to the
    24   with respect to evaluating its customer? I mean, how      24   data that I was pulling. I don't know that.

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     1       Q. Okay. But the -- the first bullet point,              1      Q. Yeah, I -- I'll represent to you that
     2   the C-II ratio to normal non-scheduled product orders,       2   that -- this is that list.
     3   that is information that would be helpful to                 3      A. Okay.
     4   understanding your customer's customer, would you            4      Q. And this is a list that you wanted
     5   agree with that?                                             5   forwarded to Keysource for their consideration?
     6       A. Yeah, because you -- absolutely, and I                6      A. That's what I said in my e-mail.
     7   think we reference that in the document when we talked       7      Q. Would you be concerned if Keysource
     8   about Keysource. So that was one item that we were           8   continued to do business with these pharmacies?
     9   already starting to evaluate, but I think you were           9      A. I can't say if I would be concerned or not
    10   talking more about the second bullet point, which I         10   concerned. H.D. Smith had made the decision based on
    11   don't have this much information on.                        11   their criteria to not sell to them. Whether or not
    12       Q. Okay. Well, let's look at the third                  12   H.D. Smith's business practices were overly
    13   bullet point then: "Large pharmacies with excess            13   conservative or, you know, Keysource should have
    14   orders."                                                    14   adhered to them, I can't speak to that.
    15       A. Yep.                                                 15      Q. Well, and to be clear, these are -- these
    16       Q. Is that something that would be useful in            16   are pharmacies that H.D. Smith had made the decision
    17   terms of knowing your customer's customer?                  17   not to sell to based on the grounds that they were
    18       A. I don't know what large pharmacies with              18   suspicious, correct?
    19   excess orders means.                                        19      A. They were suspicious --
    20       Q. What about the fourth bullet point, which            20      MR. TSAI: Object to the form.
    21   is "no physician sales"?                                    21           Go ahead.
    22       A. So, and I don't understand what that means           22   BY THE WITNESS:
    23   either, because if you look at that in conjunction          23      A. Yeah, and they were suspicious according
    24   with bullet point number 2, they almost essentially         24   to H.D. Smith.

                                                          Page 187                                                       Page 189
     1   contradict each other, so that part I don't                  1   BY MR. KAWAMOTO:
     2   understand.                                                  2      Q. Yes. And so --
     3           Again, this was from a distributor and it            3      A. Which doesn't necessarily mean they were
     4   was talking about the way they do business. I                4   universally suspicious. They were suspicious to
     5   don't -- at this time did not understand and still           5   H.D. Smith.
     6   don't understand how distributors go to market. So           6      Q. Well, but why would -- why would a
     7   for me this information did not necessarily make sense       7   pharmacy on this list be suspicious to H.D. Smith but
     8   in terms of the business that we were operating, but         8   not suspicious to anyone else?
     9   my thought was is this would be good information to          9      MR. TSAI: Object to the form.
    10   relay to Keysource since we had seen the uptick in          10   BY THE WITNESS:
    11   demand from them.                                           11      A. Yeah, I don't know because I didn't work
    12       Q. And so looking at one of the attachments,            12   at H.D. Smith, so I don't know.
    13   I think this is -- this is going to be -- and my            13   BY MR. KAWAMOTO:
    14   apologies, that's not Bates numbered, 559195.               14      Q. So if it turned -- well, let's look at the
    15           So this is a list of pharmacies that                15   other attachment, which I believe is a graph. It's
    16   Key -- that, I'm sorry -- pharmacies that H.D. Smith        16   modeled -- or it's Bates numbered 559194.
    17   either cut off or severely restricted.                      17          Do you -- you see that?
    18           Is that -- are we on the same page?                 18      A. I do.
    19       A. It doesn't have an exhibit number listed             19      Q. And so the squares are Keysource Medical
    20   on it, but I think we must be.                              20   and the -- the dots are H.D. Smith wholesale?
    21           So I said: "Attached is a list of                   21      A. That's correct.
    22   customers that they have either shut down or severely       22      Q. So what is -- what is this graph showing?
    23   restricted," so I would have to make the assumption         23      A. So this graph is in -- and I think the
    24   that this is the attachment.                                24   e-mail is evidence, you know, backing this up. It

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     1   says:                                                     1   really see where your line of questioning is trying
     2           "Per our conversation please find attached        2   to -- to take me.
     3   the graph showing the transition of oxy sales from        3   BY MR. KAWAMOTO:
     4   H.D. Smith to Keysource as of the last several            4       Q. Well, I guess my -- my line of questioning
     5   months."                                                  5   is I'm just trying to understand whether Mallinckrodt
     6           And so it was -- it was showing the               6   was concerned that Keysource was continuing to do
     7   transition from -- of these pharmacies from H.D. Smith    7   business with -- with customers that H.D. Smith cut
     8   to Keysource and that was graphically depicting that.     8   off --
     9       Q. Okay. And so the fact that -- that                 9       A. Well, the fact that --
    10   Keysource was doing business with a large number of      10       Q. -- that's all I'm asking.
    11   pharmacies that H.D. Smith concluded were suspicious     11       A. Yeah, and I think that's a great question.
    12   wasn't a concern for Mallinckrodt?                       12           The fact that we stopped selling to
    13       A. Again, I didn't work for H.D. Smith and so        13   Keysource within the next two months after this
    14   I can't speak to how or why, what their business         14   e-mail, doesn't that essentially answer the question
    15   practices were.                                          15   that you are asking me?
    16       Q. So the answer, then, is no, Mallinckrodt          16       Q. I believe it does.
    17   was not concerned that Keysource was doing business      17           So going beyond Keysource, if there were
    18   with a large number of pharmacies that H.D. Smith        18   other distributor companies that were continuing to do
    19   declined to do business with or severely restricted      19   business with -- with pharmacies on this list --
    20   that business with because they were suspicious?         20       A. Um-hum.
    21       MR. TSAI: Object to the form.                        21       Q. -- that would be cause for concern?
    22   BY THE WITNESS:                                          22       MR. TSAI: Object to the form.
    23       A. Yep. H.D. Smith made decisions not to             23   BY THE WITNESS:
    24   sell to these accounts and Keysource was selling to      24       A. Yeah. I mean, all I can say is that

                                                     Page 191                                                          Page 193
     1 those accounts, and we felt like we should share with       1 within two months of this e-mail, so as of
     2 Keysource that another one of its competitors had made      2 November 1st, 2010, which is the date of the talking
     3 the decision not to service them.                           3 points for DEA Albany and DEA St. Louis, that we had
     4           Now, why H.D. Smith did that and whether          4 stopped selling to Keysource, we had stopped selling
     5 Keysource should have adhered to the same -- same           5 to Cedardale and we had stopped selling to Masters.
     6 approaches, I can't speak to that.                          6          So I think that the fact that that was two
     7 BY MR. KAWAMOTO:                                            7 months post this shows that we addressed it and I
     8      Q. And so you had no concerns at all that              8 think answers your question about whether or not we
     9 Mallinckrodt's products via Keysource were making           9 had concerns.
    10 their way to a large number of pharmacies that             10 BY MR. KAWAMOTO:
    11 H.D. Smith concluded were suspicious, correct?             11      Q. Okay. And so if another distributor,
    12       A. I --                                              12 though, had taken up essentially Keysource's business
    13       MR. TSAI: Object to the form.                        13 by servicing these customers, that's something that
    14   BY THE WITNESS:                                          14 Mallinckrodt would have considered in evaluating its
    15       A. Yeah. And I think you know, and just in           15 relationship with that distributor, is that --
    16   all due respect, I think we -- we did because we         16      A. Um, I can't --
    17   eventually stopped selling to Keysource, so we           17      Q. -- or should have considered it?
    18   notified them and said, Hey, these are accounts that     18      A. I can't speak to these pharmacies in
    19   appear to be -- you know, that H.D. Smith has deemed     19   particular, but we did evaluate sales for Cedardale,
    20   suspicious.                                              20   Masters and Keysource, and because of the
    21          We don't know what their business                 21   disproportionately high sales into the State of
    22   practices are or why, communicated that, and you can     22   Florida in relation to their total business, we did
    23   see this is in August, and then by the end of            23   make the decision to stop shipping them.
    24   October we had stopped selling to them. So I don't       24      Q. And the last bullet point is: "Pharmacy

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     1   secondary supplier relations."                            1      Q. Okay. Why did you want to stay away from
     2           Do you -- do you have any understanding of        2   doctors and pain clinics?
     3   what that means?                                          3           Well, let's -- let's take the first
     4       A. I have no idea what that means.                    4   category.
     5       Q. Sorry. One more question on this.                  5      A. Sure.
     6           So I understand that you -- you understand        6      Q. Why did you want to stay away from
     7   what some of these bullets mean and -- and don't          7   doctors?
     8   understand what other mean -- what others mean. In        8      A. Um, I --
     9   terms of developing a list to consider when               9      MR. TSAI: Object to the form.
    10   ascertaining whether a pharmacy was suspicious, you      10           Go ahead.
    11   know, and this -- this would be consistent with the --   11   BY THE WITNESS:
    12   the request or the requirement that Mallinckrodt know    12      A. Yeah, no, that's -- so in terms of Sunrise
    13   its customer's customer --                               13   and Harvard, they had had their DEA licenses taken and
    14       A. Um-hum.                                           14   their sales were primarily going into doctors and pain
    15       Q. -- other than this C-II ratio, would you          15   clinics. Whenever we saw the increase in Cedardale
    16   have any other factors on that list?                     16   sales, we were trying to understand where it was
    17       MR. TSAI: Object to the form.                        17   coming from and I wanted to ensure, because Sunrise
    18           Go ahead.                                        18   and Harvard were no longer able to sell, I wanted to
    19   BY THE WITNESS:                                          19   ensure that the business that they were servicing,
    20       A. Yeah. And you would have to -- you would          20   because it had been deemed, you know, not proper,
    21   have to talk to Karen Harper. She was ultimately in      21   obviously, because the DEA took their license, I
    22   charge of the compliance and the suspicious order        22   wanted to ensure that that business wasn't shifting to
    23   monitoring and in -- and creating the different          23   another customer of ours, in particular the doctors
    24   criteria for the customer's customer and I -- she        24   and the pain clinics.

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     1 would have to speak to that.                                1 BY MR. KAWAMOTO:
     2             (WHEREUPON, a certain document was              2      Q. Okay. And so -- and this concern wasn't
     3              marked Mallinckrodt - Neely                    3 just -- well, stepping back a moment, the general
     4              Deposition Exhibit No. 15, for                 4 concern with a -- a heavy indexing towards doctors and
     5              identification, as of 01/07/2019.)             5 pain clinics --
     6   BY MR. KAWAMOTO:                                          6       A. Um-hum.
     7       Q. Okay. So this is another e-mail Bates              7       Q. -- wasn't limited to Cedardale, if a -- if
     8   numbered MNK-T1 265441. This is now an e-mail from        8   another distributor had a -- a -- was shipping most of
     9   you to Jim Rausch cc'ing Karen Harper.                    9   its product to doctors or pain clinics, that would
    10       A. Um-hum.                                           10   have been a cause of concern, right?
    11       Q. If you can take a look at it and let me           11       A. Not necessarily. We were -- we were
    12   know when you are done reviewing, that would be great.   12   focused on the demand that had been left open by
    13       A. Okay.                                             13   Sunrise and Harvard which happened to be doctors and
    14       Q. Okay. And I just -- I have a question for         14   pain clinics.
    15   you about this highlighted section.                      15       Q. So just so I understand this, though, so
    16       A. Okay.                                             16   you were concerned that Cedardale was taking over
    17       Q. Okay. So could you please read that?              17   Sunrise's doctors and pain clinics?
    18       A. Sure.                                             18       A. That's what I said, yes.
    19           "Then, I looked at where their sales             19       Q. So what -- why -- why wouldn't -- or --
    20   increase was coming from (i.e., pharmacies, clinics,     20   well, strike that.
    21   doctors, et cetera), as I was concerned that they        21          What was it about doctors and pain clinics
    22   might be picking up the portion of Sunrise's and         22   that concerned you?
    23   Harvard's business that we want to stay away from        23       A. I don't know if there was concern
    24   (i.e. doctors, pain clinics)."                           24   specifically about doctors and pain clinics as a rule

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     1   of thumb, but Sunrise and Harvard's business was            1   business," and for those two particular accounts they
     2   doctors and pain clinics and they were the ones who         2   were servicing doctors and pain clinics. I don't know
     3   had their DEA license pulled. So my concern here was        3   if doctors and pain clinics were an issue as a broad
     4   that we hadn't -- we are obviously not selling product      4   spectrum, but for Sunrise and Harvard business, the
     5   to them anymore because of the -- the DEA license           5   doctors and pain clinics they were servicing obviously
     6   being pulled. However, we were continuing to sell to        6   created issues because they got their DEA license
     7   Cedardale and we were trying to ascertain if                7   pulled.
     8   Cedardale's increase in sales was a result of the           8           When I saw an increase with Cedardale's
     9   vacuum that had been created by Sunrise and Harvard         9   sales, my concern was that was an increase as a result
    10   going out of the market, and because they primarily        10   of those doctors and pain clinics going to Cedardale.
    11   serviced doctors and pain clinics, I noted that in the     11   I ran the chargeback data and I could see all of the
    12   e-mail.                                                    12   sales were going through independent retail which then
    13       Q. And so if it turned out Cedardale was               13   confirmed to me that they were not picking up Sunrise
    14   serviced doctors but it was servicing doctors that         14   and Harvard's business.
    15   were different than Sunrise and Harvard, that would --     15       Q. And so if you had a distributor that,
    16   that would not have been of concern to you?                16   let's say, was shipping primarily to West Virginia --
    17       MR. TSAI: Object to the form.                          17       A. Um-hum.
    18           Go ahead.                                          18       Q. -- and 100 percent of its -- its
    19   BY THE WITNESS:                                            19   clientele, its customers, were pain clinics, that
    20       A. Yeah, I don't -- again, Cedardale was one           20   wouldn't necessarily be a -- a concern because they
    21   of the ones that we did end up shutting down within,       21   weren't Harvard or Sunrise's pain clinics?
    22   let's say, two months of this, so I obviously didn't       22       A. Why it's --
    23   find anything in this particular analysis, but -- and      23       MR. TSAI: Object to the form.
    24   I can't speak to what exactly happened in those two        24   BY THE WITNESS:

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     1 months, but we obviously found something that was             1       A. Yeah.
     2 concerning with regards to Cedardale to the point that        2   BY MR. KAWAMOTO:
     3 we stopped shipping them.                                     3       Q. That's what I'm asking.
     4 BY MR. KAWAMOTO:                                              4       A. Yeah, I think that that's a really, really
     5       Q. Well, you shopped -- you stopped shipping            5   challenging question to answer. First of all, you
     6   to them for 2010, correct?                                  6   noted West Virginia specifically, and I don't know
     7       A. According to the document that was                   7   anything about the West Virginia market. I -- I -- I
     8   published in 2010, we had stopped shipping to them for      8   don't think I can answer that question.
     9   2010, and I think that you and I had already settled        9       Q. Well, so let me phrase this another way.
    10   on the fact that I don't know what happened in 2011        10           The fact that a distributor does, let's
    11   because I was not with the company anymore.                11   say, 90 percent of its business with pain clinics --
    12       Q. Uh-huh.                                             12       A. Um-hum.
    13          So in terms of the concern with doctors             13       Q. -- is not necessarily a cause of concern
    14   and pain clinics, though, were those -- were those two     14   for you?
    15   categories that you were concerned with?                   15       A. Whenever I was writing this e-mail, I
    16       A. I think that you and I have already                 16   don't -- I don't -- I don't know. I don't -- I can't
    17   discussed that, and so --                                  17   say that it would or wouldn't be.
    18       Q. Sure. And I -- I'm still not clear on it,           18       Q. Well, so, in terms of whether the doctors
    19   though.                                                    19   and pain clinics as a categorical matter were of
    20       A. Obviously, because you keep asking me.              20   concern, I mean, that -- that's what I'm -- I'm trying
    21       Q. Uh-huh.                                             21   to get at.
    22       A. So in this particular e-mail, I said:               22       A. I understand what you are trying to get
    23          "As I was concerned that they might be              23   at. And I'm telling you that in this particular
    24   picking up the portion of Sunrise's and Harvard's          24   e-mail I was focused on the shift from Sunrise and

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     1   Harvard to potentially Cedardale, and in this                   1       A. It hinged on Florida and the particular
     2   particular e-mail I was addressing the fact that that           2   wholesalers that were selling a disproportionate
     3   was not what was happening.                                     3   amount of oxycodone into the State of Florida.
     4      Q. And so is your testimony then that you                    4       Q. Okay. And you don't recall concerns with
     5   didn't have any categorical concerns about doctors or           5   any other state other than Florida?
     6   pain clinics, you were only concerned about the                 6       A. Florida is -- I mean, seriously, this has
     7   specific doctors and pain clinics that were serviced            7   been eight years ago. The thing that -- that sticks
     8   by Sunrise and Harvard?                                         8   with me is Florida. I can't remember discussing other
     9      A. From this particular e-mail, that is the                  9   states.
    10   case.                                                          10       Q. Now, just in terms of the mechanics of
    11      Q. Okay. So if you had another distributor                  11   what's happening in this e-mail, so Jim Rausch, who
    12   that had a large percentage of pain clinics in Florida         12   we've discussed, has identified an order that has been
    13   but they were pain clinics that were different than            13   flagged as suspicious.
    14   Sunrise or Harvard's, that wouldn't have been of               14           Is that accurate?
    15   concern to you?                                                15       A. He is asking why there is an increase in
    16      MR. TSAI: Object to the form.                               16   their usage.
    17   BY THE WITNESS:                                                17       Q. Yes. So this -- this order -- well,
    18      A. Yeah.                                                    18   how -- how did this order come to Jim's attention?
    19   BY MR. KAWAMOTO:                                               19       A. I -- I can't speak to that. I don't know.
    20      Q. I want to make sure I understand that                    20   It says:
    21   testimony.                                                     21           "We just received another order from
    22      A. No, I -- I don't -- I don't -- I can't                   22   Cedardale." It says: "Did you find anything on their
    23   speak to if it would or wouldn't be.                           23   increased usage?"
    24      Q. Well, what -- what information would you                 24           So Jim is seeing an increase in their

                                                             Page 203                                                     Page 205
     1 need to determine whether or not it's problematic for             1   orders versus what they historically purchased, it
     2 a distributor to be shipping primarily to pain                    2   appears.
     3 clinics?                                                          3       Q. Are you familiar with the term "peculiar
     4      A.    Yeah, I -- I don't know. I will tell you               4   order"?
     5 that this was August of 2010 and this was when we were            5       A. I am.
     6 just at the infancy of starting to dive into this                 6       Q. Okay. What does that mean to you?
     7 information and understand. I left in -- in 2011.                 7       A. It was part of the suspicious order
     8 What I will say is I can't speak categorically like               8   monitoring process.
     9 you want me to to concerns about doctors and -- and               9       Q. Okay. And was part of Jim Rausch's role
    10 pain clinics. What I will say is we started to                   10   to identify peculiar orders and then gather
    11 identify that there was issues within this particular            11   information on those orders?
    12 product and we took steps to stop shipping it within             12       A. Jim was in customer service, so he was
    13 the next two months.                                             13   processing the orders, yes.
    14           So whether or not that's driven by doctors             14       Q. And so he is identifying -- or an order
    15 or pain clinics, I can't speak to that, but we                   15   has been identified for him as peculiar, and he is now
    16 definitely identified problem -- what we perceived to            16   coming to you to ask for additional information on
    17 be problem distributors.                                         17   that order, is that --
    18      Q.    And your basis for identifying the problem            18       A. Well, I --
    19 distributors largely turns --                                    19       Q. -- is that accurate?
    20       A. It hinged on Florida, but I can't                       20       A. -- I don't see that we noted it as
    21   specifically say if it hinged on doctors or pain               21   peculiar in here. He sent over an Excel attachment
    22   clinics, which is your question to me.                         22   and he asked me if we found out anything on their
    23       Q. Well, and it hinged both on Florida and                 23   increased usage. So he is asking about their increase
    24   the -- those customers in Florida, right?                      24   in usage. I don't see peculiar being referenced in

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     1 here.                                                         1 pain clinics from Sunrise and Harvard, correct?
     2      Q. Okay. But this is an order that was being             2       A. Yeah, that's correct.
     3 subject to additional scrutiny, was it not?                   3       Q. So it wasn't just looking at numbers, it
     4      A. It was an order that he had questions on,             4   was also making a decision about whether the --
     5 so he was following up on.                                    5   whether you were comfortable with the pharmacies or
     6      Q. And who had the authority to determine                6   with the -- the end purchasers that were being
     7 whether or not to either fill the order or -- or -- or        7   serviced by the distributor, correct?
     8 decline it?                                                   8       A. It was me making a statement to him that
     9      A. It was a combination of factors. I would              9   the business that they were picking up was not coming
    10   be evaluating it from a business perspective to see        10   from Sunrise or Harvard's lost business as a result of
    11   and to give him my feedback in terms of whether or not     11   the DEA license being taken away.
    12   from a business perspective it made sense. But             12       Q. And if it had come out the other way,
    13   essentially he would be adhering to the suspicious         13   meaning you had determined that the business was
    14   order monitoring process, and I don't remember the         14   coming from the doctors and the pain clinics,
    15   details of that.                                           15   presumably you would have stopped the order, correct?
    16      Q. Now, when you say you were evaluating it             16       A. It would have raised additional concerns
    17   from a business perspective, though, the -- the top        17   about those orders and about that customer.
    18   e-mail that you drafted --                                 18       Q. Okay. So who would have had the authority
    19      A. Uh-huh.                                              19   to stop the order at that point?
    20      Q. -- and sent to Jim, I mean, that -- those            20       A. I don't remember who had the authority.
    21   are compliance concerns, right, that's not a business      21   There was a process that was in place that we adhered
    22   perspective?                                               22   to, but I honestly can't remember who the ultimate --
    23      A. So maybe business perspective isn't                  23   what the ultimate authority was for this.
    24   necessarily the right word, but from a data                24       Q. But your e-mail to Jim is that you don't

                                                         Page 207                                                       Page 209
     1   perspective I was able to pull the data and start to        1   have any concerns about this order, is that the
     2   help him tell the story about what was happening            2   substance of it?
     3   within that particular customer.                            3       A. From my perspective, I was letting him
     4      Q. And so when you indicated that you were               4   know that the sales that we were seeing an increase on
     5   evaluating the order from a business perspective --         5   for Cedardale were not the result of Sunrise and
     6      A. I mean, I think we agreed it wasn't                   6   Harvard being unable to ship to those customers, so
     7   necessarily business, that we were going to say from a      7   they were shifting to Cedardale.
     8   data perspective.                                           8       Q. Okay. And presumably you didn't have any
     9      Q. Yes. And I'm -- I'm trying to understand              9   other concerns about the increase -- the increase in
    10   what it means to evaluate an order from a data             10   order size, right?
    11   perspective.                                               11       A. Again, I stated in here that the order
    12      A. Well, I had the visibility into it, so I             12   increases had not come from the lost business at
    13   was able to pull -- pull the data. So it says here:        13   Sunrise and Harvard and it was a result of independent
    14           "I evaluated everything we have shipped            14   retail.
    15   them from an historical perspective versus all             15       Q. Yes. So you -- you didn't have any
    16   chargebacks we have received."                             16   concerns with the increase?
    17           So I was able to run that data to look and         17       A. I noted that I didn't have concerns about
    18   see, look at the numbers, look at the data.                18   it coming from Sunrise and Harvard.
    19      Q. But there was also some quantitative                 19       Q. And so do you know if -- if anyone else --
    20   aspect to this because in addition to looking at the       20   if anyone else reviewed the increase in the order
    21   numbers, you were also looking at the identity of          21   size?
    22   the -- of the new business that Cedardale was              22       A. I don't remember what the process was in
    23   gathering, correct, because you concluded that             23   terms of who else would have been evaluating this
    24   Cedardale wasn't taking over the doctors and plain --      24   after I sent this e-mail.

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     1     Q.     And do you know if you ever ascertained                  1           And then if you look at the chargeback
     2 who the customers were that Cedardale was now                       2 data --
     3 servicing?                                                          3      A. Um-hum.
     4     A.     I don't know that we did. I can't speak                  4      Q. -- that doctor is identified, and the
     5 to that.                                                            5   Bates number for that one is going to be 290048 --
     6     MR. TSAI: We are past the top of the hour. Can                  6      A. I've got it.
     7 we take a quick break?                                              7      Q. -- is the page, for column CX.
     8     MR. KAWAMOTO: Sure.                                             8      A. Uh-huh.
     9     THE VIDEOGRAPHER: Okay. Standby, please.                        9      Q. And, actually, taking a step back, do you
    10 Remove your microphones.                                           10   know why this spreadsheet summary or this chargeback
    11          Okay. The time is 2:06 p.m., going off                    11   summary was prepared?
    12 the record.                                                        12      A. I don't remember, no.
    13             (WHEREUPON, a recess was had                           13      Q. Okay.
    14              from 2:06 to 2:22 p m.)                               14          If I were to tell you that it was prepared
    15     THE VIDEOGRAPHER: Okay. We are back on record.                 15   in connection with an audit that was being performed
    16 The time is 2:22 p m.                                              16   on Sunrise, would that -- would that jog your
    17     MR. KAWAMOTO: Okay. So I'd like to mark this.                  17   recollection at all?
    18             (WHEREUPON, a certain document was                     18      A. I have the recollection of us doing an
    19              marked Mallinckrodt - Neely                           19   audit on Sunrise, but I, again, don't know -- I don't
    20              Deposition Exhibit No. 16, for                        20   remember this particular document or information.
    21              identification, as of 01/07/2019.)                    21      Q. Now, looking to -- to column CX and the
    22 BY MR. KAWAMOTO:                                                   22   doctor that's highlighted?
    23     Q.     So this is an e-mail chain that you are on              23      A. Um-hum.
    24 the bottom e-mail.                                                 24      Q. You'll see that it's Dr. Schultz.

                                                         Page 211                                                               Page 213
     1       A. Uh-huh.                                                    1       A. Okay.
     2       Q. It's from Cathy Stewart to Karen Harper                    2       Q. Are you familiar with Dr. Schultz?
     3   and then the bottom e-mail that you are on, it's from             3       A. No.
     4   Cathy Stewart to Karen Harper, Bill Ratliff and you               4       Q. Okay. Would it surprise you to -- to know
     5   are cc'd along with various other people.                         5   that he is currently serving a -- a lengthy prison
     6       A. Okay.                                                      6   sentence in a -- in a Florida prison?
     7       Q. The Bates number is MNK-T1 290041, so if                   7       A. I -- I guess it would surprise me. I
     8   you could review the -- the cover e-mail, please.                 8   don't know him, so.
     9       A. Sure.                                                      9       Q. Okay.
    10            Okay.                                                   10       A. Okay.
    11       Q. Okay. So this is a 2009 e-mail and its                    11       Q. So Dr. Schultz, though, has been flagged.
    12   title is "Sunrise Chargeback Summary."                           12       A. Okay.
    13            Do you recall receiving this e-mail?                    13       Q. And his -- his purchase is .6 kilograms
    14       A. I -- I don't, but I see my name on there,                 14   or, I think, 612 -- I'm -- I'm not sure exactly what
    15   so...                                                            15   the units are.
    16       Q. Okay. And as -- as you will recall,                       16           Do you -- do you know what the units are
    17   Sunrise was one of the distributors that the DEA shut            17   for this?
    18   down, right?                                                     18       A. Well, it says in her e-mail:
    19       A. Okay. Uh-huh, yes.                                        19           "The subject physician purchased the
    20       Q. Okay. So looking at the -- the top                        20   equivalent of .6" and it says "kg," which means
    21   e-mail, it says: "Here is the other file...the doctor            21   kilograms.
    22   in question is column CX."                                       22       Q. Uh-huh.
    23       A. Okay.                                                     23       A. So if you look at your column CX that you
    24       Q. Do you see that?                                          24   are referring to, this says 612,000, so it is the .6

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     1   kilograms referenced in the e-mail.                            1   12.6 kilograms and that's nearly 2 kilo grams more
     2       Q. And what is the 612,000, is that tablets,               2   than the next closest purchaser.
     3   is that molecules, et cetera?                                  3        Q. Okay. And so, you know, they -- they
     4       A. It is the kilos in the e-mail, .6.                      4   flagged Dr. Schultz for, you know, 612 milligrams.
     5       Q. Oh, no, I -- I -- it -- it's .6, but                    5        A. Uh-huh.
     6   that's -- so that's 612 --                                     6        Q. You know, Dr. Schultz is at 12,597,000 --
     7       A. So she --                                               7        A. Uh-huh.
     8       Q. -- grams?                                               8        Q. -- milligrams?
     9       A. -- she divided it -- I'm assuming. I'm                  9        A. Um-hum.
    10   not really good at conversion of metrics, but that's          10        Q. You know, doesn't -- shouldn't that raise
    11   your -- that's your -- I guess it is 612,000, would           11   a red flag?
    12   that be grams, and it converts to .6 kilos. I'm not           12        A. I -- and I don't know that it didn't. So
    13   good at this type of math.                                    13   if you -- if you look at the e-mail, it says:
    14       Q. Okay. Fair enough.                                     14             "Here is the other file. The doctor in
    15       A. But this is the -- this is -- if you look              15   question is in column CX."
    16   at your e-mail that you gave me to me, the .6 kilos in        16             So it -- it indicates to me that this
    17   the last line ties to what's in column CX row 3.              17   e-mail is part of a larger conversation, so I don't --
    18       Q. Okay.                                                  18   it's -- I don't know. Because otherwise we wouldn't
    19           Now, if you will look at column CW that is            19   have just flagged Schultz in column CX for having
    20   right next to Schultz.                                        20   purchased .6 kilos, you are correct, because the guy
    21       A. Uh-huh.                                                21   right next to him purchased 12.6.
    22       Q. Do you see that's -- that's Dr. Shook?                 22             So it -- it leads me to believe that there
    23       A. I see that, yes.                                       23   was some other questions being asked about
    24       Q. Okay. And his -- the amount he is                      24   Dr. Schultz, perhaps related to why he is incarcerated

                                                            Page 215                                                        Page 217
     1   ordering is essentially 12.6 kilograms or 12 -- 12             1 now, and we had pulled the data to try to give
     2   million, you know, whatever that --                            2 information for that. And, again, this is assumptions
     3       A. Grams.                                                  3 because I only have this one e-mail here.
     4       Q. -- unit is.                                             4      Q. Okay. But in -- in -- I mean, just
     5       MR. TSAI: I think it is milligrams.                        5 looking at this chargeback data --
     6       THE WITNESS: Is it milligrams?                             6       A. Uh-huh.
     7       MR. TSAI: Just to clear the record.                        7       Q. -- if you were going to perform an audit
     8       THE WITNESS: Thank you.                                    8   of Sunrise, isn't one of the -- the questions that you
     9   BY MR. KAWAMOTO:                                               9   would ask in that audit, you know, what was going on
    10       Q. Fair enough.                                           10   with Dr. Shook, just because of the -- the large
    11           So he is ordering 12 million milligrams of            11   volume of his -- of his order?
    12   product, which, as you -- you can note from the e-mail        12       A. While I would agree with you 100 percent
    13   is the -- that is the -- the largest out of all of            13   that the volume that he purchased is large in
    14   these customers.                                              14   comparison to the other doctors on this list, that
    15       A. Um-hum.                                                15   ultimately would be Karen Harper determining what
    16       Q. Isn't that large number of concern?                    16   kinds of questions would be executed during an audit
    17       A. I don't know how many kilograms serviced               17   of Sunrise.
    18   the entire oxy market. So I don't know from a                 18       Q. Well, but wouldn't -- would -- would you
    19   relative measure if 12.6 kilograms is -- is a lot.            19   agree that the sheer volume, you know, 12.6 kilograms,
    20       Q. But in terms of their -- all -- all of                 20   that volume in and of itself is -- at minimum makes
    21   Sunrise's other customers, 12.6 kilograms is the most,        21   this -- puts it in the -- the -- the suspicious or the
    22   isn't that -- that's what the -- the cover e-mail             22   peculiar category that requires further inquiry?
    23   indicates, right?                                             23       A. Not necessarily. And I think what you and
    24       A. Yeah, the e-mail says the equivalent of                24   I just talked about is I don't know what the total

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     1 market size of oxy is in aggregate, so I don't know          1      A. This was from 2007 which was almost
     2 what 12.6 is relative. I think what this does tell me        2   12 years ago. I don't remember if I did or didn't
     3 is he is purchasing the most product through Sunrise         3   review this letter.
     4 and he obviously is -- is pulling the most product           4      Q. Okay. So can you read the bottom
     5 through Sunrise, but as it relates to 12.6 kilograms         5   paragraph that I've highlighted into the record?
     6 being a lot, I -- I don't have a reference point for         6      A. Sure.
     7 that.                                                        7          "The regulation specifically states that
     8      Q. Okay. And so what -- what other data,                8   suspicious orders include orders of an unusual size,
     9 then, would you -- would you want to gather to               9   orders deviating substantially from a normal pattern,
    10 determine whether or not you -- you, you know,              10   and orders of an unusual frequency. These criteria
    11 Dr. Shook should be subject to additional inquiry?          11   are disjunctive and are not all inclusive. For
    12      A. I -- I think that that would be a question          12   example, if an order deviates substantially from a
    13 that you would need to ask Karen Harper. She was the        13   normal pattern, the size of the order does not matter
    14 one that was in charge of performing the audits for --      14   and the order should be reported as suspicious.
    15 for our wholesalers and distributors.                       15   Likewise, a registrant need not wait for a 'normal
    16      Q. Okay.                                               16   pattern' to develop over time before determining
    17      A. So in terms of looking at this from a               17   whether a particular order is suspicious. The size of
    18   marketing perspective, if I were to look at the           18   an order alone, whether or not it deviates from a
    19   numbers, I would agree that Dr. Shook is purchasing       19   normal pattern, is enough to trigger the registrant's
    20   the most across all of these doctors and that would       20   responsibility to report the order as suspicious. The
    21   warrant to me a second look, but I don't know what was    21   determination of whether an order is suspicious
    22   actually done, nor do I know how the audit would          22   depends not only on the ordering patterns of the
    23   actually be performed.                                    23   particular customer, but also on the patterns of the
    24      Q. Oh, I'm sorry. In going back to that                24   registrant's customer base and the patterns throughout

                                                        Page 219                                                       Page 221
     1   prior exhibit, you don't -- you don't have any             1 the relevant segment of the regulated industry."
     2   knowledge as to whether or not Dr. Shook was part of       2     Q. So with respect to suspicious orders, I
     3   the audit that was performed on Sunrise, do you?           3 mean, do you -- do you agree with -- with this
     4      A. I was not -- no, I do not know.                      4 paragraph?
     5              (WHEREUPON, a certain document was              5       MR. TSAI: Object to the form.
     6               marked Mallinckrodt - Neely                    6           Go ahead.
     7               Deposition Exhibit No. 17, for                 7   BY THE WITNESS:
     8               identification, as of 01/07/2019.)             8       A. Yeah, I -- I don't agree or disagree.
     9   BY THE WITNESS:                                            9   This was the DEA's interpretation of a suspicious
    10      A. Thank you.                                          10   order.
    11   BY MR. KAWAMOTO:                                          11   BY MR. KAWAMOTO:
    12      Q. Okay. So this is a letter from the Drug             12       Q. And was this consistent with your
    13   Enforcement Administration to Mallinckrodt and its        13   understanding of what suspicious orders were when you
    14   Bates number is MNK-T1 421084.                            14   were a product -- or a product manager at
    15           So could you take a -- a minute to review         15   Mallinckrodt?
    16   this letter?                                              16       A. This was the information provided by the
    17      A. Sure.                                               17   DEA and we had a compliance program in place that was
    18           Okay.                                             18   reflective of DEA criteria.
    19      Q. So this is a letter from the DEA to                 19       Q. And so this -- this information was -- was
    20   Mallinckrodt.                                             20   ultimately provided to you as well, correct?
    21           Do you recall ever reviewing this?                21       A. I have an understanding of what a
    22      A. I don't remember.                                   22   suspicious order is and this -- this mimics my
    23      Q. So you don't have a recollection of                 23   understanding.
    24   ever -- of ever receiving this letter?                    24       Q. Okay.

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     1           And going back to Dr. Shook, you know,               1 failing to detect suspicious orders. For example, a
     2   they note that the size -- the size of an order alone,       2 system that identifies orders as suspicious only if
     3   whether or not it deviates from a norm -- normal             3 the amount" -- "the total amount of a controlled
     4   pattern is enough to trigger the registrant's                4 substance ordered during one month exceeds the amount
     5   responsibility to report the order as suspicious.            5 ordered the previous month by a certain percentage or
     6       A. Um-hum.                                               6 more is insufficient. This system fails to identify
     7       Q. So Dr. Shook presumably would have fit                7 orders placed by a pharmacy if the pharmacy placed
     8   that criteria, wouldn't he?                                  8 unusually large orders from the beginning" -- "from
     9       MR. TSAI: Object to the form.                            9 the" --
    10   BY THE WITNESS:                                             10       Q. Um -- sorry.
    11       A. I think that when we talked about                    11       A. -- "from the beginning of its relationship
    12   Dr. Shook before we agreed that 12.6 kilograms of oxy       12   with the distributor. Also, the system would not
    13   we don't have a relative measure in terms of if that        13   identify orders as suspicious if the order were solely
    14   is indeed a large order. We also don't have any             14   for one highly abused controlled substance if the
    15   documentation, I don't have any documentation that          15   orders never grew substantially. Nevertheless,
    16   tells me if we did or didn't go after Dr. Shook. So I       16   ordering one highly abused controlled substance and
    17   don't think that I can answer the question that you've      17   little or nothing else deviates from the normal
    18   asked properly.                                             18   pattern of what pharmacies generally order."
    19   BY MR. KAWAMOTO:                                            19       Q. Okay.
    20       Q. Well, and at a minimum, though, I mean,              20           Was this your understanding of the inquiry
    21   you -- you weren't involved in any investigation of         21   that Mallinckrodt was supposed to undertake with
    22   Dr. Shook and you didn't -- you didn't have anything        22   respect to suspicious orders?
    23   to do with looking at Dr. Shook?                            23       A. It was.
    24       A. Well, I -- I wasn't involved in the                  24       Q. Okay. In other words, that it wasn't

                                                         Page 223                                                          Page 225
     1   investigations period. That was in Karen Harper's            1 adequate to just rely on a numeric formula but that
     2   group, so I don't have any knowledge of Dr. Shook            2 additional inquiry should be performed as well, is
     3   being investigated or not being investigated.                3 that fair?
     4       Q. Well, so, then, why did you -- why were               4      A. Yeah, and I think that's what you've seen
     5   you sent this summary worksheet?                             5 over the course of the documents that we've reviewed
     6           I'm sorry. I'm -- I'm gone -- I've gone              6 in terms of looking at the data, asking questions, so
     7   back to the previous exhibit.                                7 I -- I -- yeah, I think that that is 100 percent the
     8       A. Yeah, I know, I understand what you are               8 interpretation that we had of this.
     9   looking at and I understand what you are asking.             9      Q. Okay. And that interpretation was in
    10           There were a lot of people copied on this.          10   place, you know, as of the date of this letter, which
    11   I was the product manager on this particular product        11   was December 2007, is that correct?
    12   and, let's see here, Vic was the sales manager for          12      MR. TSAI: Object to the form.
    13   this account, Jim was a customer service manager for        13          Go ahead.
    14   this account, George Saffold was the head of customer       14   BY THE WITNESS:
    15   service, John Adams the head of sales. There are a          15      A. I -- I can't speak to what was or wasn't
    16   lot of people copied on this, but you can see it was        16   in place in 2007. I mean, we had a suspicious order
    17   directly sent to Karen Harper and Bill Ratliff who          17   monitoring program that supported the DEA
    18   were -- be handling the investigation.                      18   requirements.
    19       Q. Okay. Then going back to this DEA letter.            19   BY MR. KAWAMOTO:
    20   So, can you read the top paragraph of the second page,      20      Q. Okay. And that suspicious order
    21   please?                                                     21   monitoring program should presumably comply with the
    22       A. Sure.                                                22   requirements in this letter, is that --
    23           "Registrants that rely on rigid formulas            23      A. You would really -- I am not in
    24   to define whether an order is suspicious may be             24   compliance, I was in marketing, so I can't speak to

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     1 the exact program itself. All I can say is based on          1   and increase on quantities by 50 percent."
     2 this letter, we have a suspicious order monitoring           2      A. Um-hum.
     3 program that reflected the requirements of the DEA.          3      Q. The -- the new order -- the volume for the
     4           (WHEREUPON, a certain document was                 4   new order then is it going to be an increase of
     5            marked Mallinckrodt - Neely                       5   50 percent over several thousand bottles, correct?
     6            Deposition Exhibit No. 18, for                    6      A. If that was what their normal order was
     7            identification, as of 01/07/2019.)                7   and they were going to increase by 50 percent, then
     8 BY MR. KAWAMOTO:                                             8   yes.
     9     Q. Okay. So this is an e-mail, an e-mail                 9      Q. Okay. So at the top of the paragraph
    10 chain or an e-mail from you to Cheryl Nelson and Marc       10   there is -- do you see the -- the sentence saying:
    11 Montgomery, cc'ing various other people.                    11           "We have experienced considerable
    12     A. Uh-huh.                                              12   diversion, tampering issues with regard to this
    13     Q. And the Bates number is MNK-T1 387257.               13   customer in" -- "in NC."
    14    A. Okay.                                                 14      A. Um-hum.
    15    Q. Okay. And so I'd like to start on the                 15      Q. What were -- what were the diversion and
    16 back page, which is, I think, information relating to       16   tampering issues?
    17 the orders.                                                 17      A. I -- I read that sentence, sir, and to be
    18      A. Okay.                                               18   honest with you, I don't know what the issues were
    19      Q. And if I wanted to -- there is a -- a               19   with this customer. I don't have a recollection.
    20   bunch of numbers or rows of numbers towards the bottom    20      Q. Okay. Isn't it problematic to be
    21   of each of the -- the orders.                             21   shipping, you know, thousands of bottles to a customer
    22      A. Um-hum.                                             22   that has experienced considerable diversion tampering
    23      Q. If I wanted to get an understanding of the          23   issues?
    24 volume of the order, what number should I be looking        24      A. I -- I can't speak to that. If they've

                                                        Page 227                                                        Page 229
     1 at? Is it the, for example, the one -- the row that's        1   experienced them in the past, I -- I don't -- I don't
     2 starting at 577101, is the volume the 4,200?                 2   know.
     3       A. So I think you would need to look across            3       Q. Well, so who -- who would make the -- who
     4   the headings at the top where it says "item code,"         4   was responsible for making the decision whether to
     5   "quantity shipped," "cancelled unit," "extended            5   ship this to them?
     6   price," "slip," "package" or "picking slip date."          6       A. In terms of this e-mail itself, I -- I
     7           So if you look at those headings, it would         7   don't know why the sentence, why it was led with that
     8   say "item code," "quantities," and so naturally you        8   particular sentence, but if you read the context of
     9   would look to the second column, which would be 708.       9   the e-mail, the e-mail itself, so we had made
    10       Q. Okay.                                              10   obviously the decision at some point to continue
    11           Okay. And the same would be true for the          11   shipping them, and if you read the context of the
    12   bottom. So the column that starts either 708 or 588       12   e-mail, this was on November 12th, so they were
    13   is -- that's the -- the volume of is it bottles or is     13   placing additional buys to cover for when they were
    14   it pills? I take it it's bottles?                         14   going to be closed or didn't have people in the office
    15       A. That would be my assumption. It is really          15   for the week of Thanksgiving.
    16   challenging to tell just because of the way the e-mail    16           So the e-mail itself was just about an
    17   collapsed it.                                             17   order increasing quantities because they wouldn't be
    18       Q. Yeah.                                              18   ordering during that week of the 23rd.
    19       A. But, yeah, and it would be bottles.                19           In terms of the decision to continuing
    20       Q. Okay. So these orders are a couple                 20   to -- to ship to North Carolina, in that sentence, I
    21   thousand bottles, just sort of glancing at the numbers    21   can't speak to that because I don't have a
    22   quickly. And so the e-mail from Cheryl Nelson to you      22   recollection on it.
    23   and Marc Montgomery, when she says:                       23       Q. Well, but I under -- I understand the --
    24           "Mr. Hall will send a new order on Monday         24   the timing issue that's being raised by the order.

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                                                            Page 230                                                        Page 232
     1      A. Um-hum.                                                  1   the part that I was saying I'm okay with.
     2      Q. I guess my question is, you have a                       2       Q. Okay. Do you know what investigation was
     3   customer that according to Cheryl --                           3   done regarding the diversion and tampering issues?
     4      A. Um-hum.                                                  4       A. If I don't remember the situation, how
     5      Q. -- you've experienced considerable                       5   could I possibly tell you what was done? I don't
     6   diversion/tampering issues and yet you are still               6   know.
     7   shipping to them thousands of bottles of -- of I               7       Q. Okay. So you have no idea -- you have no
     8   believe is it -- I believe it's -- is it oxy 30 or             8   idea what investigation, if any, was done with respect
     9   what is --                                                     9   to this client?
    10      A. Well, I think that you need to be really                10       A. I think I've stated to that same question
    11   careful on that because there is a number of SKUs --          11   I have no recollection of this situation, so I cannot
    12      Q. Uh-huh.                                                 12   speak to the investigation, no.
    13      A. -- that are listed on the back of that                  13       Q. Okay. And just to be clear, you don't
    14   e-mail. So I'm counting here, you have one, two,              14   even know if an investigation was done because you
    15   three, four, five, six, seven, eight, nine, ten SKUs I        15   have no recollection one way or the other?
    16   think on the first order, different SKUs, not just            16       A. How can I tell you yes or no if I don't
    17   oxy 30, so I think we need to be really careful about         17   have a recollection?
    18   categorizing this order being an aggregate of                 18       Q. Well, I just want to -- I would -- I just
    19   thousands of bottles for oxy 30.                              19   want to make sure the record is clear on this.
    20      Q. Well, so, and do you know which SKUs would              20       A. I think it is pretty explicit, yeah.
    21   have been the oxy 30s?                                        21              (WHEREUPON, a certain document was
    22           Well, or -- or -- stepping back, which                22               marked Mallinckrodt - Neely
    23   SKUs would have been the oxies?                               23               Deposition Exhibit No. 19, for
    24      A. That part, no, I don't know.                            24               identification, as of 01/07/2019.)

                                                         Page 231                                                              Page 233
     1           Based on the context of Marc's e-mail and              1 BY MR. KAWAMOTO:
     2   my e-mail, it looks like it was methylphenidate, which         2      Q.    Okay. So this is an e-mail chain with the
     3   is a non-opioid, oxycodone and morphine.                       3 Bates number MN -- MNK-T1 449467.
     4       Q. Okay. So it is those three products that                4      A.    Uh-huh.
     5   would have been covered by these SKUs?                         5      Q.    And it is an e-mail exchange between you
     6       A. I can't 100 percent say that, but I can                 6 and John Adams, among others.
     7   tell you that those three products are at least                7    A. Okay.
     8   included in those SKUs.                                        8    Q. Okay. So this e-mail chain is -- well,
     9       Q. Okay. So you are still going to be                      9 the chain -- the top e-mail is John Adams forwarding
    10   shipping oxy and morphine to this customer,                   10 this e-mail chain to you?
    11   notwithstanding the considerable diversion and                11      A.    Um-hum.
    12   tampering issues. And so, I guess my question is, you         12      Q.    Who is John Adams?
    13   know, who -- who made that decision?                          13      A.    In 2008, I don't know if he had moved --
    14       A. And I think my answer to you is I don't                14 he had moved into head of sales. He was in -- I think
    15   know because I don't have a recollection of this              15 he was head of sales by this point.
    16   situation.                                                    16      Q.    Okay. And why is he forwarding this to
    17       Q. But you're signing off on the orders for               17 you?
    18   the methyl and the oxy, correct?                              18      A.    I don't know. I -- I don't know why.
    19       A. At -- at some point someone had made the               19 You'd have to ask John.
    20   decision to continue shipping them. The context of            20      Q.    Okay. Now, the e-mail at the bottom, it
    21   the e-mail is not about the diversion/tampering               21 says:
    22   issues. The context of the e-mail is saying that              22           "Dear Karen, Please be informed that
    23   their orders are going to increase because they are           23 Rochester Wholesale Drug has secured a new account Old
    24   not going to order the following week, and that was           24 Bridge Drug who will be using Mallinckrodt's oxy


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                                                       Page 234                                                         Page 236
     1   30 milligrams. The account's monthly use is               1   investigation was done into the new account? The --
     2   approximately 380 bottles monthly."                       2   the new account is identified at the very -- at the
     3           Do you see that?                                  3   very bottom e-mail on --
     4       A. I do.                                              4       A. Sure.
     5       Q. Okay. So because of that increase, would           5       Q. I'm sorry. It is the very last e-mail on
     6   that have triggered the peculiar order screen?            6   449469.
     7       A. It could have potentially, if the increase         7       A. I -- I don't know. I don't know.
     8   was large enough in relation to what Rochester Drug       8       Q. So we're talking about Old Bridge Drugs,
     9   typically ordered, it would have increased their order    9   and they want to order 38,000 units a month of oxy 30.
    10   quantities, therefore, flagging, you know, a             10       A. Um-hum.
    11   difference to historic. So yes.                          11       Q. In terms of the order, the fact that it's
    12       Q. Okay. And because you were the -- because         12   an oxy 30 would trigger heightened concern, correct?
    13   you were, you know, the person in charge of the          13       A. This is in October of 2008, so oxy 30 was
    14   data --                                                  14   part of our suspicious order monitoring program, so
    15       A. Um-hum.                                           15   that's part of the reason why this was generated.
    16       Q. -- would that, then, have come to you as          16       Q. Okay. Do you know if -- if any analysis
    17   a -- or -- or would -- would someone have requested      17   was done of the ratio that Old Bridge Drugs was
    18   information from you, is that why -- is that why you     18   ordering with respect to oxy versus other products?
    19   are getting this e-mail?                                 19       A. I don't know the answer to that, no.
    20       A. So as a product manager, there is a couple        20       Q. Okay. Should that analysis have occurred?
    21   of reasons that I can suspect that I would have gotten   21       A. I can't answer that question for you. I
    22   the e-mail. I also did forecasting for this              22   don't know.
    23   particular product. So if there was an increase in       23       Q. Do you know if any analysis was done at
    24   usage, I would need to know that in terms of factoring   24   all with respect to Old Bridge Drugs?

                                                       Page 235                                                       Page 237
     1   in. I also was the one evaluating when they got an        1       A. I don't have any recollection. Again,
     2   order that was higher than what the historic average      2   this was 11 years ago.
     3   had been, it would be sent to me, and I would need to     3       Q. And do you know if -- if the distributor,
     4   evaluate. And so if this order did get sent to me,        4   I believe it's RDC, do you know if they did any
     5   this would be the documentation showing the reason        5   analysis of Old Bridge Drugs?
     6   why.                                                      6       A. Again, I'm going to respond to you that
     7      Q. Okay. And actually, Karen's e-mail right            7   I -- I don't know, and, again, this was 11 years ago.
     8   above the one I just read, it says:                       8   I don't have a recollection.
     9           "Heads up from the suspicious order               9       Q. Based on your experience with the SOM
    10   monitoring perspective."                                 10   program and your responsibilities at Mallinckrodt,
    11           Do you see that?                                 11   should some investigation have been conducted of Old
    12      A. Um-hum, I do.                                      12   Bridge Drugs --
    13      Q. Okay. Now, you indicated -- or I think             13       MR. TSAI: Object to the form.
    14   you just testified that this documentation would be      14   BY MR. KAWAMOTO:
    15   showing the reason why. Was -- was that -- was that      15       Q. -- in your opinion?
    16   information important in the context of the suspicious   16       A. That would have been a decision made by
    17   order monitoring that was being done?                    17   Karen Harper, and whether or not an investigation was
    18      A. I can't speak to any work that Karen did           18   done or not done, I don't know, so I can't answer that
    19   around the -- the actual customer. What I can say is     19   question.
    20   this was sent to me to let me know that if there was     20   BY MR. KAWAMOTO:
    21   an increase in demand from Rochester Drug, at least      21       Q. If an investigation was done, would you
    22   I'm guessing, that this was my -- the background as to   22   have been involved from a chargeback perspective?
    23   why there was an increase.                               23       A. Not on this customer in particular, if
    24      Q. Okay. And do you know if -- if any                 24   this is new volume.

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                                                       Page 238                                                         Page 240
     1      Q. Okay.                                                 1          Is that fair?
     2      A. Because there would not have been                     2      A. It looks like Steve and I must have had a
     3   chargebacks associated with it yet.                         3   conversation on it and then I forwarded it to him,
     4      Q. And so this order doesn't seem problematic            4   yes.
     5   to you given that it's oxy 30 and it's 38,000 units?        5      Q. Okay. And then your e-mail at the top, do
     6      A. Well, I think you need to -- to reference             6   you -- do you see what that -- that says?
     7   the front page of your e-mail. So it is 380 bottles.        7      A. Um-hum.
     8      Q. Uh-huh. So it is 380 bottles and it's of              8      Q. Okay. So --
     9   oxy 30. That doesn't -- that doesn't seem                   9      A. Would you like me to read that?
    10   problematic?                                               10      Q. Yes, please.
    11      A. I can't speak to whether it was prob -- I            11      A. "In order to provide a proper response to
    12   can't tell you if it was problematic or not. I don't       12   the D" -- "the DEA, we need to have some color around
    13   have what the total oxy 30-milligram total bottles         13   why they think the orders are increasing? Did they
    14   being sold was, so I couldn't tell you if 380 would        14   pick up a new customer? Are other manufacturers
    15   have raised a red flag or not.                             15   having supply issues? Let me know. Thanks."
    16              (WHEREUPON, a certain document was              16      Q. And so this is part -- this information is
    17               marked Mallinckrodt - Neely                    17   being used in connection with the suspicious order
    18               Deposition Exhibit No. 20, for                 18   monitoring program, is it not?
    19               identification, as of 01/07/2019.)             19      A. It is.
    20   BY THE WITNESS:                                            20      Q. Okay. And so his response to you is on
    21      A. Okay.                                                21   the middle of the first page.
    22   BY MR. KAWAMOTO:                                           22          Do you see that?
    23      Q. Okay. And so this is an e-mail involving             23      A. I do.
    24   H.D. Smith and directing your attention -- well,           24      Q. Okay. And so what is -- what is his

                                                         Page 239                                                     Page 241
     1   it's -- I'm sorry. It is Mallinckrodt Bates number          1 response?
     2   MNK 267735.                                                 2       A. It says:
     3       A. Um-hum.                                              3           "Orders at H.D. Smith are increasing due
     4       Q. And directing your attention to Bates                4   to improved contract compliance and additional
     5   number 267736, do you see the -- the e-mail in the          5   accounts purchasing from their DC both as primary and
     6   middle of the page is from Steve Becker to you.             6   on a secondary basis. Also note that other
     7             Do you see that?                                  7   distributors may be limiting distribution in
     8       A. Uh-huh.                                              8   California. Anda has cut back and Harvard is not
     9       Q. Okay. Why is Steve e-mailing you?                    9   shipping."
    10       A. I had reached out to him about a                    10       Q. Okay.
    11   particular order, so if you go to Exhibit 8862, you        11           So you indicate that orders at
    12   can see I forward him a PO number and then it looks        12   H.D. Smith -- or -- or he -- Steve indicates that
    13   like he reached out to Dena Mando and Lynne Soja at        13   orders at H.D. Smith are increasing due to improved
    14   H.D. Smith:                                                14   contract compliance and additional accounts
    15             "The order in question with the increase         15   purchasing.
    16   was for your California DC." And then Steve is             16           Was any investigation done as to who the
    17   responding forwarding back to me what Lynne from           17   additional accounts were?
    18   H.D. Smith had said to him.                                18       A. I don't know because you can see I sent
    19       Q. Okay. So in terms of understanding the              19   this to Jim Rausch and I said, "Is this okay?" And I
    20   context of this --                                         20   don't know what Jim's response back was in terms of us
    21       A. Uh-huh.                                             21   investigating. I -- I don't know what happened after
    22       Q. The -- the order PO, 472054618 has been, I          22   this.
    23   guess, identified as -- as an order that requires          23       Q. Okay.
    24   additional information.                                    24       A. I think it's important to note on this,

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                                                       Page 242                                                         Page 244
     1 too, that the conversation we had earlier with regards        1   national account manager?
     2 to H.D. Smith where you have all of the questions             2       A. Not necessarily. Not necessarily, no.
     3 about the bullet points and how they determined what          3       Q. Do you think it would have been prudent to
     4 customers to cut off, that was on August of 2010, and         4   at least inquire as to who the additional accounts
     5 this is October 7th of 2010, so it was two months             5   were that were purchasing given the concerns that are
     6 after that.                                                   6   being raised particularly with respect to oxycodone by
     7           So I think from -- from my perspective,             7   the DEA?
     8   and, again, I don't know if an investigation occurred,      8       A. That would have been a decision that would
     9   but this was an account that we had seen go through         9   have fallen into compliance.
    10   stringent measures in terms of cutting off multiple        10       Q. And so that decision would have been made
    11   accounts to not ship to. So in terms of customers to       11   by who?
    12   be concerned with in terms of shipping and evaluation      12       A. So the compliance team, which Karen Harper
    13   of pharmacies and who they were shipping to, based on      13   was at the time leading.
    14   those two documents tied together, I would say             14       Q. Now, the e-mail also notes that: "Other
    15   H.D. Smith would be less of a concern.                     15   distributors may be limiting distribution in
    16       Q. Okay. But that --                                   16   California" and that "Anda has cut back and Harvard is
    17       A. I -- but that doesn't answer your question          17   not shipping."
    18   about whether or not an additional investigation           18           Do you see that?
    19   occurred. I don't know. It could or couldn't have.         19       A. I do.
    20   It's tough to say because your e-mail that you             20       Q. Do you know why that was occurring?
    21   provided to me ends with "Jim, This okay?" So I don't      21       A. I do not know. I don't have a
    22   know how Jim responded to that.                            22   recollection on that.
    23           It was my job as part of this program to           23       Q. So that --
    24   reach out to the sales team, to reach out to the           24       A. I can tell you as far as Harvard -- so the

                                                         Page 243                                                       Page 245
     1   account, to get information from them to provide back       1   "Anda has cut back," I -- that I don't have a relic --
     2   in to give direction to Karen on what next steps she        2   a recollection on.
     3   might need to take. Your e-mail doesn't tell me what        3           "Harvard is not shipping," I think we've
     4   those steps may or may not have been after this --          4   spoken to that earlier in terms of Harvard getting
     5   after this last response.                                   5   their DEA license taken away, so Harvard wasn't able
     6       Q. And if an additional investigation was               6   to ship to any part of the US.
     7   conducted, it would have been memorialized in an            7       Q. Okay. Though the sentence also notes
     8   e-mail?                                                     8   that: "Other distributors may be limiting
     9       A. I'm sorry?                                           9   distribution in California."
    10       Q. If an additional investigation was                  10           You -- did -- did anyone know why other
    11   conducted, it would have been memorialized in an           11   distributors were limiting their distribution in
    12   e-mail, correct?                                           12   California?
    13       A. I -- I don't -- not necessarily. I                  13       A. I think we need to be clear on the wording
    14   don't -- I don't know if it would or it wouldn't have      14   of that sentence. It says: "Also note that other
    15   been. I did my -- my part. I reached out to the            15   distributors may be limiting distribution in
    16   account, I got the information, I provided it back to      16   California."
    17   Jim. What happened after this we can't speak to            17           This is Steve Becker who is the
    18   because you don't have a -- a document for me to           18   distribution of national accounts. That was his
    19   reference and I don't know.                                19   opinion. So I don't know that we have any fact or
    20       Q. And if an additional investigation                  20   foundation for that sentence rather than it was just
    21   occurred, though, you would have -- would you have         21   Steve Becker's thoughts.
    22   been involved in it --                                     22       Q. Well, but this is going to be the basis
    23       A. Not necess --                                       23   for evaluating a suspicious order, isn't it?
    24       Q. -- as a conduit between the -- the                  24       A. It is the basis for me understanding why

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                                                        Page 246                                                            Page 248
     1   H.D. Smith, the volume has gone up.                        1       Q. Okay. And then for the next order, the
     2      Q. So do you know what steps, if any, Steve             2   order was for 25,440 and the average is 3,616?
     3   Becker took to confirm the information he put in this      3       A. That's right.
     4   e-mail?                                                    4       Q. Okay. And then for the third one, the
     5      A. I took this information and provided it to           5   order was for 85,176 and the average is 28,723?
     6   Karen or to -- to Jim and what he did with that after      6       A. Okay.
     7   the fact, I -- I don't know.                               7       Q. Okay.
     8      Q. Would you have been comfortable approving            8           Now, this distributor, Cardinal, is
     9   this order based solely on this information without        9   increasing its orders -- it's essentially tripling its
    10   any follow-up?                                            10   orders, is that -- is that fair?
    11      A. I -- I don't think that I was okay with it          11       A. No, I don't think that's fair.
    12   because I put, "Jim, This okay?" So I obviously was       12       Q. Well, if they are going from -- well, they
    13   saying, you know, Is this okay? I obviously didn't        13   are -- they are tripling -- it is three times the
    14   have a comfort level based on the e-mail.                 14   monthly average or close to three times the monthly --
    15      Q. So in your opinion some additional                  15   that monthly average, correct?
    16   investigation was warranted?                              16       A. According to Karen's data, so she ran this
    17      A. I can't say that it was or wasn't. That's           17   for the past year, so she ran the average for the past
    18   why I was asking Jim if this is okay, question mark.      18   year and then compared that to these orders. So it
    19              (WHEREUPON, a certain document was             19   doesn't mean that these orders are necessarily large
    20               marked Mallinckrodt - Neely                   20   compared to the business that we were doing with them
    21               Deposition Exhibit No. 21, for                21   at the time, but for the average for the past
    22               identification, as of 01/07/2019.)            22   12 months, they were larger.
    23   BY MR. KAWAMOTO:                                          23       Q. Yes.
    24      Q. So this is an e-mail chain between you and          24           And so if you look at the past, the

                                                      Page 247                                                          Page 249
     1 Jim Rausch and it is Bates numbered MNK-T1 264901.           1   12-month average, they are -- they are over triple or
     2       A. Okay.                                               2   they are close to triple that average, right, I mean,
     3       Q. Okay. So the bottom e-mail is a little              3   comparing 12,084 to 4,620, or 25,000 to 3,600, or
     4   confusing, but I -- my understanding based on the          4   85,000 to 28,000, you know, they are -- they are
     5   context is that it's a combination of his e-mail to        5   several -- they are several times larger than the --
     6   you and your response to him, is that your                 6   the 12-month average?
     7   understanding as well?                                     7      A. Or, well, she said the average I ran was
     8       A. I understand why that was -- it was                 8   over a year, so it could have been more than 12. We
     9   confusing to me as well, but in reading the e-mails,       9   don't really know that.
    10   it does look like -- the part "I looked back to the       10      Q. And so your response -- what is your
    11   past two months" appears to be my -- my language for      11   response at the very top of the page?
    12   the first two, and then "they have ten days on hand"      12      A. Would you like me to read it?
    13   appears to be my response to him for the third line.      13      Q. Yes, please.
    14       Q. Okay. So that's my understanding as well.          14      A. Okay.
    15           So, in terms of this e-mail, Jim is               15           "Their orders were severely depressed for
    16   identifying three different orders for you, and he has    16   the first quarter of the calendar year as they were
    17   got -- he has identified one as 85301, the -- I           17   bleeding down inventories. If you incorporate those
    18   believe the order amount is 12,084 --                     18   orders into the average, the average is going to look
    19       A. Uh-huh.                                            19   light. The orders that you listed below do not appear
    20       Q. -- and the average is 4,620.                       20   to be out of line."
    21           Is that your understanding?                       21      Q. And when you say they "do not appear to be
    22       A. Right. So he is saying the order was for           22   out of line," they do not appear to be out of line in
    23   12,000 and the average order is -- or the average         23   light of?
    24   demand is 4,600.                                          24      A. Well, I said, "If you incorporate

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     1   those...average, the average is going to look light."        1   quarter of the calendar year, essentially?
     2   I said: "The orders that you listed below do not             2       A. If you read this sentence, I wouldn't say
     3   appear to be out of line." So that would have meant          3   I was discounting it, but I was taking into account
     4   out of line with the average order history.                  4   that their orders were severely depressed during the
     5       Q. Well, and I -- I guess -- I guess when you            5   first quarter of the calendar year. And so if you
     6   say they are not out of line, what is your reference         6   incorporated that into the average, the average is
     7   point to the "out of line"? Meaning they are -- they         7   going to look light, it was going to not be reflective
     8   are clearly greater than the -- significantly greater        8   of the business that they were actually doing with us.
     9   than the 12-month average, so what --                        9       Q. Or the business that they were doing with
    10       A. They are greater than the 12-month                   10   you for the past two months, though, because isn't
    11   average.                                                    11   that what your e-mail response is?
    12       Q. -- what is your baseline?                            12       A. I said if their order -- I don't know how
    13       A. Yeah, so I think I address that in the               13   to be more frank with you. I'm sorry.
    14   first sentence: "Their orders were severely depressed       14           "If you incorporate those orders into the
    15   for the first quarter of the calendar year," which it       15   average, the average is going to look light." So that
    16   would have been -- so we are in -- we are in month          16   indicates that if you put them -- or you take them
    17   nine of 2010, so the first quarter of the calendar          17   back out of the average, then I feel comfortable with
    18   year "as they were bleeding down inventories. If you        18   the volumes being in line.
    19   incorporate those orders into the average, the average      19           The other piece of this that you don't
    20   is going to look light."                                    20   know: "Their orders were severely depressed for the
    21       Q. And so your solution or your analysis was            21   first quarter of the calendar year, they were bleeding
    22   to just look back at the past two months?                   22   down inventories," that can mean a number of things if
    23       A. Well, I think I -- what I did was I --               23   you look at that. It could mean that we just won
    24   after I ran it for the past two months and then I went      24   their business and they were transitioning and their

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     1 back, if you say: "Their orders were severely                  1   orders were light with us as they bled down
     2 depressed for the first quarter of the calendar year           2   inventories of the competition. I mean, it is
     3 as they were bleeding down inventories," you can see           3   impossible to tell without having additional context.
     4 from that sentence that I went back and looked further         4   And unfortunately, when I wrote this e-mail, I didn't
     5 back at the sales.                                             5   include the Excel sheet to support it. So unless I
     6           I think this is also a really good                   6   have that, I can't give you any more specifics than
     7 document to show the push and pull between customer            7   what I've just shared with you.
     8 service, the questions that we got back and forth, of          8      Q. But the whole purpose of giving a yearlong
     9 me saying that to them and them saying, Hey, look,             9   average is that it takes into account both the large
    10 maybe that's not good enough. Can you relook at it            10   orders and the smaller orders, right, isn't that why
    11 again. So I think this is actually a good example of          11   you are doing that?
    12 the discussions that we would have prior to releasing         12      A. But -- but what if we had just
    13 orders.                                                       13   transitioned the business to us. I don't know that
    14     Q. Well, and where -- where does it indicate              14   from this e-mail. And if that was the case, then if
    15 that you are going back, you are taking into account a        15   you take into account the time where they were
    16 broader than one-year time period?                            16   bleeding down inventories, as they bled down their
    17    A. So, I said: "Their orders were severely                 17   inventories, they wouldn't have been ordering as much
    18 depressed for the first quarter of the calendar year."        18   from us and, therefore, it doesn't affect -- it
    19 So that would have been way more than two months prior        19   doesn't mean that they don't have sales out to their
    20 to September 17th, 2010, which is evidence to me that         20   customers. It just means that they are not ordering
    21 I went back and I looked at their total ordering              21   the product from us. And so it would be unfair to
    22 pattern, and I said: "The orders that you listed              22   incorporate those down months into the average and
    23 below do not appear to be out of line."                       23   penalize them on their orders in the month of
    24     Q. Because you were discounting the first                 24   September.

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     1       Q. Well, I don't know if the purpose is to               1 customer before they would need to order more product
     2   penalize them or not penalize them. I think the              2 from us.
     3   purpose is to identify significant increases and then        3           So their ordering pattern, even know their
     4   scrutinize the basis for those increases, isn't that         4   true demand to their customers had not changed,
     5   fair?                                                        5   because of their inventory management strategies, how
     6       A. And I think that that's what this document            6   much they were ordering from us could have changed.
     7   shows, yes.                                                  7   And so if they were working through inventory, let's
     8       Q. Okay. So you have a yearly average which              8   say if they had an excess of inventory of our product,
     9   is --                                                        9   they had an excess if they had transitioned from us --
    10       A. That -- that incorporates -- that                    10   from another manufacturer to us, then they would need
    11   incorporates a quarter of them bleeding down                11   to work through that inventory.
    12   inventories, which we are not certain if that is our        12           So I was looking at the first quarter of
    13   products or someone else's, yeah.                           13   the calendar year and I was looking at their
    14       Q. And I'm sorry. When you say that this                14   inventories, because we did have visibility to our
    15   incorporates a quarter of them bleeding down                15   inventory with them. And you are able to see that
    16   inventories and you are not certain if that is your         16   their ordering pattern was depressed during that
    17   product or someone else's, what do you -- what do you       17   timeframe. So their demand to their customers hadn't
    18   mean by that?                                               18   necessarily changed, but their ordering pattern to us
    19       A. So what this e-mail doesn't tell you, and            19   wasn't reflective of that demand.
    20   that's why it is dangerous to take it out of context,       20           So that's why I excluded it from the
    21   what this e-mail doesn't tell you is it says that the       21   analysis whenever I was talking to him about using the
    22   "orders were severely depressed for the first quarter       22   12-month average here. I don't --
    23   of the calendar year as they were bleeding down             23      Q. And so part of your analysis, though,
    24   inventories."                                               24   depends on why they were bleeding down inventories, is

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     1           Now, what I don't know is did we just win            1 that fair? Their orders were severely depressed for
     2   the business from another manufacturer at that point         2 the first quarter of the calendar year but part of
     3   and they were bleeding down that current                     3 that turns on why they were severely depressed, is
     4   manufacturer's inventories as they transitioned to us,       4 that a fair statement?
     5   had we just won the business? I -- I don't know that         5      A. Their orders were -- I don't know. I'm
     6   from looking at this e-mail. So it is tough for me to        6   sorry. I'm -- their orders were severely depressed.
     7   answer -- answer that question.                              7   So in terms of inventory management, when you have an
     8      Q. Well, but why -- why would -- why would                8   excess of inventory, you are not going to be ordering
     9   that make -- I'm -- I'm sorry. I'm not trying to be          9   more of it.
    10   difficult. But why -- why would that make a                 10           So we had visibility into Cardinal's
    11   difference in terms of assessing whether -- whether         11   inventories at least particularly for our product, and
    12   they are -- their -- their order is a significant           12   we could have discussions with them about reasons why
    13   increase over, you know, their prior history looking        13   they might not have been ordering, and I don't know
    14   back over an extended time period?                          14   what that was because I don't have the context. All I
    15      A. So if an account has inventory on hand --             15   have is this e-mail.
    16      Q. Uh-huh.                                               16           But what I'm trying to say to you is just
    17      A. -- if they have excess inventory on hand,             17   because they weren't ordering from us in the first
    18   they are still selling out to their customers, that         18   quarter of the calendar year doesn't mean that they
    19   demand is still legitimate. They could still be             19   didn't continue to have the same demand to their
    20   selling out or let's say real, that demand is -- could      20   customers. So I could not take their ordering pattern
    21   be 15,000 bottles a month, right. But let's say they        21   from that first quarter and use that as an indication
    22   are sitting on, I don't know, 50,000 units of               22   for what their true ordering pattern was as an average
    23   inventory at their DC, so they would need to work           23   rule of thumb, and that's why it was problematic when
    24   through that inventory and sell through it to their         24   you used the past 12 months and didn't account for

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     1   that depression in the first quarter.                         1 BY MR. KAWAMOTO:
     2       Q. So would one solution, though, to have                 2       Q. Well, is --
     3   been to have gone back further than 12 months? I              3       A. I guess I am confused about your
     4   mean, Cardner [sic] is a -- Cardinal is a major --            4   questions.
     5       A. It --                                                  5       Q. My -- my questions are -- are sort of
     6       Q. -- distributor, it's a major client?                   6   going to both, which is you go back two months and
     7       A. Right.                                                 7   that's not -- and Jim has concerns about that.
     8            And I would -- I would argue with you that           8       A. Um-hum.
     9   I -- I did. So we went back two months initially and          9       Q. So your response to him is to say, Well,
    10   then it looks like we did go back 12 months and that's       10   the orders were severely depressed for the first, you
    11   how I was able to identify that the first quarter was        11   know, the first few months of this calendar year.
    12   an anomaly that needed to be removed.                        12       A. Um-hum.
    13       Q. But instead of doing two months as -- two             13       Q. And so this average, you know, doesn't
    14   months versus 12 months, couldn't you have tried             14   reflect their current demand.
    15   doing, for example, 24 months?                               15           And I guess if -- if the concern is that
    16       A. So I did do two months and then you see               16   the 12-month average isn't the adequate baseline, why
    17   Jim pushing back saying that's not very far back. So         17   not use a broader, longer average, for example,
    18   this to me is a document of evidence of the system           18   24 months?
    19   working. I pulled two months. He said, Hey, Kate,            19       A. Do you know how dynamic the generic
    20   that's probably not enough. You should probably look         20   industry is and especially, like, with regards to
    21   at it further back, and then I did. So this was the          21   Cardinal? So within 20 -- so much could have changed
    22   back and forth which is evidence of the system, to me,       22   in -- within 24 months. I would -- you would never go
    23   working because there was dialogue there.                    23   back that far because it could not be indicative of --
    24       Q. And when you say you looked further back,             24   I mean, we could have picked up the business with

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     1 you are getting that from your e-mail from the fact             1   Cardinal during that timeframe, Cardinal could have
     2 that you are saying that the first quarter of the               2   picked up new accounts during that timeframe,
     3 calendar year they were bleeding down inventories.              3   24 months, it would be -- would not be indicative of
     4          That -- that -- that's your basis for                  4   current business today.
     5 saying you looked back?                                         5           In looking at this, their demand to us was
     6      A. That's all that I have to go on because                 6   light in the first quarter because they had excess
     7 that's the only e-mail documentation you've provided            7   inventory that they were selling through. If you
     8 me to.                                                          8   incorporated the first quarter into the average,
     9       Q. Well, I'm -- I'm trying to -- I mean, so               9   then -- then the numbers that they were ordering as of
    10   is -- are -- are you saying one of the things that is        10   September 17th, 2010, would look large.
    11   possible is you went and you recalculated the average        11           My response back to him is if you take
    12   over 24 months, is that...?                                  12   that out, the orders that you listed below do not
    13       A. I can't answer that, because I don't know.            13   appear to be out of line. Unfortunately, I don't have
    14       Q. Okay. So it's entirely possible, then,                14   the document that shows the analysis of what I did.
    15   that you didn't go back further than a year, you just        15   So all I can tell you is based on this e-mail what
    16   looked at their ordering history and concluded that          16   I'm -- what I can guess.
    17   they were bleeding down inventories, right?                  17      Q. Okay. So if there actually was a
    18       MR. TSAI: Object to the form.                            18   significant increase in demand over the past three
    19           Go ahead.                                            19   months --
    20   BY THE WITNESS:                                              20      A. Not necessarily.
    21       A. Yeah. Is -- is your issue the fact that I             21      Q. -- but if there was, should that have been
    22   used two months initially or is the issue that the           22   investigated?
    23   12-month average might have been less than these order       23      A. It should have been investigated at that
    24   quantities back here?                                        24   point.

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     1     Q.    Okay.                                                 1       A. I -- I couldn't possibly -- I couldn't
     2     MR. TSAI: We have been going about an hour, can             2   answer that question. I don't know. I don't --
     3 we take a quick break?                                          3       Q. Okay. So what was the point of doing due
     4     MR. KAWAMOTO: Sure, why don't we take a break.              4   diligence if the order had already shipped?
     5     THE VIDEOGRAPHER: Standby. Remove your                      5       A. We wanted to -- I -- I can't tell you what
     6 microphones.                                                    6   Brenda -- I can't -- I -- I don't know.
     7          The time is 3:27 p.m. Off the record.                  7       Q. Okay. And you don't -- you don't have any
     8            (WHEREUPON, a recess was had                         8   recollection of how often you were asked to due
     9             from 3:27 to 3:42 p m.)                             9   diligence -- to do due diligence on orders that had
    10     THE VIDEOGRAPHER: Okay. We are back on record.             10   already shipped?
    11 The time is 3:42 p m.                                          11       A. We had the suspicious order monitoring
    12     THE WITNESS: Do you want to shut the door?                 12   program in place and from that, you know, we had a
    13     MR. JOHNSON: Sure, I've got it.                            13   process that we followed. I don't know how -- I don't
    14            (WHEREUPON, a certain document was                  14   know why in particular the timing of it. It is also
    15             marked Mallinckrodt - Neely                        15   interesting from September 3rd to September 14th, but
    16             Deposition Exhibit No. 22, for                     16   I couldn't answer if -- you know, no, I don't know if
    17             identification, as of 01/07/2019.)                 17   this happened with other orders or not.
    18 BY MR. KAWAMOTO:                                               18       Q. And you said the timing is interesting.
    19     Q.    So, Ms. Neely, this is an e-mail chain               19   Why is that?
    20 which you are copied on, at least for some of them.            20       A. Because it looks like I -- I missed the
    21     A.    Uh-huh.                                              21   ball in terms of responding, so I -- I was late in my
    22     Q.    The Bates number is MNK-T1 265090.                   22   response to her.
    23     A.    Okay.                                                23              (WHEREUPON, a certain document was
    24          Okay.                                                 24               marked Mallinckrodt - Neely

                                                           Page 263                                                        Page 265
     1       Q. Okay. So I want to direct your attention               1              Deposition Exhibit No. 23, for
     2   to the middle e-mail on 265091.                               2              identification, as of 01/07/2019.)
     3       A. Um-hum.                                                3   BY MR. KAWAMOTO:
     4       Q. It is from Brenda Rehkop to you.                       4       Q. This is another e-mail chain. It is Bates
     5          And who is Brenda?                                     5   numbered MNK-T1 280580.
     6       A. Brenda was a customer service                          6       A. Okay.
     7   representative.                                               7       Q. And is this another -- well, could you
     8       Q. Okay. And her e-mail reads:                            8   please review the e-mail and let me know when you are
     9          "Kate, Have you had a chance to look at                9   done?
    10   this? The order already shipped, but we do have to do        10       A. Um-hum.
    11   our due diligence to validate all orders on the              11          Okay.
    12   report. Please let me know."                                 12       Q. Okay. And so I'm just trying to
    13          So does -- does this indicate that the due            13   understand the process of -- of what's occurring here
    14   diligence or essentially the SOM due diligence is            14   with respect to this order.
    15   being done after an order has shipped?                       15          It's -- so focusing on the top e-mail from
    16       A. It looks like on this one in particular               16   Brenda to -- to Karen, it says:
    17   the order did ship.                                          17          "I know we already talked about this, but
    18       Q. And when you say "on this one in                      18   here is my response in writing, just in case you need
    19   particular," what -- what does that mean?                    19   it. Per Kate's e-mail I assumed these orders would be
    20       A. It means that the order that we are                   20   held on backorder. These appear to have been manually
    21   looking at on this e-mail, it is the only one we have        21   allocated by Kate's instruction on Thursday, 10/21 and
    22   in front of us, but it looks like it did ship, yes.          22   shipped Monday 10/25. (The peculiar order report runs
    23       Q. Okay. And do you have any eye -- any                  23   a day late, so these were allocated before they
    24   sense of -- of how often this occurred?                      24   appeared on the report)."

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     1       A. Um-hum.                                               1 doesn't tell me if or -- if that occurred or not, and
     2       Q. And so what -- what is the issue that                 2 so that's -- that's the challenging piece again of
     3   Brenda is trying to raise?                                   3 only having this e-mail and not having the actual
     4       A. So her e-mail says:                                   4 documentation to support it.
     5          "These appear to have been manually                   5      Q. But if, in fact, they were shipped for the
     6   allocated by Kate's instruction on Thursday,                 6   full amount, then that would be an example -- like an
     7   October 21st, and shipped Monday, October 25th," and         7   instance in which orders were shipped before the SOM
     8   then she says: "The peculiar order report runs a day         8   due diligence was complete?
     9   late. So they were allocated before they appeared on         9      A. I -- I think we need to be really careful
    10   the report."                                                10   with -- with answering "if" statements or "if"
    11          So if you look to the timing of my e-mail,           11   questions. That's a lot of speculation, again, in
    12   she e-mailed me on October 22nd and the allocations         12   that question.
    13   have been communicated on October 21st.                     13           So because I don't know what the
    14       Q. Okay. And your -- your e-mail response to            14   quantities there were that were shipped against it, so
    15   her, which is in the middle of the Page 20 -- 280581.       15   part of it would have been the evaluation of their
    16       A. Um-hum.                                              16   average order quantities and then allocating against
    17       Q. You say:                                             17   their orders based on that. So since I don't have
    18          "These appear to be orders for their four            18   that in this e-mail, I don't know -- I can't answer
    19   DCs and are above and beyond their average demand."         19   that question.
    20       A. Uh-huh.                                              20      Q. Do you recall any instances where an order
    21       Q. "I foresee that we will be back ordering             21   was shipped and it was subsequently determined to have
    22   these orders at least in the short term. I will have        22   been suspicious?
    23   a better answer for you after we meet as a team next        23      A. I don't have a recollection of that
    24   Wednesday to determine what our customer allocations        24   happening.

                                                         Page 267                                                          Page 269
     1   are going to be."                                            1       Q. And you would agree that as a general
     2       A. Um-hum.                                               2   matter, though, it would be problematic to ship orders
     3       Q. So these were orders that should have been            3   before completing the due diligence -- the suspicious
     4   subject to the SOM program, is that correct?                 4   order due diligence as a general statement?
     5       A. Well, they were part of the peculiar                  5       A. We --
     6   ordering report, so yes.                                     6       MR. TSAI: Object to the form.
     7       Q. But they were shipped before that -- that             7           Go ahead.
     8   due diligence was complete?                                  8   BY THE WITNESS:
     9       A. So they say they were manually allocated.             9       A. Yeah, we -- we had a suspicious order
    10   What I don't know is if they were shipped in full or        10   monitoring program in place that we were to adhere to.
    11   if they were partially shipped. I don't have that           11   BY MR. KAWAMOTO:
    12   information on this e-mail.                                 12       Q. And that suspicious order monitoring
    13       Q. And so is -- is this potentially another             13   program would presumably require the due diligence be
    14   incidence of an order being shipped before the due          14   done before the order was shipped?
    15   diligence was done?                                         15       A. I -- again, we've talked about the program
    16       A. Not necessarily, no, because I don't have            16   itself and it has been, what, seven, eight years ago,
    17   what the quantities were that were shipped against          17   I don't remember the details around it.
    18   what they -- what they ordered.                             18       Q. Well, can -- I mean, can you -- can you
    19       Q. And so are you -- are you -- are you                 19   think of any logical explanation for why it would be
    20   saying that one of the things that might have happened      20   okay to ship orders before completing the SOM due
    21   is you might have only shipped up to the amount             21   diligence?
    22   consistent with their average?                              22       A. I -- I think, again, this has been a long
    23       A. I think that that's speculation, so we               23   time ago, that would be sheer speculation on my part
    24   need to be really careful with that, but this e-mail        24   and I don't feel comfortable in answering that.

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     1       Q. So just so I'm clear, though, your                     1 is?
     2   testimony is you -- you don't re -- you're not sure           2       A.    I do.
     3   whether there was a requirement that the due diligence        3       Q.    Okay. And who is he?
     4   be done -- the suspicious order monitoring due                4       A.    David Irwin was a national account manager
     5   diligence be done prior to shipping the order, you            5 for us at Mallinckrodt.
     6   just -- you can't recall whether that was -- whether          6       Q.    Okay. And based on this e-mail, Heather
     7   that was a component of the program or not?                   7 Goodman is asking for a delivery to a pharmacy for her
     8       A. Again, we had a program in place that --               8 aunt of 1500 oxycodone 15-milligram pills, is that
     9   that was, you know, we had a program in place, but as         9 accurate?
    10   far as the details of it, it has been so long since I        10       A.    That's what the e-mail says, yep.
    11   was involved in this, I don't have a recollection of         11       Q.    And then this is Dave Irwin to you cc'ing
    12   what the details were.                                       12 Victor Borelli and John Adams.
    13       Q. Okay.                                                 13            And do you see this -- do you see the
    14           But we just saw a document where it                  14 e-mail? It's on the bottom of Page 560773.
    15   appears that an order was shipped prior to due -- the        15       A.    The one from Dave Irwin to me?
    16   due diligence being completed?                               16       Q.    Yes.
    17       A. We did.                                               17       A.    Yes.
    18       Q. And you don't have any sense of how often             18       Q.    Okay. And so can you read that, please?
    19   that occurred?                                               19       A.    "Kate: Here is the info we talked about
    20       A. We addressed the fact. So you're asking               20 earlier. Is there something I can do to help out from
    21   me if that was part of our program?                          21 this point on? Heather Goodman used to report to
    22       Q. Well, I'm asking you if it was a -- a rare            22 Craig Cowman, who referred her to us. You may want to
    23   occurrence, a routine occurrence?                            23 let Mike know what's going on.. he will see Craig at
    24       A. You asked me if it was part of our program            24 NACDS in two weeks.

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     1   and I'm telling you I'm not certain because I don't           1          "Vic: Thanks for helping set this up. It
     2   remember the details of our program.                          2   sounds like it is much appreciated."
     3           Now, whether or not it was a rare                     3      Q. And who is -- who is -- do you know who
     4   occurrence, a frequent occurrence, the occurrence             4   Craig Cowman is?
     5   rate, I shared with you previously I don't have -- I          5      A. I do.
     6   don't -- I don't have the information. I can't                6      Q. Who is he?
     7   possibly answer that question. I don't know if it was         7      A. So Craig Cowman is, I believe, a senior VP
     8   a rare or if a -- I -- I don't know.                          8   the Cardinal.
     9              (WHEREUPON, a certain document was                 9      Q. Okay. And when he references "you might
    10               marked Mallinckrodt - Neely                      10   want to let Mike know what is going on," who is Mike?
    11               Deposition Exhibit No. 24, for                   11      A. So Mike Gunning was the -- the person we
    12               identification, as of 01/07/2019.)               12   spoke about earlier who was the head of sales and
    13   BY THE WITNESS:                                              13   marketing.
    14       A. Thank you.                                            14      Q. Okay. So Heather Goodman used to work for
    15   BY MR. KAWAMOTO:                                             15   Craig Cowman at Cardinal and she is asking if you can
    16       Q. So this is another e-mail chain. Its                  16   arrange to have 1500 oxy 15-milligram pills shipped to
    17   Bates number is MNK-T1 560771.                               17   a pharmacy for her aunt, is that --
    18       A. Okay.                                                 18      A. That's correct.
    19           Okay.                                                19      Q. -- that's accurate?
    20       Q. Okay. So the bottom e-mail is an e-mail               20      A. Uh-huh.
    21   from Heather Goodman to David Erwin.                         21      Q. Okay. And so your response to Dave is:
    22           Do you know who Heather Goodman is?                  22          "I have spoken with Victor and he thinks
    23       A. I don't.                                              23   he can make this happen. Two cases per month to the
    24       Q. Okay. And -- but you know who David Irwin             24   below pharmacy. He is working on it and should have

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     1   an answer shortly."                                              1 that qualifies as a lot. So I -- I don't know that we
     2           Do you see that?                                         2 can answer that.
     3       A. I do.                                                     3       Q. Okay. But you don't think there is
     4       Q. Now, do you recall this e-mail exchange?                  4   anything improper for a generic salesperson to arrange
     5       A. I don't.                                                  5   for the delivery of oxycodone to a -- a relative of a
     6       Q. Okay.                                                     6   colleague?
     7       A. It is unique, I can tell you that.                        7       A. So, it wasn't an arrangement of a delivery
     8       Q. And then there is an e-mail from Dave to                  8   to -- to a relative. It was an arrangement of a
     9   you and Victor?                                                  9   delivery to Dane Drugs, which is a drugstore that's
    10       A. Um-hum.                                                  10   serviced by, it looks like -- let's see here -- at
    11       Q. Cc'ing John Adams.                                       11   this point Keysource Medical. So I think we need to
    12           "I'm sure I'll be talking to Heather                    12   clarify that the delivery was to the drugstore, not to
    13   Goodman later today so I can clarify this, but I did            13   the aunt, that the aunt had a prescription that she
    14   the math in my head yesterday and this equates to 50            14   then had to take to the drugstore to have filled.
    15   tablets per day. Is that even possible?"                        15       Q. And this is occurring in April of 2010 and
    16       A. I see that.                                              16   it is going to Keysource?
    17       Q. Okay. So, I mean, 50 tablets per day is                  17       A. It is actually April of 2009, not 2010.
    18   an -- is an unusually -- or is an abnormally high               18       Q. Okay. It is April of 2009. But, I
    19   amount for a patient, isn't it?                                 19   mean --
    20       A. I -- I don't know.                                       20       A. Prior -- prior to us having -- prior to --
    21       Q. Okay.                                                    21   prior to 2010, which was when the escalation of
    22       A. I can't speak to what her situation was or               22   discussion around pharmacies and Keysource occurred.
    23   the -- the conversations that she and her doctor had.           23       Q. And Keysource was cut off?
    24   I -- I don't know.                                              24       A. In the fall of 2010, yes. But this is

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     1     Q.    Well, but do you know if anyone responded                1   April of 2009, which is well over a year prior to
     2 to Dave as to whether it's -- it's possible for                    2   those events transpiring.
     3 someone to be consuming 50 tablets a day?                          3      Q. And so you didn't have any concerns or any
     4     A.    I -- I don't know if anyone did respond.                 4   issues with this order?
     5 If they did, it is not in this e-mail chain.                       5      A. We don't appear to, no.
     6     Q.    Okay.                                                    6      Q. Well, I -- in particular, you didn't
     7     A.    I don't think that, you know, it was up to               7   appear -- you didn't have any concerns either?
     8 us to question the amount that -- that she was being               8      A. It doesn't appear that there were concerns
     9 prescribed. Again, that was -- that was the                        9   around it, no.
    10 conversation that she had with her doctor at that                 10      Q. Okay.
    11 point.                                                            11      A. I think, to clarify -- well, no.
    12     Q.    Well, when you say it is not up to you to               12             (WHEREUPON, a certain document was
    13 question the amount, though, I mean, you didn't know              13              marked Mallinckrodt - Neely
    14 Heather Goodman and you don't know Aunt Sandra and she 14                         Deposition Exhibit No. 25, for
    15 is -- she is ordering 1500 oxy 15 pills.                          15              identification, as of 01/07/2019.)
    16          So, you know, is it -- given that she is                 16   BY THE WITNESS:
    17 asking Mallinckrodt to supply this, you know, isn't --            17      A. Okay.
    18 shouldn't Mallinckrodt be taking steps to make sure               18   BY MR. KAWAMOTO:
    19 that this is a legitimate order?                                  19      Q. Okay. So, directing your attention to the
    20     A.    So if she has a prescription from her                   20   very bottom e-mail in the chain, it's -- well, my
    21 doctor for this that she takes to the pharmacy to be              21   apologies.
    22 filled, what drove that prescription and the                      22          This is an e-mail chain that is largely
    23 conversation that she had, we don't know, and I don't             23   between you and -- and -- of Victor Borelli and Karen
    24 also know if 50 tablets per day is -- is a lot, if                24   Harper, though there are others on it as well.

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     1       A. Uh-huh.                                               1 concern because the e-mail said it led us to do a more
     2       Q. The Bates number is MNK-T1 387434.                    2 in-depth analysis. We specifically focused on those
     3       A. Uh-huh.                                               3 two, but it doesn't necessarily mean there was a
     4       Q. And then directing your attention to the              4 concern. It is just that we saw that segmentation
     5   e-mail to the bottom, which is 387435.                       5 appear within the Harvard and Sunrise and so we did an
     6       A. Okay.                                                 6 analysis to see if there was a trend across other
     7       Q. Do you see the paragraph that reads: "The             7 source programs.
     8   two wholesaler/distributor license suspensions"?             8     Q. Well, and then your -- your top e-mail on
     9       A. Yes.                                                  9 387434, which is you to Karen Harper cc'ing JoAnne and
    10       Q. Okay. So could you please read that                  10 Victor, and the -- the e-mail is actually addressed to
    11   paragraph for me?                                           11 Victor.
    12       A. Sure.                                                12      A. Uh-huh.
    13           "The two wholesaler/distributor license             13      Q. It says:
    14   suspensions led us to do a more in-depth investigation      14           "Vic, The e-mail below refers to doctors'
    15   of Covidien's oxycodone sales in the State of Florida.      15   offices and pain clinic, the segmentation utilized was
    16   We specifically focused on doctors' offices and pain        16   not an addiction treatment clinic."
    17   clinics. It appears that Harvard and Sunrise were the       17           So this indicates that you performed this
    18   dominant players in this market with over 50 percent        18   screen on Keysource for the non-addiction treatment
    19   of their total sales coming from this market.               19   clinic category, is that fair?
    20   H.D. Smith, Keysource and McKesson One Stop are next        20       A. Well, it -- it definitely says that in the
    21   with only 3 percent of their total sales coming from        21   e-mail that you just had me read, so H.D. Smith,
    22   doctors' office and pain clinics."                          22   Keysource and McKesson are next with only 3 percent of
    23       Q. Okay.                                                23   their total sales coming from those two segmentations.
    24           And so we had a prior discussion about a            24      Q. Okay. And what was the concern with

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     1   document relating to doctors' offices and pain               1 respect to pain clinics?
     2   clinics.                                                     2     A. I don't know that there was a specific
     3       A. We did.                                               3 concern.
     4       Q. And part of that discussion involved sort             4     Q. Okay. What -- why focus on pain clinics
     5   of if there were sort of categorical concerns?               5 then?
     6       A. Um-hum.                                               6     A. Because we had two accounts that had a
     7       Q. So, you know, does this e-mail refresh                7 portion of their sales coming from those two
     8   your recollection as to whether there were categorical       8 segmentations and so it was curious and so we started
     9   concerns with respect to doctors' offices and pain           9 to do a deeper dive into other business.
    10   clinics?                                                    10     Q. But Harvard and Sunrise had other
    11       A. In terms of the evaluation here, well, we            11 categories of customers aside from doctors and pain
    12   saw that Harvard and Sunrise were shut down.                12 clinics, correct?
    13   Investigating them, it showed that their sales were         13     A. Well, they would have had to have because
    14   coming from doctors' offices and pain clinics. And so       14 only 50 percent of their total sales were coming from
    15   that spurred us to see if other wholesalers and             15 the other two.
    16   distributors were picking up those sales through            16     Q. And you didn't focus on any of those
    17   doctor office -- doctors' offices and pain clinics.         17 categories, so what was -- what made doctors' offices
    18   So it shows that we did that analysis.                      18 and pain clinics worthy of special attention?
    19       Q. And it was an analysis that was broader              19     A. To be honest with you, I -- I don't know.
    20   than just the particular -- the specific doctors and        20 This was in June of 2010, and so this was just prior
    21   pain clinics that were being serviced by Sunrise and        21 to -- I mean, so as you remember, we shut down
    22   Harvard, it was a concern with, as a category, doctors      22 accounts in October of 2010. This was the beginning
    23   and pain clinics in Florida, is that fair?                  23 of us trying to evaluate what was going on. We
    24       A. I don't think we should categorize it as a           24 weren't sure what was happening. And it was my job to


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     1   try to slice and dice the data to try to see if we          1   segmentation breakdown existed with our other
     2   could tell any stories with it.                             2   wholesalers, which we didn't see.
     3       Q. And so it wasn't because pain clinics in             3       Q. Okay.
     4   Florida were a heightened risk of -- of diversion?          4       A. And I think it's also fair to indicate
     5       A. I don't remember. I don't recollect that,            5   that, you know, for Keysource only 3 percent of their
     6   no.                                                         6   sales were coming from non-addiction treatment
     7       Q. And it wasn't because, you know, supplying           7   clinics, yet they were one of the accounts that we
     8   directly to doctors' offices led to an increased risk       8   chose to shut down.
     9   of diversion?                                               9           So that clearly indicates that there were
    10       A. Well, I don't know that we have any proof           10   other classes of trade that they were servicing
    11   that supplying directly to doctor's office increased       11   outside of pain clinics that were of concern to us,
    12   or decreased diversion. It definitely isn't noted          12   which doesn't really support your question, your line
    13   here.                                                      13   of questioning, which is saying that we had concerns,
    14       Q. And just, you know, stepping back, as a             14   overarching concerns about pain clinics only, because
    15   general matter, you don't ever recall specific             15   here we shut down an account, you know, four months
    16   concerns at Mallinckrodt regarding pain clinics or         16   later where 97 percent of their sales did not come
    17   doctors' offices?                                          17   from pain clinics.
    18       A. Again, this has been eight, nine years              18           So that actually begs a question, you
    19   ago. I don't have a recollection.                          19   know, of why we are focusing and asking so many
    20       Q. And --                                              20   questions of me about whether pain clinics were of
    21       A. I think what you are seeing here is the             21   concern whenever clearly there were other areas of
    22   beginning of us trying to identify and -- and dig into     22   segmentations that were driving -- driving issues
    23   the data to see what was happening. This was June          23   within the Florida market.
    24   of 2010. And then you saw the end results of that          24       Q. In other words, you shut down Keysource

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     1 three, four months later when we were finally starting        1   even though only 3 percent or a relatively small
     2 to -- to get more clarification and by us shutting            2   amount were pain clinics and doctors, that's your --
     3 down these accounts, you know, these accounts. So I           3       A. It indicates --
     4 think this was the beginning of that analysis, but I          4       Q. -- your point?
     5 can't speak to pain clinics or doctors' offices               5       A. -- it indicates that there were larger
     6 specifically.                                                 6   issues outside of pain clinics. Whenever there was
     7       Q. And you don't have any -- you -- you don't           7   only 3 percent of Keysource's sales going to clinics,
     8   have any recollection of -- of why there was a focus        8   that means 97 percent of their sales were going to
     9   on non-addiction treatment clinics?                         9   other classes of trade within the State of Florida,
    10       A. That was a segmentation within our                  10   but yet we still deemed them unacceptable to ship to
    11   chargeback data. No, I don't know.                         11   starting in October of 2010, and we made that decision
    12       Q. So you -- you don't recall there being a            12   outside of the pain clinic segment being an issue,
    13   concern with an increased risk of diversion with           13   which indicates to me that although we were looking at
    14   respect to non-addiction treatment clinics?                14   the pain clinics as a potential here, because it did
    15       A. What it appears to me here is that Harvard          15   drive -- it looked like they drove sales for Sunrise
    16   and Sunrise had their DEA licenses removed. Whenever       16   and for Harvard, for Keysource in particular, they
    17   I ran the sales I saw that 50 percent of their sales       17   didn't, yet we still chose to shut them down, which
    18   were coming from two different segmentations and it        18   you are asking me, were we overly concerned with
    19   caused me to want to look at that, were there other        19   clinics, and I think this is telling --
    20   accounts, which I found was only 3 percent to their        20       Q. Well, to be -- to be clear --
    21   total sales. So it is just statement of fact here.         21       A. Let me finish. Let me finish.
    22           Now, I don't know why or if that was               22           And I think this is saying here that
    23   concerning at that time, but it was just strictly an       23   clinics within Keysource's business were relatively
    24   analysis that we performed to see if the same              24   small but yet we were still deeming them an issue or a

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     1   problematic customer to ship to as of October of 2010.        1   if you think we still need an investigation," an
     2       Q. Okay. So I'm going to move to strike the               2   investigation of what?
     3   portion of that answer that misstates my question, and        3       A. So it appears that I sent to him what
     4   I'm just doing that for the record.                           4   comprised the 3 percent of Keysource's sales. So that
     5           So it's -- it's fair to say, though, that             5   would be the -- the accounts listed on Exhibit 128560.
     6   the problem was broader than just pain clinics and            6       Q. And those would be the eight -- the eight
     7   doctors in Florida, is that -- is that a fair                 7   non-addiction -- non-addiction treatment clinics?
     8   statement?                                                    8       A. That were being serviced by Keysource.
     9       A. According to the data that we are looking              9       Q. Okay. And so was it up to Mr. Borelli to
    10   at here, we made the decision to shut down Keysource         10   determine whether or not he wanted to investigate this
    11   in October, so roughly, let's say, three to four             11   further?
    12   months after this analysis began, and only 3 percent         12       A. It was not, no.
    13   of their sales were coming from pain clinics.                13       Q. Okay. So then why are you asking him
    14           So it would indicate that we must have               14   if -- if he thinks we still need an investigation?
    15   found, which I don't know in the context of this             15       A. I honestly don't know.
    16   e-mail, that there were additional reasons outside of        16       Q. Do you recall what his response was?
    17   pain clinics to not want to ship particular                  17       A. I don't have any recollection, no.
    18   distributors.                                                18       Q. Do you recall if a -- an additional
    19       Q. Do you recall whatever -- what any of                 19   investigation occurred relating to this issue?
    20   those reasons were?                                          20       A. I don't know.
    21       A. I don't.                                              21       Q. You would a -- well, would you agree that
    22             (WHEREUPON, a certain document was                 22   it is problematic to ask the salesperson whether their
    23              marked Mallinckrodt - Neely                       23   account should be investigated?
    24              Deposition Exhibit No. 26, for                    24       MR. TSAI: Object to the form.

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     1              identification, as of 01/07/2019.)                 1          Go ahead.
     2   BY THE WITNESS:                                               2   BY THE WITNESS:
     3      A. Thank you.                                              3       A. Yeah, and I -- I think we need to be clear
     4   BY MR. KAWAMOTO:                                              4   and what's not clear in my e-mail. It says: "Just
     5      Q. So this is an e-mail exchange between you               5   sent you something on this. Check it out and see if
     6   and Mr. Borelli.                                              6   you think we still need an investigation."
     7      A. Um-hum.                                                 7          It is not clear to me who the "we" is. So
     8      Q. The Bates number is 44 -- Mallinckrodt T1               8   am I saying "we," as a collective with -- does
     9   449324.                                                       9   Keysource still need to do an investigation. Because
    10      A. Uh-huh.                                                10   you can see I followed the proper channels in the
    11      Q. And this e-mail is related to the last                 11   e-mail and Document 128560 where I sent it -- let's
    12   e-mail we looked at.                                         12   see here -- to -- to Karen Harper directly. So I
    13      A. Sure.                                                  13   addressed Vic, but I sent it directly to Karen Harper
    14      Q. If you look at the top e-mail from you to              14   and copied Vic and JoAnne Levy. So ultimately Karen
    15   Victor, it says:                                             15   is going to be the one in charge of determining if we
    16          "Just sent you something on this, check it            16   needed to look into it further on our end.
    17   out and see if you still think we need an                    17          And I was sending this to Vic, and I'm not
    18   investigation."                                              18   clear on the "we," if it is "we" as in Keysource still
    19          And in terms of what you sent him, it was             19   needs to do this or "we" as an internal group.
    20   presumably the information in the last document about        20          So Vic would never have been the one to
    21   the non-addiction treatment clinics.                         21   decide that. It would have been Karen Harper who
    22      A. Um-hum.                                                22   was -- the formal e-mail was sent to at 3:04:19 on
    23      Q. Right?                                                 23   June 25th.
    24          So, when you say: "Check it out and see               24   BY MR. KAWAMOTO:

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     1       Q. Do you know if Vic would have weighed in             1       Q. Okay. And so they sold approximately
     2   on that decision?                                           2   40,000 oxycodone last month --
     3       A. Vic could have opinions on it if he wanted           3       A. Uh-huh.
     4   to, but ultimately it was going to be Karen Harper's        4       Q. -- and they sold another 36,000 bottles
     5   choice on how we proceeded.                                 5   the month before?
     6              (WHEREUPON, a certain document was               6       A. Um-hum.
     7               marked Mallinckrodt - Neely                     7       Q. Okay. So in your opinion does this
     8               Deposition Exhibit No. 27, for                  8   explanation satisfy the customer -- satisfy Brenda's
     9               identification, as of 01/07/2019.)              9   question as to why they are ordering so much oxy?
    10   BY THE WITNESS:                                            10       A. I think this goes back to the conversation
    11       A. Okay.                                               11   we had of whether or not Victor influenced decisions,
    12   BY MR. KAWAMOTO:                                           12   and I say, Well, he could have an opinion but it
    13       Q. Okay. So this is an e-mail exchange                 13   ultimately would come back to compliance.
    14   between Brenda and you and others.                         14           So it's tough to say if Brenda thought it
    15           And this relates to a suspicious order,            15   satisfied or not or what the additional steps were
    16   does it not?                                               16   taken because all it says is: "FYI see Victor's reply
    17       A. It does.                                            17   below," and I don't know what happened after that
    18       Q. And it's -- it then -- it once again                18   fact.
    19   involves Keysource Medical.                                19       Q. Okay. In your opinion, should this
    20       A. It does.                                            20   increased demand in this large order have been
    21       Q. And so the -- the bottom e-mail of the              21   investigated further?
    22   chain is -- there is an order for 12,720 bottles of        22       A. It may have been investigated further.
    23   8B -- 853001 and 12,720 bottles of the same product        23       Q. Well, I understand it -- it may have been,
    24   SKU on July 2nd.                                           24   and I guess I'm -- I'm asking, you know, in your

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     1           Do you see that?                                    1 opinion, it -- it should have been as well?
     2       A. Um-hum, I do.                                        2       A.   That's -- that's tough for me to say. I
     3       Q. So they are asking, you know, for                    3 don't have all of the factors in front of me in terms
     4   essentially in two days to be shipped over                  4 of what the average demand had been for Keysource, how
     5   24,000 bottles?                                             5 this related to their average demand. I -- I don't
     6       A. Um-hum.                                              6 have that information.
     7       Q. Brenda is flagging this as a suspicious              7        So similar to the conversation we had
     8   order and then Victor Borelli responds.                     8 about Cardinal when you were asking me about their
     9           "Brenda, Oxy's movements through the                9 order patterns, short of having the numbers in front
    10   wholesaler and distributor accounts historically moves     10 of me, it is tough for me to tell you if this
    11   much faster in the beginning of the month due to           11 warranted an investigation or if one occurred after
    12   monthly quota allocations set by these customers to        12 it.
    13   their customers. As the month moves along, the             13       Q.   Well, focusing on the whether it warranted
    14   volumes, orders and movements should taper off quite a     14 an investigation, so they are asking -- I mean,
    15   bit. I am in a sales seminar for the next few days,        15 they -- they sold 40,000 bottles last month and --
    16   so if you could pull up Cognos on this SKU for KMI,        16    A. Uh-huh.
    17   you will see an extremely large growth at KMI on all       17    Q. -- 36 bottles the month prior?
    18   items, especially this one. I believe they sold            18    A. Um-hum.
    19   47,000 bottles last month and 36,000 bottles the month     19    Q. You know, that's -- given the volume they
    20   before."                                                   20 are selling?
    21           And when he says "especially this one" --          21       A.   Um-hum.
    22       A. Uh-huh.                                             22       Q.   Shouldn't someone have inquired as to who
    23       Q. -- he is referring to oxycodone, isn't he?          23 they are selling to, because this is in June of 2010?
    24       A. It appears so, yes.                                 24       A.   Sure. And I think that you see us

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     1   starting -- so, starting to do that over the course of       1   JDE, I believe is what they had, and you could have
     2   the next three months up until October when we did           2   referenced to see if an order had released.
     3   make the ultimate decision to shut them down.                3           But what that won't tell you, and you can
     4           So apparently -- I don't know when the               4   look at is that, what it won't tell you is what
     5   inquiries happened or when the investigation occurred,       5   investigation occurred between then and if the order
     6   but we did ultimately shut them down.                        6   did release. There is no -- I -- we don't -- there is
     7       Q. And with respect to this order, though,               7   nothing here for me to confirm that.
     8   you don't know if this order shipped with any                8       Q. Well, but the investigation would have
     9   additional investigation or not?                             9   been memorialized in the e-mail, is that correct?
    10       A. There is -- there is no -- I don't have              10       A. I -- I don't know. You are the one who --
    11   any visibility outside of the e-mail that you've            11   who did the e-mail discovery, so I -- I don't know.
    12   provided to me that says: "FYI see Victor's reply           12       Q. Well, just as a matter of practice and
    13   below."                                                     13   policy, because you are the Mallinckrodt employee, if
    14           If we had an e-mail response from Jim               14   there was an investigation, wouldn't it have been
    15   saying this order has been released then I could -- I       15   memorialized in a -- in an e-mail?
    16   could 100 percent tell you that, but I don't have any       16       A. I -- I -- I can't answer that.
    17   additional information outside of what you have             17       Q. There would be some record of it, wouldn't
    18   provided to me here.                                        18   there?
    19       Q. Okay. So if I wanted to determine whether            19       A. I -- I don't -- I don't know.
    20   in fact this order was shipped, where -- where --           20       Q. So it's possible that an investigation was
    21   where would I go to look?                                   21   conducted but no one documented it?
    22       A. If you --                                            22       A. I -- again, sir, I don't know. All I have
    23       Q. Yes.                                                 23   is this e-mail that we are looking at here.
    24       A. -- wanted to determine if this order was             24       Q. Well, I understand that, but based on your

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     1   shipped?                                                     1   experience working for Mallinckrodt --
     2       Q. If -- if I -- if I wanted to -- I mean, we            2      A. Uh-huh.
     3   have data from Mallinckrodt, we have documents from          3      Q. -- if an investigation is conducted into
     4   Mallinckrodt.                                                4   an order --
     5           Is there a database that would have -- I             5      A. Uh-huh.
     6   mean, just mechanically speaking, if I wanted to see         6      Q. -- there should be some record of it,
     7   whether or not this order shipped, how would I do            7   right?
     8   that?                                                        8      A. I -- I don't know. I think that we need
     9       A. I -- I have no idea what systems -- I have            9   to get back on focus here in terms of Keysource and
    10   no idea how you -- I have not been with the company         10   talking about this particular order.
    11   for eight years. I don't know.                              11           What I don't know is was this order
    12       Q. Okay. Well, I mean, if you were at                   12   excessive for them. I -- I don't know if the order
    13   Mallinckrodt today and you needed to find out whether       13   was released. What I can tell you is this was June,
    14   or not this order got shipped, I mean, how -- how           14   the end of June 2010 and less than four months later
    15   would you go about doing that?                              15   we had made the decision to cut them off.
    16       A. I -- I don't know what systems they are              16           So whether or not this particular order
    17   utilizing today. Mallinckrodt is a completely               17   was investigated, whether it was released, I -- I
    18   different company than it was eight years ago, so I --      18   don't know the answer to that. But what I can tell
    19   I don't know how I would do that today.                     19   you is sometime in those next four months an
    20       Q. Okay. Well, in 2010 -- or let's say in               20   investigation of this account did take place to the
    21   January of 2011, if you wanted to determine whether         21   point that we decided not to ship to them anymore.
    22   this order shipped, is there a database you could look      22      Q. But it's possible that you shipped to them
    23   at? Would it be --                                          23   based on this order and then cut them off later, is
    24       A. In June of 2010 you would have referenced            24   that --

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     1      A. That's a --                                            1   was available to Mallinckrodt at this time, wasn't it?
     2      Q. -- possible?                                           2       MR. TSAI: Object to the form.
     3      A. I -- that's a total possibility because I              3   BY MR. KAWAMOTO:
     4   don't know if the order shipped or not shipped. I            4       Q. You can answer.
     5   don't know what investigation was done in between the        5       A. Yeah. Oh, I understand that I can. Thank
     6   potential shipment. That's -- that's a huge                  6   you --
     7   hypothetical. I don't know that.                             7       Q. Okay.
     8      Q. Well, I'm --                                           8       A. -- for giving me permission.
     9      A. I think we are getting really hyper                    9          You know, in terms of the -- the
    10   focused on this and we need to look at the overarching      10   information that was available, I think that we talked
    11   scenario, which is the fact that we as a company did        11   about earlier how getting to the state level detail
    12   shut this account down, and this one in particular I        12   and digging to that was not something that we had
    13   think we've established I don't know what happened          13   utilized chargeback data for.
    14   with this order, I don't know if this order released,       14          As we had dug into the State of Florida,
    15   I don't know if an investigation was done, I don't          15   and you can see it over the timelines in the course of
    16   know if these quantities were deemed excessive based        16   this business, we had established that there were a
    17   on their order pattern history. I don't have that           17   large amount of sales going through Keysource. What
    18   information. So I'm not going to be able to answer          18   we didn't know was the end purchaser in Florida, if it
    19   any more questions than what I've already established       19   was warranted, if it wasn't, and so that was the
    20   for you with regards to this particular order.              20   investigation that took place over the next several
    21      Q. Well, in your opinion, wouldn't it be                 21   months to understand who the end purchaser was and
    22   problematic to send Keysource 25,000 bottles of oxy         22   ultimately led us to -- to discontinue them on this
    23   given that, you know, four months later you completely      23   particular product.
    24   shut them down?                                             24       Q. Okay. But with respect to the data, that

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     1       MR. TSAI: Object to the form.                            1   data was available in June of 2010, right?
     2   BY THE WITNESS:                                              2      A. The data was available.
     3       A. Yeah, I think that that's a -- that's a               3      Q. Okay. And, in fact, the data was -- would
     4   really, really bad question. We --                           4   have been available in June of 2009 as well?
     5   BY MR. KAWAMOTO:                                             5      A. We had chargeback data from -- from --
     6       Q. Well, I understand that --                            6   yes, we had chargeback data available.
     7       A. Excuse me.                                            7      Q. Okay. And you don't -- you don't recall
     8       Q. -- but I want -- I would like an answer.              8   how far back that chargeback data goes?
     9       A. I am going to answer it, don't worry about            9      A. I don't.
    10   that.                                                       10      Q. Okay.
    11           You know, you said wouldn't it be                   11             (WHEREUPON, a certain document was
    12   problematic to release an order and then four months        12              marked Mallinckrodt - Neely
    13   later make the decision to shut them down and what you      13              Deposition Exhibit No. 28, for
    14   are not accounting for are any of the activities that       14              identification, as of 01/07/2019.)
    15   occurred in those next four months.                         15   BY MR. KAWAMOTO:
    16           Hindsight is 20/20. So you look at this             16      Q. So, Ms. Neely, this is a chart that's
    17   and you say, Okay, had we known, we didn't know we          17   been -- that summarizes information we have extracted
    18   were going to shut them down in October because of an       18   from data provided by Mallinckrodt.
    19   investigation we did, we would have shut them down in       19      A. Um-hum.
    20   June. I mean, that's -- that's ridiculous.                  20      Q. The -- the actual spreadsheet is very
    21       Q. But the factors that you based your                  21   voluminous and its Bates number is MNK-T1 264293.
    22   decision to shut them down on, mainly, the large            22      A. Um-hum.
    23   amount they were supplying to Florida and the product,      23      Q. But this is a summary of the -- the oxy 15
    24   oxy 30, you know, there -- that was information that        24   and oxy 30 pills --

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     1       A. Um-hum.                                              1   wasn't with the company in 2011. I don't know what
     2       Q. -- that Mallinckrodt shipped to Keysource            2   transpired to lead to that decision.
     3   broken out by year.                                         3   BY MR. KAWAMOTO:
     4           Do you see that?                                    4       Q. Well, but you were there in 2010 when the
     5       A. I do.                                                5   decision was made to terminate them, weren't you?
     6       Q. Okay. And so, you know, you've stated                6       A. I was.
     7   repeatedly that Keysource was cut off in the fall           7       Q. Okay. And so based on your understanding
     8   of 2010, is that correct?                                   8   of that investigation, its conclusion and that
     9       A. I -- I think what I stated to you, because           9   decision --
    10   you asked the question, it showed that we cut them off     10       A. Uh-huh.
    11   for calendar year 2010 and then I stated to you that I     11       Q. -- can you imagine any reason why you
    12   left the company in January of 2011. So I think we         12   would want to start up with them again in 2011?
    13   need to be really clear on what I have stated to you.      13       MR. TSAI: Object to the form.
    14       Q. Okay.                                               14           Go ahead.
    15       A. I stated after I left the company I don't           15   BY THE WITNESS:
    16   know what they did or didn't do with Keysource as an       16       A. Yeah, I -- I can't speak to that. I have
    17   account.                                                   17   no eye -- I mean, I -- yeah, I have no idea what
    18       Q. But you repeatedly referenced the fact and          18   goes -- what is in this number, if it is all oxy 30,
    19   you repeatedly said that it is important to note that      19   is it oxy 30 and 15. Like, I -- I don't have the
    20   Keysource was cut off in the fall of 2010.                 20   backup of this analysis, so that's really, yeah,
    21           Do you recall that testimony?                      21   challenging to speak to.
    22       A. Well, they were cut off in the fall                 22       MR. KAWAMOTO: What exhibit is this?
    23   of 2010.                                                   23       THE COURT REPORTER: 29.
    24       Q. I'm sorry?                                          24       MR. KAWAMOTO: Okay. Thank you.

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     1       A. They were cut off in the fall of 2010.               1       THE WITNESS: Do you see that?
     2       Q. Yes. But if you look at the chart, in                2              (WHEREUPON, a certain document was
     3   2011 they were added back, weren't they?                    3               marked Mallinckrodt - Neely
     4       A. I can't speak to that because I wasn't               4               Deposition Exhibit No. 29, for
     5   with the company at the time.                               5               identification, as of 01/07/2019.)
     6       Q. Okay. Well, but this -- I mean, according            6   BY MR. KAWAMOTO:
     7   to the data that Mallinckrodt has produced, in 2011         7       Q. So this is an e-mail chain between you and
     8   they received 1,000,873 UOMs of oxy 15 or oxy 30.           8   others, it is Bates numbered MNK-T1 290546.
     9       A. Uh-huh.                                              9       A. Um-hum.
    10       Q. Do you see that?                                    10       Q. And I'd like to direct you to one of the
    11       A. I do.                                               11   pages towards the back. It is 290551.
    12       MR. TSAI: Object to the form.                          12       A. If you could just give me an opportunity
    13   BY MR. KAWAMOTO:                                           13   to read through the document, I'd appreciate it.
    14       Q. In your opinion, isn't that problematic             14       Q. Okay. So let me know when you are ready.
    15   given that based on the careful investigation you          15       A. I will.
    16   conducted in calendar year 2010 you -- you cut them        16           Okay.
    17   off?                                                       17       Q. Okay. So, the -- the starting or one of
    18       A. I --                                                18   the starting e-mails is 290551 and it's from -- it's,
    19       MR. TSAI: Object to the form.                          19   I think, either forwarding you or a response to an
    20           Go ahead.                                          20   e-mail from Charity Aranda.
    21   BY THE WITNESS:                                            21           Do you know who Charity was?
    22       A. Yeah, I can't speak to that. This is my             22       A. Charity was the supply chain analyst
    23   first time seeing this document. I don't know how you      23   with -- at least according to her signature line.
    24   guys compiled it. I -- I can't speak to that. I            24       Q. Okay. And so this is an e-mail from Cathy

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     1   to Karen Harper, she is cc'ing you, Charity and             1       Q. Okay. And then if you turn -- if you skip
     2   Michael Pheney.                                             2   and turn to the cover e-mail, it's 290546, do you --
     3       A. Um-hum.                                              3   do you see the e-mail from Bill Ratliff?
     4       Q. And do you -- it says:                               4       A. I'm sorry. Which one, which page?
     5          "Karen, This is a significant increase in            5       Q. Sure. It is the e-mail at the very front.
     6   volume, ten times, apparently there are other               6   It is 290546.
     7   suppliers unable to get product to them. We've              7           Okay. And in particular, I want to direct
     8   contacted the business manager Kate and their group is      8   your attention to the paragraph that starts: "Both
     9   meeting today to determine if we will service this          9   Kate and Vic have visited the customer."
    10   customer."                                                 10       A. Um-hum.
    11       A. Okay.                                               11       Q. Okay. So he writes:
    12       Q. And so the -- the reference to the                  12           "Both Kate and Vic have visited the
    13   business manager is you, because you are on -- on this     13   customer in the last 60 days and were able to
    14   e-mail, is that right?                                     14   determine Masters was ordering a large amount from
    15       A. That looks to be the case.                          15   another vendor, much larger than our current level of
    16       Q. Okay.                                               16   supply. It was determined that Actavis cannot supply
    17          And so this is -- I mean, this was a                17   customers with oxycodone at this time, the 15 and
    18   flagged as a suspicious order, is that fair?               18   30-milligram product, because of a recall.
    19       A. Yes.                                                19   Supposition would indicate that the other supplier is
    20       Q. And then Karen's response to Cathy is, and          20   Actavis based on their market share."
    21   cc'ing all of you, is:                                     21       A. Um-hum.
    22          "Cathy, If Masters Pharmacy is an existing          22       Q. So, did Masters tell you that this was the
    23   established account in good standing and given the         23   reason or is this your -- your inference based on --
    24   valid business reason that the other supplier cannot       24   on other data?

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     1   fulfill orders, there is no opposition from the DEA         1       A. Well, if you go back to the e-mail on
     2   compliance suspicious order monitoring perspective to       2   exhibit, what is it, 290548 from me to Cathy Stewart
     3   servicing this customer."                                   3   copying Charity and Michael, this is Cathy understood
     4      A. Um-hum.                                               4   they insist they have demand and this was a true shift
     5      Q. Do you see that?                                      5   from Actavis as a result of Actavis supply issues.
     6      A. So Masters was already an established                 6           So that indicates that the customer shared
     7   account that we were already shipping to, yes.              7   with us that they had been with Actavis and that's why
     8      Q. And when she references "a valid business             8   they were looking for a new supplier.
     9   reason" --                                                  9       Q. Okay. And the e-mail indicates that both
    10      A. Uh-huh.                                              10   you and Vic have visited the customer in the last
    11      Q. -- "that the other supplier cannot fulfill           11   60 days.
    12   orders" --                                                 12           Do you recall that visit?
    13      A. Um-hum.                                              13       A. I would occasionally go on visits with the
    14      Q. -- what is -- what is she referring to               14   sales directors to their accounts. I have a vague
    15   there, what is that?                                       15   recollection of going with him to Masters. It's
    16      A. So I believe during this timeframe                   16   not -- I don't remember much about it.
    17   Actavis, who was our main competitor within this           17       Q. Okay. And why would you accompany the
    18   market, had a recall.                                      18   national account managers on their business with
    19      Q. Okay.                                                19   clients?
    20      A. So that's why their orders -- why the                20       A. It is a great question.
    21   orders with this particular account were high in           21           I was in marketing and I was working on
    22   relation to what they used to order from us because        22   the back end in terms of, you know, doing the
    23   they had been purchasing the product from our              23   forecasting, allocations, and so it was a good
    24   competition.                                               24   opportunity for me to get out and meet the customer

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     1 and expand that side of me professionally.                     1       Q. Yes, that e-mail exchange is going on
     2          Why we picked Masters in particular for me            2   June 4th and through June 3rd. And then this e-mail
     3 to go to, I don't know, but I don't think it had               3   is dated June -- or this e-mail chain is on June 3rd
     4 anything to do with -- it obviously was 60 days prior          4   through June 2nd?
     5 to this happening, so it was just happenstance that I          5       A. Um-hum.
     6 had been at that account and then this occurred.               6       Q. So they appear to be discussing the -- the
     7       Q. And so do you -- do you recall if they                7   same orders, is that fair --
     8   communicated to you they were shifting from Actavis to       8       A. Okay.
     9   you at this meeting or was it subsequent                     9       Q. -- given their -- given their dates?
    10   conversations?                                              10       A. It is discussing the same account and oxy,
    11       A. I -- I don't know if it occurred at the              11   so yes.
    12   meeting or if it was subsequent conversations.              12       Q. Okay. So do you see your e-mail on
    13       Q. But regardless, you know, Karen Harper and           13   page -- or Bates number 562702?
    14   DEA compliance is relying on the information that           14       A. I do.
    15   you're providing to conclude -- or to indicate that         15       Q. It is an e-mail from you to Victor.
    16   there is no opposition from them to fulfilling this         16           Could you please read that?
    17   order, is that fair?                                        17       A. "These usages account for 10 percent of
    18       A. Yeah, at that point we had no reason not             18   the 15 and 30-milligram and the cases of the
    19   to -- not to service the customer.                          19   30-milligram are significantly higher than those of
    20       Q. Okay.                                                20   Cardinal, who we have on source. They look very high
    21              (WHEREUPON, a certain document was               21   and are concerning to me. We need to talk as I don't
    22               marked Mallinckrodt - Neely                     22   know that I feel comfortable shipping them at such
    23               Deposition Exhibit No. 30, for                  23   high levels. Do we know where the product is going?
    24               identification, as of 01/07/2019.)              24   We need to discuss."

                                                          Page 311                                                          Page 313
     1 BY MR. KAWAMOTO:                                               1    Q. Okay. And you reference that these --
     2     Q.    So this is another e-mail chain, it's                2 that these levels or -- or Masters orders are
     3 between -- well, primarily you and Mr. Borelli, though         3 significantly higher than Cardinal who you have on
     4 Michael Gunning is also included on it.                        4 source.
     5       MR. KAWAMOTO: I'm sorry. How much time do I              5       What does it mean to have someone on
     6   have left?                                                   6 source?
     7       THE VIDEOGRAPHER: So we are at five hours and            7    A. So Cardinal or McKesson or
     8   54 minutes.                                                  8 AmerisourceBergen, they each have source programs that
     9       MR. KAWAMOTO: Okay.                                      9 are a collection of independent pharmacies that they
    10       THE VIDEOGRAPHER: An hour and six minutes.              10 sell product to. And it's a buying -- it is
    11       MR. KAWAMOTO: A little bit over an hour. Thank          11 essentially a buying group, and so we would contract
    12   you.                                                        12 with a source program via a wholesaler.
    13   BY THE WITNESS:                                             13      Q.   Okay. And Masters didn't have that?
    14       A. Okay.                                                14      A.   Masters was a distributor.
    15   BY MR. KAWAMOTO:                                            15      Q.   Okay. And so is it fair to say that you
    16       Q. Now, you'll look -- if you look at the               16 had concerns regarding Masters' orders?
    17   last document, you see that the timing of this              17      A.   I had concerns about the size of them. In
    18   e-mail -- of these e-mails are on June 4th, is that --      18 terms of concerns about shipping product and it coming
    19   or I'm sorry --                                             19 back to us.
    20       A. They are on June 2nd.                                20      So at this point in time in 2008, this is
    21       Q. Do you see --                                        21 when Actavis was going out of the market because of
    22          No, I'm sorry, the pri -- the prior                  22 recalls and we were getting a huge influx of new
    23   document regarding Masters and its -- its oxy orders?       23 demand coming to us as a result and we were not --
    24       A. Was June 4th, uh-huh.                                24 because of the DEA quota that you and I talked about


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     1 this morning, we were not in a position to service          1   pharmacies and then those particular pharmacies, if
     2 the -- the additional demand.                               2   they can't get the product from Cardinal, will
     3           And so for me, whenever we are getting --         3   then rely on distributors to pull that -- to pull
     4   when we are getting usages, at least back in 2008 for     4   product.
     5   this particular product, I had concerns about the         5           My fear was is that if we shipped the
     6   volumes, because if we had shipped Masters and it         6   product to Masters that they would somehow then be
     7   wasn't -- I was questioning the numbers because if we     7   sabotaging our business via our existing customer base
     8   shipped to them, then we would potentially be             8   with Cardinal. So when I asked: "Do we know where
     9   sabotaging shipments to our existing customer base.       9   the product is going," I wanted to understand what
    10           And so I was trying to understand if we          10   pharmacies or at what -- where they were -- where the
    11   shipped them product were they indeed going to be able   11   product was going to be sold because my concern is if
    12   to sell it or was it going to get returned to us         12   we allocate the product to Masters, they somehow
    13   because that would be -- because then if it gets         13   sabotage the sale with a source program, i.e.,
    14   returned, it is essentially unsalable.                   14   Cardinal, and Cardinal doesn't get the product from us
    15       Q. Well, but didn't you -- didn't you have a         15   because we back ordered them here, then that puts us
    16   concern with the nature of the demand for Masters'       16   in a bad situation with our existing customer
    17   products?                                                17   Cardinal. So that was the question regarding: "Do we
    18       A. I -- I think that my concern with the             18   know where the product is going?"
    19   demand for the -- for the oxy through Masters was that   19      Q. So -- so I take it you recall this e-mail
    20   I thought it looked high and I was concerned about our   20   chain then?
    21   inventories and being able to service our other          21      A. I'm reading this e-mail chain and it's
    22   customers and not wanting to put them in a detrimental   22   jogged -- jogging my memory in terms of the Actavis
    23   situation. I was questioning the volumes in terms of     23   recall. And if you look to Exhibit 562703, it's
    24   shipping to them, because I was afraid the volume        24   showing the new customers from Victor. So he is

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     1   would literally ship to them and it wouldn't move.        1   giving volumes for his customers that he is asking to
     2          And I -- so I was trying to understand             2   build in.
     3   that they did, indeed, have a customer base that they     3           So these were all new customers that were
     4   were selling this product to.                             4   coming on board. So those would have been questions
     5       Q. Well, but you also asked, do you -- do we          5   that would have been the reasoning behind my line of
     6   know where the product is going. So that's --             6   questioning.
     7       A. Well, the other concern that I had was --          7       Q. Okay. And then do you see the e-mail
     8       Q. Well, actually, let me finish the                  8   responding to -- well, actually, I'm sorry, going back
     9   question --                                               9   to that e-mail, you say: "Do we know where the
    10       A. Oh, I'm so sorry.                                 10   product is going? We need to discuss."
    11       Q. -- and I'll give you a chance to respond.         11       A. Um-hum.
    12       A. I didn't mean to interrupt you.                   12       Q. You recall to the discussions that you had
    13       Q. You asked: "Do we know where the product          13   with Mr. Borelli?
    14   is going?"                                               14       A. I -- I -- no, I don't.
    15       A. Uh-huh.                                           15       Q. Do you recall if you ever learned where
    16       Q. Which means that -- isn't -- that is a            16   the product was going?
    17   question about who the end purchasers are, isn't it?     17       A. I -- we must have gotten a comfort level
    18       A. Yes. So, at this time back, again, I'm            18   that it wasn't going to be detrimental to our existing
    19   going to reiterate in 2008 when we got this request.     19   business. I also don't know if we took on the full
    20   So -- so you asked the question, is Masters, do they     20   volume at this point. That's not clear in this
    21   have a source program, and the answer was, no, they      21   e-mail, and I don't remember.
    22   are a distributor.                                       22       Q. And so the e-mail from Victor to you is --
    23          So what distributors do is -- so                  23   well, it says:
    24   Cardinal's source, they'll have -- they'll have          24           "Kate, The only places that they, Masters,

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     1 can ship the product to are authorized customers that        1 statement to mean?
     2 we approve from the chargebacks group. We only               2      A. Well, again, it's challenging for me to
     3 authorize end using customers with registered and            3 answer that because I don't have a firm understanding
     4 up-to-date DEA licenses that dispense product to             4 outside of my group who authorized end using customers
     5 consumers."                                                  5 and how it was done in relation to DEA licenses, so
     6          So his -- his statement that the only               6 I -- I don't think that I can answer that.
     7 places that the Masters can ship the product to are          7       Q. And you don't have any recollection of
     8 authorized customers that we approve from the                8   what you understood this to mean at the time because,
     9 chargeback group --                                          9   I mean, it -- he is -- he is -- he is sending this
    10       A. Um-hum.                                            10   e-mail to you --
    11       Q. -- what does that mean?                            11       A. Um-hum.
    12       A. I don't know why Victor made that                  12       Q. -- presumably in response to your
    13   statement and I can't speak to why he made that           13   question --
    14   statement and I also was not in the chargeback group,     14       A. Um-hum.
    15   so I don't -- I can't speak to the authorized             15       Q. -- that you wanted to talk to him and also
    16   customers that we approved from the chargebacks group.    16   do we know where the product is going?
    17   I don't understand that statement.                        17       A. Sure.
    18       Q. Okay. And is -- is your understanding              18            Well, I don't know if that's in direct
    19   that Mallinckrodt approved customers -- well, when he     19   response to that question or not, but in terms of what
    20   says "authorized customers," he is referring to end       20   he is responding on, I, again, can't answer that
    21   purchasers, correct? Because he references the only       21   because I wasn't in the group that was -- first of
    22   places that they can ship the product to.                 22   all, I -- I wasn't part of the process of authorizing
    23       A. Uh-huh.                                            23   customers, nor do I know how they utilized the DEA,
    24       Q. So that would be the -- the authorized             24   that part I -- I just don't know. I was in marketing.

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     1 customers are end purchasers?                                1 That was completely outside of my purview.
     2     A.    It appears to be what his statement says,          2      Q.   Well, why were you having this
     3 yeah.                                                        3 conversation with Mr. Borelli?
     4     Q.    Okay. And so did -- did Mallinckrodt               4      A.   Well, I think that we -- we talked to that
     5 approve end purchasers -- did Mallinckrodt's                 5 earlier, whenever I sent the e-mail to him asking him
     6 chargeback group approve end purchasers?                     6 about the volumes that Masters had given in terms of
     7      A. I think to just, to restate what I just              7 the 15 and 30-milligrams. So that would be why the
     8   said, I -- I don't know. So that -- that part I            8 conversation -- his response came back.
     9   wasn't in the chargebacks group. I don't know what --      9        How Vic chose to respond to my questions
    10   what, you know, the process was for approving end         10 is on Vic. I mean, that's not -- I can't -- I can't
    11   purchasers in the -- if it was done in the chargeback.    11 tell you what Vic was thinking when he put this e-mail
    12   I don't -- I don't know.                                  12 together, nor can I talk to the approval of authorized
    13      Q. Well, I mean, regardless of whether it was          13 customers being done by chargebacks group or whomever
    14   done in the chargeback group or elsewhere, do you have    14 within the organization. I -- I can't -- I can't
    15   any recollection of Mallinckrodt approving end            15 cover -- cover that for you.
    16   purchasers?                                               16      Q.   Okay. But in terms of his statement that:
    17      A. I -- again, that wasn't something that was          17 "We only authorize end using customers with registered
    18   within my group within marketing and I don't know what    18 and up-to-date DEA licenses" --
    19   the process was that was done or who -- I don't know.     19      A.   Um-hum.
    20      Q. Okay. So he also says:                              20      Q.   -- I mean, presumably the review, for
    21           "We only authorize end using customers            21 example, of a suspicious order would involve more than
    22   with registered and up-to-date DEA licenses that          22 simply confirming that the end user had a registered
    23   dispense product to consumers."                           23 and up-to-date DEA license, right?
    24           So what -- what did you take that                 24      A.   But at this point are we talking about

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     1   suspicious orders or are we just talking about the          1   customer before, you were just receiving a -- a large
     2   volumes, as I mentioned, looking to understand who          2   order from them?
     3   they sell to because I didn't want to interfere with        3       A. We were receiving -- so we had been
     4   our existing business?                                      4   selling to them, yes, with other products and we had
     5       Q. Well, the -- the prior document, 290546              5   received a large order for them for this particular
     6   is -- is being -- I mean, that discussion is                6   product which then did -- did catch our radar and
     7   occurring --                                                7   there were questions around -- around what their
     8       A. Uh-huh.                                              8   ongoing usage was going to be, about what their order
     9       Q. -- in the context of suspicious orders,              9   pattern would be, who their customer base was so we
    10   and so it's the -- it's the same customer, it's their      10   can understand how it would impact our existing
    11   orders.                                                    11   customer base. So there were definite questions
    12       A. Well, we were receiving a large order from          12   around it, 100 percent.
    13   a customer that we had never done business with            13       Q. And these questions involved the
    14   before, so we were trying to understand what that          14   compliance department and the suspicious order
    15   volume, what it was and if it was going to be              15   monitoring program as well, didn't they?
    16   detrimental to our existing business. So that was          16       A. Well, I think you can see that from this
    17   definitely part of the discussion.                         17   e-mail chain.
    18       Q. Well, the -- but just -- just to, I guess,          18       Q. The --
    19   correct something --                                       19       A. Karen Harper is all over this.
    20       A. Um-hum.                                             20       Q. The first -- yes, the first e-mail chain?
    21       Q. -- the e-mail says -- from Karen is: "If            21       A. Yeah, on 290546.
    22   Masters is:" -- "If Masters Pharmacy is" --                22       Q. And so when Victor Borelli, turning now to
    23       A. Can you take -- can you hold on. Which --           23   the second document --
    24       Q. Sure.                                               24       A. Uh-huh.

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     1   A.      -- which document are you looking at right          1      Q.     -- 562701, when Victor Borelli says:
     2 now?                                                          2           "We only authorize end using customers
     3   Q.      Okay. Fair enough.                                  3   with registered and up-to-date DEA licenses" --
     4          If you look at 290546.                               4       A. Uh-huh.
     5      A. Um-hum.                                               5       Q. -- "that dispense product to consumers."
     6      Q. The e-mail, and I'm referring now to Bates            6       A. Uh-huh.
     7   number 290550, so that particular page.                     7       Q. The fact that the end purchaser has a
     8      A. Okay.                                                 8   registered and up-to-date DEA license isn't the end of
     9      Q. This is an e-mail we looked at between                9   the inquiry with respect to the SOM program, correct?
    10   Cathy and Karen Harper.                                    10       A. Again, I -- in this particular paragraph,
    11      A. Uh-huh.                                              11   I can't speak to this because I don't know what --
    12      Q. And Karen says:                                      12   that fell completely outside of my purview. So
    13          "If Masters Pharmacy is an existing                 13   talking about what Victor noted in the first paragraph
    14   established account in good standing" --                   14   on Document 562701, I -- I think we've agreed that I
    15      A. Uh-huh.                                              15   can't really provide any insight into this.
    16      Q. -- "and given the valid business reasons."           16           I can tell you that this business was part
    17          So it -- it wasn't a new customer, I mean,          17   of the suspicious order monitoring process. The
    18   Masters was an established customer, wasn't it?            18   evaluation of the -- the orders you can see in this
    19      A. No, no, it wasn't a new customer, but this           19   line. And then you can also see me looking at it from
    20   was new business for us. So we hadn't currently been       20   strictly, and this was my area, a business perspective
    21   primary, in the primary position with them for this        21   and trying to understand what this meant to us from a
    22   particular product. So, no, not -- not a new account       22   business.
    23   but new business for us.                                   23           So you had a couple of parallel paths
    24      Q. Okay. So you had done business with this             24   happening with regards to this -- this influx or

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     1 this -- this new demand that we were seeing from             1   establish that that's what he is referring to, so I
     2 Masters.                                                     2   can't answer then why he wouldn't have copied Karen
     3      Q. Okay. And looking at Victor's response to            3   Harper in.
     4   you, though --                                             4       Q. Well, but I think we can establish that a
     5      A. Um-hum.                                              5   large order has come in and you've indicated a concern
     6      Q. -- that's what I'm -- I'm trying to                  6   about it, right, that's your e-mail on June 2nd at
     7   understand. I'm trying to understand if his                7   5- --
     8   response --                                                8       A. 5:20.
     9      A. Um-hum.                                              9       Q. -- -62702, correct?
    10      Q. -- addresses either the suspicious order            10       A. Um-hum.
    11   monitoring concerns or your business concerns, and        11       Q. And then Cathy Stewart has also indicated
    12   that's --                                                 12   a concern about it --
    13      A. And I think what we've established is I             13       A. Um-hum.
    14   don't know what that response -- I first of all don't     14       Q. -- from a suspicious order monitoring
    15   know if that's indic -- I don't -- I don't know           15   program standpoint and that's --
    16   because, like, that was not something that I              16       A. Well, I think we need to be clear, from
    17   personally was responsible for.                           17   the suspicious order monitoring program, so this
    18           And secondly, I don't know if this is --          18   account had been buying this product from, but at a
    19   because this e-mail chain happened before June 4th.       19   smaller, much smaller level. And so we've ascertained
    20   So I don't know if it was in relation -- I mean, if it    20   that the suspicious order monitoring program caught
    21   was in relation -- hmm, let me just look at the dates     21   orders that were in excess of what the purchase from
    22   here. June 3rd.                                           22   an account historically had been. This was much
    23           So all of this exchange with Victor               23   larger than what they had historically purchased, so,
    24   happened on June 2nd and this entire exchange happened    24   yes, it got kicked to suspicious order monitoring

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     1 on June 3rd. So I -- I -- to me, this would be -- it         1 because of that.
     2 couldn't have been a response to this because this           2           The other e-mail chain that we are
     3 happened two -- what, a day, two days later.                 3 referencing here from June 2nd and June 3rd is me in
     4      Q. Well, but the general review of Masters'             4 communication with Victor about new volumes that he
     5 order --                                                     5 has as a result with his account as a result of the
     6       A. Um-hum.                                             6 Actavis recall. And my response back to him is
     7       Q. -- was -- it involved both a business               7 asking, saying the volumes looks high, and I want to
     8   component and an SOM component, didn't it?                 8 understand where they are going because I want to
     9       A. It did.                                             9 understand how it impacts the balance of our business.
    10       Q. Isn't that what these two are showing?             10      Q.    That's --
    11       A. It did, yeah.                                      11      A.    And then how Victor responds, I can't --
    12       Q. Okay. And so --                                    12 I -- I don't know.
    13       A. But what I don't know is does Victor's             13      Q.    But in -- in both instances the concern is
    14   paragraph there pertain to a response to my question      14 with the size of the order, right?
    15   or if it pertains to -- to a suspicious order             15      A.    Well, of course, the size of the order was
    16   monitoring question that he thought might come. I --      16 significantly larger than what they had been buying
    17   I don't know that. I didn't write this e-mail, Victor     17 from us because they had been buying that product from
    18   did.                                                      18 our competitor who had a recall. So the order was
    19       Q. And so why would Victor be writing to just         19 large and it caught us, it caught on the radar, of
    20   you and John Adams about the S -- the SOM program?        20 course it did.
    21       A. Well, again, we haven't established that           21      Q.    Okay. And so it get -- it -- it popped up
    22   it is in regards to the SOM pro -- program, so -- so      22 on the radar of both you from a business standpoint
    23   until we know that, which the only way we would know      23 and the compliance department from an SOM standpoint?
    24   that is to understand what Vic meant, we can't            24      A.    Um-hum.

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     1      Q.    Correct?                                          1 please?
     2           And so Victor on June 2nd is e-mailing             2       A. Sure.
     3   you --                                                     3           Okay.
     4       A. Um-hum.                                             4       Q. So this e-mail is from Victor to you, and
     5       Q. -- and he is presumably responding to               5   he says: "Kate, I was thinking about our conference
     6   someone, isn't he?                                         6   call this morning with John Adams" --
     7       A. It looks like he is responding to my                7       A. Um-hum.
     8   e-mail.                                                    8       Q. -- "and I wanted to circle back with you
     9       Q. Yes. And so one of the things that your             9   on both instances in which you say I did things that
    10   e-mail asks is: "Do we know where the product is          10   compromised your trust in me."
    11   going?"                                                   11       A. Uh-huh.
    12       A. Um-hum.                                            12       Q. Do you see that?
    13       Q. And so he is -- I -- I believe, you know,          13       A. I do.
    14   he is -- well, I guess my question is, is he answering    14       Q. Do you recall receiving this e-mail from
    15   that question?                                            15   Victor?
    16       A. Um-hum. I -- I don't -- and, again, I              16       A. I do.
    17   don't know because I am not inside Victor's head nor      17       Q. Okay. And what do you recall about this
    18   was I when he wrote this e-mail. I don't know.            18   e-mail?
    19       Q. And so, based on these two e-mail chains           19       A. I don't recall the content of the e-mail,
    20   and your recollection, you don't have any recollection    20   but I do remember -- I remember having this
    21   of whether you ever received a response as to where is    21   conversation, we had had a call with him and with John
    22   this product going?                                       22   Adams that -- that morning. I didn't remember the --
    23       A. I don't -- I don't have a recollection,            23   I didn't remember the context, but I do remember
    24   no.                                                       24   making this statement of losing trust with Vic and

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     1      MR. TSAI: Dean, it is about 5:00, I think we            1 then him sending this e-mail to me later in the
     2   have about 30 some minutes left. Can we take a quick       2 evening at 9:30. So I -- I remember this situation
     3   break?                                                     3 occurring for sure.
     4      MR. KAWAMOTO: Sure.                                     4     Q.    Okay. And do you recall why you -- why
     5      THE VIDEOGRAPHER: All right. The time is                5 you indicated that you lost trust in him?
     6   5:01 p.m. We are going off the record.                     6     A.    That's the part that I -- that I was more
     7            (WHEREUPON, a recess was had                      7 vague on. I'm reading it and he gives -- he gives the
     8             from 5:01 to 5:14 p m.)                          8 reasons why, which give me recollection, but I
     9      THE VIDEOGRAPHER: Okay. We are back on the              9 wouldn't have remembered this otherwise.
    10   record. The time is 5:14 p m.                             10     Q.    But do you -- you do recall a phone
    11            (WHEREUPON, a certain document was               11 conversation with him and John Adam -- Adams where you
    12             marked Mallinckrodt - Neely                     12 indicated that you were --
    13             Deposition Exhibit No. 31, for                  13     A.    I was upset.
    14             identification, as of 01/07/2019.)              14     Q.    -- venting?
    15   BY MR. KAWAMOTO:                                          15     A.    Or I was -- I was upset about something,
    16      Q. So this is an e-mail between you and                16 yes.
    17   Victor Borelli.                                           17     Q.    Okay. And it -- it caused you to -- to
    18      A. Uh.                                                 18 lose trust in him, is that fair?
    19      Q. And the e-mail that I'm interested in is            19     A.    It caused me to question a decision that
    20   on 564327 and 564328.                                     20 he had made, yes.
    21      A. Okay.                                               21     Q.    Okay. Did you have any concerns that he
    22      Q. And the starting Bates number is                    22 was providing information with his
    23   MNK-T1 564327.                                            23 distributor/customers that he shouldn't be?
    24          So could you review that e-mail for me,            24     A.    So if you read the paragraph, they kept

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     1 asking it, so it looks like we, if you read the -- the        1   matter you had some concerns about his reliability
     2 e-mail, it says: "The second instance was more                2   vis-à-vis the -- the information he was sharing with
     3 recent." It says: "The shipment was the Masters               3   his customers?
     4 recent large oxy 30-milligrams orders." And this was          4       A. I --
     5 on June 5th. And so that's, you know, a day after             5       MR. TSAI: Object to the form.
     6 the -- the exchange that we had on June 4th                   6   BY THE WITNESS:
     7 internally. So we were holding these orders. We               7       A. Yeah, I don't think that we can -- we can
     8 weren't shipping them at the time because we were             8   say that based on this -- this one e-mail exchange.
     9 trying to -- to determine, you know, determine if we          9   I -- and I don't -- this -- like I said, this one
    10 could take on the business, what we were going -- what       10   instance I do remember, but I don't have any
    11 we were going to do, and we had asked -- according to        11   recollection of others.
    12 him, we had asked to keep that -- you know, we were          12   BY MR. KAWAMOTO:
    13 trying to have that conversation internally before we        13       Q. But you were certainly upset about this
    14 communicated anything to the customer.                       14   instance, weren't you?
    15          And it looks like from this e-mail he went          15       A. I was upset, yes.
    16   ahead and moved forward with telling Masters the           16       Q. And, I mean, John Adams was Victor
    17   discussions that we were having.                           17   Borelli's boss?
    18      Q. And you had asked him not to do this,                18       A. That's correct.
    19   correct?                                                   19       Q. So it was -- it was of sufficient concern
    20      A. Well, I had said that we wanted to --                20   to you that you raised that with him?
    21   according to this, it looks like I had said we wanted      21       A. I think, you know, and I do remember this
    22   to keep the conversations internal. I don't remember       22   conversation, this was 2008, so I would have been
    23   the conversation specifically, but based on his            23   29 years old at this point, and I think back on this,
    24   response, that appears to be what I had said.              24   actually, because this was something that stuck with

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     1       Q. Okay. And you don't have any reason to               1   me through my career, this conversation, and I think a
     2   believe that his characterization of the second             2   lot of -- it might have just been immaturity, to be
     3   instance is inaccurate?                                     3   honest with you.
     4       A. Can you explain what you mean?                       4       Q. Well, you say that this -- this
     5       Q. Well, you -- do you recall asking him to             5   conversation -- or -- well, I'm sorry.
     6   keep your con -- your internal conversations                6           You -- your testimony is because this was
     7   confidential?                                               7   something that stuck with me through my career, this
     8       A. I -- I don't -- like I said, I don't                 8   conversation, so this -- this conversation stuck with
     9   recall that, but reading his -- his response indicates      9   you through your career, is that correct?
    10   that that's what I had said.                               10       A. I remember it, yes.
    11       Q. Okay. And you don't have any reason to              11       Q. Okay.
    12   believe he would be lying about that?                      12       A. Unlike a lot of these things that we
    13       A. No, because I remember -- I remember this           13   reviewed today, where --
    14   conversation, at least high level.                         14       Q. Uh-huh.
    15       Q. Okay. And so you had asked him to keep              15       A. -- it was -- there -- there was not a firm
    16   information confidential and he apparently disregarded     16   recollection.
    17   that request, is that fair?                                17       Q. Sure. So what made this conversation
    18       A. He went ahead and shared with the                   18   stick with you?
    19   customer, yes.                                             19       A. I think because I realized -- do you
    20       Q. Okay. Do you recall other instances where           20   really want me -- I think because I realized the
    21   he did that?                                               21   relevance of calling someone out that -- that hard and
    22       A. This one in particular stuck with me.               22   not having -- in front of their boss and not having a
    23   I -- I don't have a recollection of other occasions.       23   direct conversation with them.
    24       Q. But is it fair to say that as a general             24       Q. Okay.

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     1       A. So I think that that was a -- a miss on --            1           Go ahead.
     2   on my part in terms of how I handled it. And that's          2   BY THE WITNESS:
     3   something that stuck with me. And I'm sure you've had        3       A. Yeah, I can't speak to what Victor wanted
     4   those, too, where you've thought about things that you       4   to do. It was Victor's job in sales, I was in
     5   could have done differently and handled differently          5   marketing, and so I can't speak to what he wanted to
     6   and it impacts how you manage those relationships            6   do, but he did have an account asking where their
     7   going forward.                                               7   orders were and he -- they didn't have any answers and
     8       Q. So what -- what sticks out at you is your             8   he was getting a lot of pressure from -- from them to
     9   reaction to this?                                            9   have answers.
    10       A. Yeah. 100 percent.                                   10   BY MR. KAWAMOTO:
    11       Q. Okay.                                                11       Q. And so would one reason for him to share
    12       A. Yeah. That's why I didn't really remember            12   this information with Masters which prompted Masters
    13   the content of it, but I remembered this -- this            13   to -- to, you know, start complaining be to, you know,
    14   happening.                                                  14   put -- apply some pressure to -- to make a decision
    15       Q. Okay. And, actually, looking -- looking              15   and ship the order?
    16   at the sentences that are at the bottom of 564327 and       16       MR. TSAI: Object to the form.
    17   the top of 564328.                                          17   BY THE WITNESS:
    18       A. Uh-huh.                                              18       A. Yeah, I think that's -- there is a lot of
    19       Q. "When I was discussing the scenario with             19   speculation there. I can't -- I can't speak to -- to
    20   Masters, I explained to them that their order size          20   what Victor, you know, what he did or didn't feel or
    21   immediately raised concerns throughout their entire         21   do on this.
    22   organization. They understood the rational behind           22   BY MR. KAWAMOTO:
    23   this based on their purchasing history but their bone       23       Q. But the end result is that, you know,
    24   of contention was that they weren't getting any             24   putting aside the e-mails, the order did ship?

                                                         Page 339                                                       Page 341
     1   direction or information about their orders. They            1      A. Did it?
     2   kept asking and probing me with more questions about         2           I don't think we have any documentation
     3   why customer service didn't get back to them and why         3   actually showing that the order shipped.
     4   nobody could get back to them with solid answers on          4              (WHEREUPON, a certain document was
     5   their order status."                                         5               marked Mallinckrodt - Neely
     6           So, in response to -- to Victor sharing              6               Deposition Exhibit No. 32, for
     7   with them these internal discussions, did Masters            7               identification, as of 01/07/2019.)
     8   complain?                                                    8   BY THE WITNESS:
     9      A. Masters had placed their orders and we had             9      A. So this e-mail chain is from June 6th of
    10   not shipped the orders and customer service was not         10   2008 and this e-mail chain is as of September 15,
    11   communicating to them status. So it appears that            11   2008.
    12   according to this that they complained to Victor about      12   BY MR. KAWAMOTO:
    13   not having an update on what was happening with their       13      Q. Yes, and if I can just read into the
    14   orders.                                                     14   record, it is MNK-T1 562745 and it is a -- an e-mail
    15      Q. Do you recall why you wanted this                     15   exchange between you and -- and Victor Borelli --
    16   conversation to be -- or these conversations to be          16      A. Um-hum.
    17   kept confidential?                                          17      Q. -- among other things, and you write to
    18      A. Because we hadn't made a decision yet on              18   him: "You're way too energetic about this shipping
    19   what we were going to do, and so until we had that, we      19   thing."
    20   didn't want to communicate yea or nay to Masters on         20      A. Um-hum.
    21   what was happening.                                         21      Q. And part of his response is, you know:
    22      Q. And Victor as the national account manager            22   "Ship, ship, ship."
    23   wanted to ship, didn't he?                                  23      A. Yeah.
    24      MR. TSAI: Object to the form.                            24      Q. So previously you had indicated that

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     1   Victor was aggressive.                                      1   that relationship.
     2           Do you recall that?                                 2       Q. And so to some degree was there some
     3       A. I did characterize him that way in our               3   tension between the national account managers and the
     4   initial conversations this morning.                         4   compliance department?
     5       Q. And he was aggressive in trying to                   5       A. I can't speak to that. I wasn't part of
     6   serve -- service his distributor customers, is that         6   compliance, so I don't know if there was or wasn't
     7   fair?                                                       7   tension there.
     8       A. He advocated for his customers.                      8       Q. Did you ever observe any tension in your
     9       Q. Okay.                                                9   role as essentially the -- you know, a conduit or an
    10       A. I guess what I'm asking you, though, is             10   information provider to compliance?
    11   you asked me specifically -- now it is me that's going     11       A. I honestly, I -- I don't -- don't
    12   to get specific, but you asked me specifically on          12   recollect, no.
    13   whether this order shipped and then you produced this      13              (WHEREUPON, a certain document was
    14   document.                                                  14               marked Mallinckrodt - Neely
    15       Q. Yes, and, no, this document doesn't                 15               Deposition Exhibit No. 33, for
    16   address whether that order shipped.                        16               identification, as of 01/07/2019.)
    17       A. Okay. That's what I thought you were --             17   BY MR. KAWAMOTO:
    18       Q. Yeah, no. I --                                      18       Q. So this is an e-mail from Cathy Stewart to
    19       A. Because that was the question that I had            19   Bill Ratliff and Karen Harper. You are not cc'd on
    20   for you in terms of --                                     20   it, but I didn't want to ask about the very top
    21       Q. Okay.                                               21   e-mail.
    22       A. -- you know.                                        22       A. Um-hum.
    23       Q. So to -- to clarify that, this -- this              23       Q. So the top e-mail is an e-mail from Cathy
    24   document doesn't indicate whether that order shipped.      24   Stewart to Bill and Karen, and she says:

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     1       A. Okay.                                                1           "FYI, the customer service reps all state
     2       Q. I have another document, to be -- but to             2   that Victor will tell them anything they want to hear
     3   be honest, I haven't found it, so --                        3   just so he can get the sale....."
     4       A. That's okay.                                         4           Do you see that?
     5       Q. -- moving on to --                                   5       A. I do.
     6       A. I mean, it's just -- it's --                         6       Q. Do you agree with that statement?
     7       Q. -- this e-mail.                                      7       A. I -- I don't know because I wasn't in
     8       A. Yeah, yeah.                                          8   customer service.
     9       Q. You know, my -- my question is just                  9       Q. Okay.
    10   about -- about, you know, Victor Borelli and his           10       A. And this is my first time seeing this
    11   aggressiveness, which I believe you indicated.             11   document, as I was not involved in this conversation.
    12       A. Sure.                                               12       Q. Do you recall any concerns by anyone
    13       Q. Do you believe he was more aggressive than          13   regarding Victor and, you know, the accuracy or
    14   other national account managers or were they kind          14   reliability of the information he was providing in the
    15   of -- did they have the same objective and -- and the      15   context of -- of --
    16   same -- the same, you know, approach?                      16       A. I really --
    17       A. I think they all had very individual                17       Q. -- of products?
    18   approaches to how they -- they managed their accounts.     18       A. -- I really don't have a recollection
    19       Q. But they were all focused on the                    19   around that. And like I said, this is the first time
    20   relationship with the distributor and including, you       20   that I've seen the -- yeah, I don't have any
    21   know, shipping the product to them?                        21   recollection, no.
    22       A. They were -- yes, so they were there to             22       Q. Well, you -- you know Cathy Stewart,
    23   manage the relationship with the customer and advocate     23   though, right --
    24   on their behalf, yeah, that was their job to manage        24       A. Oh, I --

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     1       Q. -- you work with her?                                   1      Q. -- and he says "PS: Shhh..." --
     2       A. Um-hum.                                                 2      A. Um-hum.
     3       Q. Do you think that she was generally                     3      Q. -- I mean, it -- that's -- I mean,
     4   reliable?                                                      4   that's -- that's because he -- he wasn't supposed to
     5       A. I can only speak to my interactions with                5   be providing him with this information, was he?
     6   her, but I think, you know, when we spoke, I think             6      A. I can't -- ooh -- I'm not sure. Let's see
     7   she's -- she is a -- yeah, I think she is reliable.            7   here.
     8       Q. And she cared about the company, didn't                 8           Okay.
     9   she?                                                           9      Q. So is this another example of Mr. Borelli
    10       A. Well, I think we all did. I can't speak                10   sharing information with a distributor client that he
    11   to -- to Cathy specifically.                                  11   shouldn't be?
    12              (WHEREUPON, a certain document was                 12      MR. TSAI: Object to the form.
    13               marked Mallinckrodt - Neely                       13   BY THE WITNESS:
    14               Deposition Exhibit No. 34, for                    14      A. I -- I can't -- I -- I don't know. I'm
    15               identification, as of 01/07/2019.)                15   not sure.
    16   BY MR. KAWAMOTO:                                              16   BY MR. KAWAMOTO:
    17       Q. So this is an e-mail between you and                   17      Q. Well, this e-mail chain indicates that he
    18   Victor Borelli and then Victor Borelli and Steven             18   didn't ask you if he could share this, is that fair?
    19   Cochran.                                                      19      A. It definitely -- you know, it does
    20       A. Uh-huh.                                                20   indicate that, yes. I don't know if we had a
    21       Q. It is MNK-T1 384139.                                   21   conversation on this. It -- I'm -- I don't -- I don't
    22       A. Uh-huh.                                                22   recollect this.
    23       Q. And do you know who Mr. Cochran is or was?             23      Q. Okay. And I'm -- I'm sorry. Just to sort
    24       A. I -- I do.                                             24   of clarify the question and answer.
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     1       Q. Okay. Who was he?                                       1       A. Yeah.
     2       A. He was the buyer at Keysource.                          2       Q. The -- the e-mail chain does not indicate
     3       Q. Okay. And so you are providing Victor                   3   that he was -- that he ever asked you if he could
     4   Borelli was chargeback information on oxy 30, aren't           4   share this?
     5   you?                                                           5       A. He did not, and he did not via e-mail
     6       A. Yeah. Can you just give me an opportunity               6   within this chain, correct.
     7   because it is hard to read and -- and respond. Hold            7       Q. Okay. And you don't recall him asking you
     8   on just a second.                                              8   in a phone conversation, do you?
     9          Okay.                                                   9       A. I don't have a recollection of this --
    10       Q. So this e-mail involves chargeback data or             10   this entire e-mail chain, so I don't recollect if
    11   chargeback information.                                       11   there was or wasn't a phone call.
    12          Chargeback data was considered                         12       Q. So thank you. You can -- you can put that
    13   confidential at Mallinckrodt, wasn't it?                      13   document aside.
    14       A. I -- I don't know the answer to that. I                14       A. Okay.
    15   don't know.                                                   15       Q. So in terms of -- I mean, I've -- I
    16       Q. So do you -- you don't have any                        16   recognize that we've been -- we've been going at this
    17   recollection as to whether Mallinckrodt was willing to        17   for some time, and over the course of this deposition
    18   share its chargeback data with other market                   18   we've reviewed numerous documents relating to the --
    19   participants?                                                 19   relating to suspicious orders.
    20       A. We typically would not share competitive               20          Do you recall that?
    21   chargeback data with customers.                               21       A. We have reviewed a lot of documents, yes.
    22       Q. And so when Victor Borelli is e-mailing --             22       Q. Okay. So in terms of your -- you were the
    23   is forwarding this information to -- to Cochran --            23   product manager for oxycodone from 2008 to
    24       A. Um-hum.                                                24   January 2011, correct?

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     1       A. Um-hum.                                                 1       A. I don't --
     2       Q. So that's around a -- a three-year time                 2       Q. So --
     3   period?                                                        3       A. I don't -- this is all, again, eight, nine
     4       A. Okay.                                                   4   years ago, actually farther than that because you are
     5       Q. Do you recall how many suspicious                       5   going back to 2008. I don't have a recollection of --
     6   orders -- suspicious order reviews that you were               6   of the order monitoring port -- I don't have a
     7   involved in?                                                   7   recollection of that activity that I can share with
     8       A. No, I don't recall.                                     8   you on the record that I'm definitive about. I -- I
     9       Q. Okay. In terms of a rough estimate, could               9   don't.
    10   it be -- would you say it's a hundred?                        10       Q. Though my -- my question here is in terms
    11       A. I -- I seriously, I -- that is really                  11   of your recollection, do you recall during that
    12   difficult for me to estimate. I can't do that.                12   three-year time period that you were the product
    13       Q. Well. Okay, presumably it is more than,                13   manager for oxycodone --
    14   like, 20 though, right?                                       14       A. Um-hum.
    15       A. It would be more than 20.                              15       Q. -- ever advising that an order not ship?
    16       Q. Okay. Fair to say more than 50?                        16       A. And, again, I'm telling you that that was
    17       A. I -- I think at this point it would be                 17   over ten years, from -- anywhere from nine to eleven
    18   really difficult for me to give you a good estimate.          18   years ago, and I don't have a firm comfort level in
    19   If I managed a product for two-and-a-half years, I            19   terms of -- I don't remember.
    20   think it would be really challenging given the number         20       Q. Okay. But this was an important component
    21   of orders that are processed even within, let's say, a        21   of your job, was it not?
    22   given week. I think it would be really challenging            22       A. It was a portion of my job and oxy was one
    23   for me to -- I -- I -- I can't estimate that for you.         23   of the products that I managed. So it was a
    24       Q. But it would be a large number?                        24   component, it was important, but it was a smaller --

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     1      A. In terms of orders that we reviewed?                     1   in terms of the scope of my job, this was not
     2      Q. Yes, in terms of orders that were being                  2   everything that I did. And, again, it was, you know,
     3   reviewed by this -- this program?                              3   eight to ten years ago. I really don't remember.
     4      A. I -- I -- I can't estimate, so it's hard                 4       Q. But the oxycodone product was an important
     5   for me to say what, you know, what large even means,           5   product for Mallinckrodt, I think you indicated it was
     6   so...                                                          6   a quarter of their -- of their sales at one point?
     7      Q. Well, okay. So it's -- it's more than 20                 7       A. We did talk to that, yes.
     8   presumably.                                                    8       Q. Okay. And so -- and there was -- there
     9           Is there a -- a number that you'd be                   9   was clearly sensitivity by the DEA regarding the --
    10   comfortable saying it was under?                              10   the abuse of this product, isn't that fair?
    11      A. No. Because I don't even have a                         11       A. Was there sensitivity from the DEA?
    12   recollection of what the sheer scale of orders that we        12       Q. Yes. There was clearly sensitivity by the
    13   processed on a daily basis. So for me to give you a           13   DEA regarding the abuse of this product, is that fair?
    14   ballpark or an estimate on how many we reviewed would         14       A. Do you want me to confirm that statement?
    15   be -- it's -- no, I can't possibly provide you with           15       Q. I'm asking you if you agree with that
    16   that information.                                             16   statement.
    17      Q. Okay. So it could be 100, it could be                   17       A. There was definitely, as evidenced by the
    18   500, it could be 5,000, it could be 50,000, you don't         18   documents that we went through, there was a lot of
    19   have any way of knowing?                                      19   focus on it by the DEA, yes.
    20      A. I don't have any way of quantifying that.               20       Q. Okay. And so, you know, this was clearly
    21      Q. Okay. Do you recall ever advising that an               21   an important product for both you and Mallinckrodt?
    22   order not ship?                                               22       A. It was an important product, yes.
    23      A. I don't recall.                                         23       Q. And making sure that this product didn't
    24      Q. Okay.                                                   24   end up -- or making sure that this product wasn't

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     1 diverted was an important responsibility for you, was           1       A. Potentially.
     2 it not?                                                         2       Q. Well, when you say potentially, what --
     3     A. I'm going to restate that this was eight                 3   what -- what do you mean by that?
     4 to ten years ago that this happened. You are asking             4       A. It could be captured in the e-mail, it
     5 me whether or not we stopped any orders or what my              5   could have been a discussion that we had, so the
     6 estimation is of the orders that we evaluated. I                6   communication could have taken place, I'm sure, a
     7 don't have a recollection.                                      7   number of different ways.
     8     MR. KAWAMOTO: Okay. How much time do I have                 8       Q. But there would be some written record of
     9 left?                                                           9   you stating -- or of you objecting to the shipment of
    10     THE VIDEOGRAPHER: You are at six-forty so                  10   an order, correct?
    11 20 minutes, 20 minutes left.                                   11       A. Again, I'm just going to go back to the
    12     MR. KAWAMOTO: Okay. Great. Why don't we take 12                 fact that we did have a good suspicious order
    13 a short break.                                                 13   monitoring program in place, that we were all working
    14     THE VIDEOGRAPHER: Okay. The time is 5:40 p m. 14                diligently to make sure that what we were shipping out
    15 Off the record.                                                15   the door was for, you know, for a good -- good
    16             (WHEREUPON, a recess was had                       16   purpose. I will also reiterate the product that we
    17              from 5:40 to 5:53 p m.)                           17   were shipping was going to a wholesaler and to a
    18      THE VIDEOGRAPHER: Okay. We are back on the                18   distributor, so we were monitoring those orders. And
    19   record. The time is 5:53 p.m.                                19   to the best of our ability, we were, you know,
    20   BY MR. KAWAMOTO:                                             20   adhering -- we were adhering to our program to -- to
    21      Q. Okay. So, Ms. Neely, I went back and I                 21   flag suspicious orders.
    22   looked at the real-time, and I just want to make sure        22           What happened beyond that, you know, when
    23   that the record is clear on this.                            23   it got down to the -- to the customers' customer and
    24           You don't recall whether you did or did              24   then, you know, down to then the doctor prescribing to

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     1   not ever say not to ship an order of oxycodone, is            1 the patient, that was so far down the supply chain
     2   that correct?                                                 2 that that was definitely something that we wouldn't
     3       A. I -- I don't know.                                     3 have the -- especially down to the doctor and the
     4       Q. So it's possible that in your three years              4 prescriber, we wouldn't have the visibility into.
     5   as a product manager for oxycodone for Mallinckrodt,          5           I would say that when the DEA made the
     6   YOU never said don't ship an order, that's possible?          6   statement about knowing your customers' customers and,
     7       A. I would say that we had a robust SOMs,                 7   you know, as evidenced by the e-mails that you started
     8   suspicious order monitoring program in place that we          8   to see more so in 2010, we definitely were taking
     9   adhered to, that we had a strong compliance team, we          9   measures to try to figure out how to do that.
    10   all worked diligently to -- to make sure that we were        10           So from an overarching perspective, I feel
    11   doing the right thing as a whole.                            11   very confident that we were doing the right thing. In
    12          I cannot speak to specifics with regards              12   terms of the orders and whether or not orders were
    13   to orders and the percentage of orders that were             13   released, whether or not orders were held,
    14   reviewed, the percentage that were held. I -- I can't        14   documentation of that activity, I can't speak to that.
    15   speak to that.                                               15   I -- I don't have a firm recollection of -- of the
    16       Q. And so, I mean, it is -- it is possible               16   details.
    17   then that in your three years as a product manager for       17       Q. So when you were a product manager, you
    18   oxycodone you never said, Don't ship an order, that's        18   tracked the overall amount of oxycodone and oxy 15 and
    19   possible?                                                    19   30 that Mallinckrodt was providing to its
    20       A. Since I don't have a recollection, that is            20   distribute -- to its customers, correct?
    21   possible.                                                    21       A. We created sales forecasts and budgets
    22       Q. And if you did say not to stop -- or if               22   based on actuals, so yes.
    23   you did say not to ship an order, that would be              23       Q. Okay. Did you ever become concerned with
    24   captured in an e-mail, wouldn't it?                          24   the volume of oxycodone that Mallinckrodt was

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     1 shipping?                                                          1 what's happening here, I'm trying to project. We were
     2     A. I wasn't necessarily concerned with the                     2 trying to project, you know, what our sales would be
     3 volume that we were shipping. We were doing                        3 and the -- and the growth rate was faster than what we
     4 everything within our power to monitor orders and to               4 had forecasted. And I think that that led us to start
     5 comply with the DEA's requests in terms of susp --                 5 to -- to look at things and say, Well, why is that.
     6 suspicious order monitoring.                                       6 And -- and then, you know, and again seeing the
     7         So it wasn't so much concern with our                      7 activity in 2010.
     8 shipment of orders, because I feel like we were                    8         As to when that initial, like, thought
     9 adhering and doing the right thing. I did have                     9 occurred, I -- I can't remember that, and I -- I would
    10 questions about the -- the market and the size of the             10 tell you if I could, but it was definitely -- it was
    11 overall market and trying to wrap my arms around what             11 something that evolved over the course of time with us
    12 was happening within the oxycodone market downstream,             12 as a company in terms of understanding, you know, like
    13 which was really challenging because we didn't                    13 I said, we adhered to the suspicious order monitoring
    14 really -- like I said, we didn't have the visibility              14 program that we had put in place, we worked with the
    15 into that -- that portion.                                        15 DEA, we were doing everything that we were supposed to
    16         I think what you saw from the e-mails in                  16 be doing, but this was something that it took a while
    17 2010 was us trying to understand what was happening               17 to put all of the pieces together on in terms of what
    18 and trying to take measures even further than what we             18 was happening within the total market and then what
    19 had already done with our suspicious order monitoring             19 was happening with our -- our customer base.
    20 program which monitored the demand from our customer              20         And I would say it -- it took time to --
    21 base which was distributors and wholesalers, but I                21 to finally see what the big -- the whole -- all of
    22 think you saw us digging in even further, taking it a             22 these pieces together, what they meant. And I think
    23 step further beyond what you -- some might even                   23 you see that in 2010. And I remember -- that's the
    24 perceive to be on the, you know, the onus of the                  24 part that I remember is in 2010 seeing -- putting it

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     1 manufacturer to -- to really try to understand what                1 all together, starting to see what was truly, you
     2 was happening in the oxycodone market.                             2 know, happening and taking action. And that's --
     3       Q. And so when you say you had questions                     3 that's the part that has stuck with me since I left
     4   about the market and the size of the overall market              4 the company. I feel very strongly that we as a
     5   for oxycodone, when did you have those questions?                5 company did what we could and adhered to what was
     6       A. I would say that they -- we were                          6 expected from the DEA at the time to -- to do the
     7   starting -- you know, so we -- we talked about IMS and           7 right thing with this -- with this molecule, with --
     8   about the market data that's reported and so you could           8 with all of our -- all of our opioids.
     9   see year-over-year molecule growth. So you could see             9      Q. And so when you say that you finally saw
    10   what the total -- what was happening with the total             10 the -- the -- the big or the whole pieces put
    11   market.                                                         11 together, which was in 2010, what that whole picture
    12           And I -- I can't remember -- I can't                    12 was was that Mallinckrodt's products were being
    13   pinpoint the time when we started to look at it. And            13 diverted downstream, was it not?
    14   a lot of it started, to be honest with you, because we          14       A. I can't --
    15   were just trying to forecast, you know, we were trying          15       MR. TSAI: Object to the form.
    16   to, as a company, trying to get a handle on what our            16   BY THE WITNESS:
    17   forecast would be for this -- this product and we               17       A. Yeah, and I can't speak to if
    18   would use molecule growth rate for all products, not            18   Mallinckrodt's products were being it diverted or --
    19   just oxy, to apply to that molecule to understand if            19   or not downstream. I -- I don't know that because I
    20   it was growing, if it was declining, and then use that          20   don't know that there was ever a direct tie to -- I
    21   to, you know, calculate, you know, our market share             21   don't know -- I don't know that.
    22   off of to -- to come up with our sales budget.                  22           But what I can say is from a big picture
    23           And, you know, at that point in time I                  23   perspective, the oxy market had grown and it caused us
    24   think the molecule growth rate was more like, Hey,              24   to -- to dig into it more and whenever we did we

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     1 started to identify the issues with the sales into               1   the wholesaler and they were in turn shipping onto the
     2 Florida, the DEA was, you know, working very closely             2   pharmacies. And so when we started digging into that,
     3 with Karen Harper, and we -- when we finally started             3   that's when we started to put the pieces together, but
     4 to put it together, we realized that we shouldn't be             4   I -- yeah.
     5 selling to particular customers and we made that                 5       Q. Well, you -- would you agree that sitting
     6 decision not to.                                                 6   here today there is an opioid crisis in this country?
     7          I -- I -- I've just -- it's challenging                 7       A. I think that you've asked me that question
     8   for me to sit here today, and I -- and I'm happy to go         8   already and it's on the record for my response.
     9   through all of these e-mails with you and talk to              9       Q. And please refresh my memory then. What
    10   them, but it is challenging for me to see where we did        10   is your response, would you agree?
    11   anything wrong. I mean, we -- we were trying to               11       A. I said that I wasn't sure. I -- I don't
    12   adhere to the -- not trying. We were adhering to what         12   know if there is truly an opioid crisis. And I don't
    13   the DEA requested from us and we were putting together        13   know.
    14   programs, you know, and as you can see in the guidance        14       Q. So you've put together all of the data,
    15   that you provided to me from the DEA, they didn't give        15   you dig into the data in 2010, you assemble all of the
    16   specific instructions on how to -- how to do this, you        16   pieces of the puzzle, but as you are sitting here,
    17   know. There wasn't -- they -- they gave us high level         17   you're -- you -- you don't actually know whether there
    18   components on how to identify a suspicious order, but         18   is a problem with opioid abuse in the United States?
    19   they never gave us like -- they basically left it to          19       A. I've been so far removed from the
    20   the manufacturers. There was no one system that all           20   situation. I mean, this was back, you know, in my
    21   manufacturers used to monitor, you know, suspicious           21   last -- my last month at Mallinckrodt was in January
    22   orders. So it was up to us as a company to -- to try          22   of 2011 and I haven't worked in the opioid industry
    23   to determine how to build out the system. And I think         23   since then.
    24   what you've seen is that we worked really hard to do          24           What I can tell you as far as a company,

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     1 that and to -- to adhere to it. So I -- I don't know.            1 which is what we are here to talk about today, is what
     2 I don't know what else to say.                                   2 Mallinckrodt did do or didn't do back in the timeframe
     3 BY MR. KAWAMOTO:                                                 3 that I was there, we did everything to the best of our
     4      Q. Well, based on the growth rate for                       4 ability to -- to address -- to -- and to -- what's the
     5 oxycodone, you clearly had questions about that growth           5 right word for me, what am I trying to say here -- to
     6 rate, correct?                                                   6 -- to address what the DEA was sharing with us, which
     7       A. We --                                                   7 at the time was sales into the State of Florida and
     8       Q. That's -- that's what you --                            8 distributors who were selling to the State of Florida
     9       A. -- we --                                                9 in a disproportionate amount. And so we as a company
    10       Q. -- testified to previously?                            10 did do that and we took the steps that we needed to do
    11       A. We were trying to understand why the                   11 as a company to at least control the piece that we had
    12   market was growing that fast, yes.                            12 control over.
    13       Q. And was one of the questions whether this              13      Q. Well, but you weren't in the compliance
    14   growth rate was reflective of diversion and medically         14 department, correct?
    15   inappropriate uses?                                           15      A. I was not in the compliance department.
    16       A. No, I don't think that that was really --              16      Q. And you weren't in the sales department?
    17   in terms of when we were first seeing the growth rate,        17      A. I was in the marketing department.
    18   I don't think that that was so much on the -- on the          18      Q. You were in the marketing department, so
    19   radar, at least for us in terms of that being -- that         19   you dealt with data.
    20   being a driver of the molecular growth rate. I will           20          So you don't -- you don't know that the
    21   say that 2010 when we started to dig into the data            21   DEA only talked to Mallinckrodt about the State of
    22   even more, into the data and we were being asked to           22   Florida, right?
    23   know our customer's customer, because you have to             23      A. I -- I don't know that. I think that so
    24   understand, we were shipping into the distributor and         24   much of your questioning was around the State of

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     1 Florida today and that's why I specifically noted it         1 over the distributors selling to -- to pharmacies that
     2 in my conversation just now with you, if we want to          2 you -- you qualify potentially as pill mills earlier,
     3 call this a conversation.                                    3 but what we did have control over is who we sold the
     4      Q. Okay. But you don't -- you -- you don't              4 product to. And if we identified them as a customer
     5 know what the DEA was telling Mallinckrodt regarding         5 who was problematic, then we made that decision which
     6 opioids generally or other jurisdictions where it had        6 obviously happened in the fall of 2010 to not sell to
     7 concerns?                                                    7 them.
     8      A. I can only address what I knew from my               8         So I think that we don't know what product
     9 portion within marketing. I saw all of our internal          9 was or wasn't diverted in the market, but of the piece
    10 teams working strongly together to try, you know,           10 that we had control over within the supply chain, we
    11 to -- to make sure that I provided the right data, to       11 did take the actions that we could to -- to be
    12 make sure that we were analyzing it, working closely        12 responsible in terms of distribution of our product.
    13 with Karen Harper who was, you know, the head of            13     Q. Are you aware that Mallinckrodt entered
    14 compliance to ensure that we were meeting all -- you        14 into a settlement agreement with the DEA or a
    15 know, being responsible as a company and ensuring that 15 Memorandum of -- of Understanding with the DEA?
    16 we were being responsible with the product that we          16     A. I am not familiar with that. I have not
    17 were shipping out the door.                                 17 been with the company, again, for the past seven
    18      Q. But when you say that Mallinckrodt did              18 years, so, no, I'm not familiar with that.
    19 everything it could, you are referring to your              19      MR. KAWAMOTO: How much time do I have?
    20 department and from a marketing and data standpoint,        20      THE VIDEOGRAPHER: You are at four minutes.
    21 is that -- is that fair?                                    21   So --
    22    A. I'm -- I'm speaking from a marketing                  22      MR. KAWAMOTO: Okay.
    23 perspective, but I'm also speaking from what I was          23      THE VIDEOGRAPHER: -- six-fifty-six right now.
    24 able to observe during my time there. We had a              24      MR. KAWAMOTO: Okay. So I'm -- I'm done.

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     1   susp -- suspicious order monitoring program that we        1     MR. TSAI: Okay. We are done.
     2   adhered to. Karen Harper was diligent and her team         2     THE VIDEOGRAPHER: Should we go off the record?
     3   was diligent in terms of adhering to that, making          3     MR. TSAI: Yes.
     4   improvements, figuring out how we could do better. I       4     THE VIDEOGRAPHER: Okay. The time is 6 --
     5   witnessed that. And so -- so as an overarching             5 6:09 p.m. Going off the record.
     6   comment, I would say that the -- the company, yes, did     6           (Time Noted: 6:09 p m.)
     7   everything it could to ensure responsibility within        7          FURTHER DEPONENT SAITH NOT.
     8   the marketplace.                                           8
     9      Q. But you have no idea how many Mallinckrodt           9
    10   products were diverted by downstream customers?           10
    11      A. Do you?                                             11
    12      MR. TSAI: Object to the form.                          12
    13   BY MR. KAWAMOTO:                                          13
    14      Q. Well, my question is to you, do you                 14
    15   have --                                                   15
    16      A. We have no way of knowing that. There is            16
    17   absolutely no way of knowing that. That is so far         17
    18   down the stream. I mean, you've got -- you've got         18
    19   doctors who are prescribing to patients and we don't      19
    20   know -- we don't know of those patients who -- no,        20
    21   there is no way to know.                                  21
    22           But the part that we had control over --          22
    23   so we didn't have control over the doctors writing the    23
    24   prescriptions, we didn't have control, necessarily,       24


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     1               REPORTER'S CERTIFICATE                               1         DEPOSITION ERRATA SHEET
     2                                                                    2 Page No._____Line No._____Change to:______________
     3          I, JULIANA F. ZAJICEK, C.S.R. No. 84-2604,                3 __________________________________________________
     4   a Certified Shorthand Reporter, do hereby certify:               4 Reason for change:________________________________
     5          That previous to the commencement of the                  5 Page No._____Line No._____Change to:______________
     6   examination of the witness herein, the witness was               6 __________________________________________________
     7   duly sworn to testify the whole truth concerning the             7 Reason for change:________________________________
     8   matters herein;                                                  8 Page No._____Line No._____Change to:______________
     9          That the foregoing deposition transcript                  9 __________________________________________________
    10   was reported stenographically by me, was thereafter             10 Reason for change:________________________________
    11   reduced to typewriting under my personal direction and          11 Page No._____Line No._____Change to:______________
    12   constitutes a true record of the testimony given and            12 __________________________________________________
    13   the proceedings had;                                            13 Reason for change:________________________________
    14          That the said deposition was taken before                14 Page No._____Line No._____Change to:______________
    15   me at the time and place specified;                             15 __________________________________________________
    16          That I am not a relative or employee or                  16 Reason for change:________________________________
    17   attorney or counsel, nor a relative or employee of              17 Page No._____Line No._____Change to:______________
    18   such attorney or counsel for any of the parties                 18 __________________________________________________
    19   hereto, nor interested directly or indirectly in the            19 Reason for change:________________________________
    20   outcome of this action.                                         20 Page No._____Line No._____Change to:______________
    21          IN WITNESS WHEREOF, I do hereunto set my                 21 __________________________________________________
    22   hand on this 11th day of January, 2019.                         22 Reason for change:________________________________
    23                                                                   23 SIGNATURE:_______________________DATE:___________
    24          JULIANA F. ZAJICEK, Certified Reporter                   24            KATE NEELY

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     1            DEPOSITION ERRATA SHEET                                 1        DEPOSITION ERRATA SHEET
     2                                                                    2 Page No._____Line No._____Change to:______________
     3                                                                    3 __________________________________________________
     4 Case Caption: In Re: National Prescription                         4 Reason for change:________________________________
     5            Opiate Litigation                                       5 Page No._____Line No._____Change to:______________
     6                                                                    6 __________________________________________________
     7        DECLARATION UNDER PENALTY OF PERJURY                        7 Reason for change:________________________________
     8                                                                    8 Page No._____Line No._____Change to:______________
     9         I declare under penalty of perjury that I                  9 __________________________________________________
    10 have read the entire transcript of my Deposition taken            10 Reason for change:________________________________
    11 in the captioned matter or the same has been read to              11 Page No._____Line No._____Change to:______________
    12 me, and the same is true and accurate, save and except            12 __________________________________________________
    13 for changes and/or corrections, if any, as indicated              13 Reason for change:________________________________
    14 by me on the DEPOSITION ERRATA SHEET hereof, with the 14 Page No._____Line No._____Change to:______________
    15 understanding that I offer these changes as if still              15 __________________________________________________
    16 under oath.                                                       16 Reason for change:________________________________
    17                                                                   17 Page No._____Line No._____Change to:______________
    18                     KATE NEELY                                    18 __________________________________________________
    19                                                                   19 Reason for change:________________________________
    20 SUBSCRIBED AND SWORN TO                                           20 Page No._____Line No._____Change to:______________
    21 before me this       day                                          21 __________________________________________________
    22 of            , A.D. 20__.                                        22 Reason for change:________________________________
    23                                                                   23 SIGNATURE:_______________________DATE:___________
    24         Notary Public                                             24             KATE NEELY


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